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                  EXHIBIT B
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                                                                                                                               Page 1


           UNITED STATES DISTRICT COURT
           EASTERN DISTRICT OF NEW YORK
           - -       -       -       -        -        -       -       -       -       -       -       -       -       -        - X
           EDWARD SHIN,
                                     PLAINTIFF,


                             -AGAINST-
           YS2 ENTERPRISES INC., MICHAEL S. WANG,
           VICTORIA WANG AS TRUSTEE OF THE RICHARDSON
           IRREVOCABLE TRUST, TERRANCE WU, DEH-JUNG
           DEBORAH WANG, AND YOUNG K. LEE


                                     DEFENDANT.
           -     -       -       -       -        -        -       -       -       -       -       -       -       -       -     - X
                                                      1270 BROADWAY
                                                      NEW YORK, NEW YORK 10001


                                                      FEBRUARY 1st, 2019
                                                      11: 08               A.M.


                 EXAMINATION BEFORE TRIAL OF ERIC E. SHIN,
           THE PLAINTIFF HEREIN, TAKEN BY MS. BERKOWITZ,
           IN THE ABOVE-ENTITLED ACTION, HELD AT THE
           ABOVE TIME AND PLACE, PURSUANT TO ORDER, TAKEN
           BEFORE CHRISTA M. MILOSCIA, A SHORTHAND
           REPORTER AND NOTARY PUBLIC WITHIN AND FOR THE
           STATE OF NEW YORK.
                                             MAGNA LEGAL SERVICES
                                                       (866)624-6221
                                                  WWW.MAGNALS.COM
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                                                                          Page 2
      1
      2    A P P E A R A N C E S:
      3       THE BASIL LAW GROUP
                   ATTORNEYS FOR PLAINTIFF
      4            1270 BROADWAY
                   NEW YORK, NEW YORK 10001
      5            BY:ROBERT J. BASIL, ESQ.
                      ROBERTJBASIL@JBASIL.COM
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                AHMUTY, DEMERS & MCMANUS
      7              ATTORNEYS FOR DEFENDANT
                     YS2 ENTERPRISES INC.
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      9         BY:  JANICE A. BERKOWITZ, ESQ.
                        JANICE.BERKOWITZ@ADMLAW.COM
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              CHARTWELL LAW
     11            ATTORNEYS FOR DEFENDANTS
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     12    IRREVOCABLE TRUST, TERRANCE WU
                   81 MAIN STREET
     13            WHITE PLAINS, NEW YORK 10601
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     15
                LONGO AND D'APICE
     16              ATTORNEYS FOR DEFENDANT
                     YOUNG K. LEE
     17              26 COURT STREET
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                        ESTHERL@MARKLONGO.COM
     19
     20
     21
     22
     23
     24
     25
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                                                                          Page 3
      1
      2                       S T I P U L A T I O N S

      3         IT IS STIPULATED AND AGREED BY AND BETWEEN

      4    THE ATTORNEYS FOR THE RESPECTIVE PARTIES

      5    HEREIN, AND IN COMPLIANCE WITH RULE 221 OF THE

      6    UNIFORM RULES FOR THE TRIAL COURTS:

      7         THAT THE PARTIES RECOGNIZE THE PROVISION OF

      8    RULE 3115 SUBDIVISIONS (B), (C) AND/OR (D).

      9    ALL OBJECTIONS MADE AT A DEPOSITION SHALL BE

     10    NOTED BY THE OFFICER BEFORE WHOM THE

     11    DEPOSITION IS TAKEN, AND THE ANSWER SHALL BE

     12    GIVEN AND THE DEPOSITION SHALL PROCEED SUBJECT

     13    TO THE OBJECTIONS AND TO THE RIGHT OF A PERSON

     14    TO APPLY FOR APPROPRIATE RELIEF PURSUANT TO

     15    ARTICLE 31 OF THE CPLR;

     16         THAT EVERY OBJECTION RAISED DURING A

     17    DEPOSITION SHALL BE STATED SUCCINCTLY AND

     18    FRAMED SO AS NOT TO SUGGEST AN ANSWER TO THE

     19    DEPONENT AND, AT THE REQUEST OF THE

     20    QUESTIONING ATTORNEY, SHALL INCLUDE A CLEAR

     21    STATEMENT AS TO ANY DEFECT IN FORM OR OTHER

     22    BASIS OF ERROR OR IRREGULARITY.                    EXCEPT TO THE

     23    EXTENT PERMITTED BY CPLR RULE 3115 OR BY THIS

     24    RULE, DURING THE COURSE OF THE EXAMINATION

     25    PERSONS IN ATTENDANCE SHALL NOT MAKE
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                                                                          Page 4
      1
      2    STATEMENTS OR COMMENTS THAT INTERFERE WITH THE

      3    QUESTIONING.

      4         THAT A DEPONENT SHALL ANSWER ALL QUESTIONS

      5    AT A DEPOSITION, EXCEPT (I) TO PRESERVE A

      6    PRIVILEGE OR RIGHT OF CONFIDENTIALITY, (II) TO

      7    ENFORCE A LIMITATION SET FORTH IN AN ORDER OF

      8    A COURT, OR (III) WHEN THE QUESTION IS PLAINLY

      9    IMPROPER AND WOULD, IF ANSWERED, CAUSE

     10    SIGNIFICANT PREJUDICE TO ANY PERSON.                      AN

     11    ATTORNEY SHALL NOT DIRECT A DEPONENT NOT TO

     12    ANSWER EXCEPT AS PROVIDED IN CPLR RULE 3115 OR

     13    THIS SUBDIVISION.            ANY REFUSAL TO ANSWER OR

     14    DIRECTION NOT TO ANSWER SHALL BE ACCOMPANIED

     15    BY A SUCCINCT AND CLEAR STATEMENT ON THE BASIS

     16    THEREFORE.         IF THE DEPONENT DOES NOT ANSWER A

     17    QUESTION, THE EXAMINING PARTY SHALL HAVE THE

     18    RIGHT TO COMPLETE THE REMAINDER OF THE

     19    DEPOSITION.

     20         THAT AN ATTORNEY SHALL NOT INTERRUPT THE

     21    DEPOSITION FOR THE PURPOSE OF COMMUNICATING

     22    WITH THE DEPONENT UNLESS ALL PARTIES CONSENT

     23    OR THE COMMUNICATION IS MADE FOR THE PURPOSE

     24    OF DETERMINING WHETHER THE QUESTION SHOULD NOT

     25    BE ANSWERED ON THE GROUNDS SET FORTH IN
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                                                                          Page 5
      1
      2    SECTION 221.2 OF THESE RULES, AND, IN SUCH

      3    EVENT, THE REASON FOR THE COMMUNICATION SHALL

      4    BE STATED FOR THE RECORD SUCCINCTLY AND

      5    CLEARLY.

      6         THAT THE FAILURE TO OBJECT TO ANY QUESTION

      7    OR TO MOVE TO STRIKE ANY TESTIMONY AT THIS

      8    EXAMINATION SHALL NOT BE A BAR OR WAIVER TO

      9    MAKE SUCH OBJECTION OR MOTION AT THE TIME OF

     10    THE TRIAL OF THIS ACTION, AND IS HEREBY

     11    RESERVED; AND

     12         THAT THIS EXAMINATION MAY BE SIGNED AND

     13    SWORN TO BY THE WITNESS EXAMINED HEREIN BEFORE

     14    ANY NOTARY PUBLIC, BUT THE FAILURE TO DO SO OR

     15    TO RETURN THE ORIGINAL OF THE EXAMINATION TO

     16    THE ATTORNEY ON WHOSE BEHALF THE EXAMINATION

     17    IS TAKEN, SHALL NOT BE DEEMED A WAIVER OF THE

     18    RIGHTS PROVIDED BY RULES 3116 AND 3117 OF THE

     19    C.P.L.R, AND SHALL BE CONTROLLED THEREBY; AND

     20         THAT THE CERTIFICATION AND FILING OF THE

     21    ORIGINAL OF THIS EXAMINATION ARE HEREBY

     22    WAIVED; AND

     23         THAT THE QUESTIONING ATTORNEY SHALL PROVIDE

     24    COUNSEL FOR THE WITNESS EXAMINED HEREIN WITH A

     25    COPY OF THIS EXAMINATION AT NO CHARGE.
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                                                                          Page 6
      1                                 E. SHIN
      2     E D W A R D          E.     S H I N, THE WITNESS
      3     HEREIN, HAVING BEEN FIRST DULY SWORN BY
      4     A NOTARY PUBLIC OF THE STATE OF
      5     NEW YORK, WAS EXAMINED AND TESTIFIED AS
      6     FOLLOWS:
      7     EXAMINATION
      8     BY MS. BERKOWITZ:
      9             Q. STATE YOUR NAME FOR THE RECORD,
     10      PLEASE.
     11             A. ERIC E. SHIN.
     12             Q. STATE YOUR ADDRESS FOR THE
     13      RECORD, PLEASE.
     14             A. 1575 SLOAN WAY, AMBLER,
     15      PENNSYLVANIA 19002.
     16             Q. GOOD MORNING, SIR.                 MY NAME IS
     17      JANICE BERKOWITZ.               I AM THE ATTORNEY
     18      FOR YS2 ENTERPRISES IN THIS LAWSUIT.
     19      I'LL BE ASKING YOU SOME QUESTIONS THIS
     20      MORNING ABOUT THE INCIDENT THAT BRINGS
     21      US HERE TODAY AND THE INJURIES THAT YOU
     22      ARE CLAIMING THAT YOU SUSTAINED AS A
     23      RESULT OF THAT INCIDENT.
     24                  PLEASE LET ME FINISH MY ENTIRE
     25      QUESTION BEFORE YOU START GIVING YOUR
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                                                                          Page 7
      1                                 E. SHIN
      2      ANSWER.        PLEASE DO NOT VOLUNTEER ANY
      3      INFORMATION AND DO NOT GUESS.                      I JUST
      4      WANT YOU TO TELL ME WHAT YOU KNOW, NO
      5      GUESSING.         OKAY?
      6             A. YES, MA'AM.
      7             Q. OKAY.        EDWARD E. SHIN, WHAT DOES
      8      THE "E" STAND FOR?
      9             A. EUNGSOO.
     10             Q. CAN YOU SPELL THAT?
     11             A. E-U-N-G-S-O-O.
     12                       MS. NICOLAOU:           TWO WORDS OR
     13             ONE?
     14                       THE WITNESS:           ONE WORD.
     15             Q. AND ARE YOU KNOWN BY ANY OTHER
     16      NAME OTHER THAN EDWARD E. SHIN?
     17             A. NICKNAME, SOME PEOPLE CALL ME
     18      EDDY.
     19             Q. EDDY.        OKAY.       ANYTHING ELSE?
     20             A. NO.
     21             Q. WHAT IS YOUR DATE OF BIRTH,
     22      PLEASE?
     23             A.                       1963.
     24             Q. AND WHAT'S YOUR SOCIAL SECURITY
     25      NUMBER?
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                                                                          Page 8
      1                                 E. SHIN
      2             A.
      3             Q. HOW LONG HAVE YOU RESIDED AT
      4      1575 SLOAN WAY FOR?
      5             A. 11 YEARS.
      6             Q. AT THE TIME OF THIS INCIDENT,
      7      WHO ARE YOU RESIDING WITH?
      8             A. MY WIFE.
      9             Q. WHAT'S YOUR WIFE'S NAME?
     10             A. SOPHIE.
     11             Q. AND WHAT'S HER LAST NAME?
     12             A. HAHN, H-A-H-N.
     13             Q. H-A-H-N?
     14             A. YES.
     15             Q. AND WHAT'S THE DATE OF YOUR
     16      MARRIAGE?
     17             A. NOVEMBER 30, 1991.
     18             Q. ON THE DAY OF THIS INCIDENT, WAS
     19      ANYBODY ELSE RESIDING WITH YOU BESIDES
     20      YOU AND YOUR WIFE?
     21             A. MY TWO DAUGHTERS.
     22             Q. OKAY.        WHAT ARE THEIR NAMES?
     23             A. SAMMUR, S-A-M-M-U-R, SHIN.
     24             Q. AND HOW OLD IS SHE?
     25             A. SHE'S 22.
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                                                                           Page 9
       1                                E. SHIN
       2            Q. OKAY.         AND WHO ELSE?
       3            A. ANOTHER DAUGHTER, CHRISTIAN,
       4      C-H-R-I-S-T-I-A-N.
       5            Q. AND HOW OLD IS SHE?
       6            A. SHIN.         AND SHE'S 20.
       7            Q. 20.        ANYBODY ELSE RESIDING WITH
       8      YOU AT THE TIME OF THE INCIDENT?
       9            A. MY PUPPY.
      10            Q. YOUR PUPPY.             OKAY.      ANYONE ELSE?
      11            A. NO.
      12            Q. NOW, I WANT TO DRAW YOUR
      13      ATTENTION TO APRIL 21ST, 2017.                      OKAY?
      14                 DO YOU RECALL WHAT DAY OF THE
      15      WEEK THAT WAS?
      16            A. THAT'S FRIDAY.
      17            Q. AND DID YOU WORK THAT DAY?
      18            A. YES.
      19            Q. AND WHERE DID YOU WORK THAT DAY?
      20            A. FORT LEE, NEW JERSEY.
      21            Q. WHAT DID YOU DO IN FORT LEE, NEW
      22      JERSEY, THAT DAY?              WHAT IS YOUR
      23      EMPLOYMENT?
      24            A. BANKER.          NOAH BANK, N-O-A-H.
      25            Q. WHAT TIME DID YOU GET DONE WITH
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                                                                          Page 10
       1                                E. SHIN
       2      WORK THAT DAY?
       3            A. AROUND 5:00 P.M.
       4            Q. AND WHAT DID YOU DO AFTER WORK
       5      WAS OVER AT 5:00 P.M.?
       6            A. DINNER.
       7            Q. DINNER.          WHERE DID YOU HAVE
       8      DINNER?
       9            A. NEW JERSEY, FORT LEE.
      10            Q. WITH WHO?
      11            A. MY COLLEAGUE.
      12            Q. WHAT COLLEAGUE?
      13            A. MY BANKER COLLEAGUE.
      14            Q. WHAT'S HIS NAME?
      15            A. DON JOO, D-O-N, J-O-O, AND THE
      16      OTHER GUY IS JOSHUA KIM.
      17            Q. JOSHUA KIM?
      18            A. AND THE OTHER GUY IS JOHN KIM.
      19            Q. OKAY.         AND WHERE DID YOU HAVE
      20      DINNER?
      21            A. KOREAN RESTAURANT IN FORT LEE.
      22            Q. AND HOW DID YOU PAY FOR DINNER
      23      THAT NIGHT?
      24            A. CREDIT CARD, I BELIEVE.
      25            Q. YOUR CREDIT CARD?
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                                                                          Page 11
       1                                E. SHIN
       2            A. I DON'T REMEMBER.
       3            Q. AND WHAT DID YOU HAVE TO EAT?
       4            A. I THINK AROUND 8:00.
       5            Q. WHAT DID YOU EAT?
       6            A. TYPICAL KOREAN DISH.
       7            Q. WHICH IS WHAT?
       8            A. LIKE, GALBI, FISH, AND SOUP.
       9            Q. DID YOU HAVE ANY ALCOHOLIC
      10      BEVERAGE?
      11            A. YES.
      12            Q. WHAT DID YOU DRINK?
      13            A. SCOTCH WHISKY.
      14            Q. AND WHAT KIND OF SCOTCH WHISKY?
      15            A. JOHNNY WALKER BLACK OR BLUE.
      16            Q. OKAY.         AND HOW MANY DRINKS DID
      17      YOU HAVE?
      18            A. I THINK ABOUT, AMONG -- ONE
      19      PERSON DIDN'T DRINK -- SO AMONG THREE,
      20      PROBABLY ONE AND A HALF BOTTLES.
      21            Q. AND HOW MANY DID YOU HAVE OUT OF
      22      THAT ONE AND A HALF BOTTLES?
      23            A. ABOUT -- I DON'T EXACTLY
      24      REMEMBER BUT NOT THAT MUCH.                     ABOUT FIVE
      25      TO SIX SHOTS.
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                                                                          Page 12
       1                                E. SHIN
       2            Q. FIVE TO SIX SHOTS?
       3            A. YES.
       4            Q. AND HOW MUCH IS IN EACH SHOT?
       5            A. ABOUT THIS MUCH (INDICATING).
       6            Q. HOW MANY OUNCES, ABOUT?
       7            A. I DON'T KNOW.
       8            Q. AROUND A SHOT GLASS?
       9            A. YEAH, SHOT GLASS.
      10            Q. ONCE DINNER WAS OVER, YOU SAID
      11      ABOUT 8:00?
      12            A. AROUND 8:00.
      13            Q. WHAT DID YOU DO?
      14            A. JOHN KIM WAS DRIVING AND I RIDE
      15      HIS CAR AND WE WENT TO FLUSHING.
      16            Q. WHAT REASON DID YOU GO TO
      17      FLUSHING?
      18            A. TO MEET WITH MY CUSTOMER AND
      19      FRIEND.
      20            Q. WHO'S THAT?
      21            A. MR. CHUNG KANE LEE, C-H-U-N-G,
      22      K-A-N-E, L-E-E.
      23            Q. DID DON JOO AND JOSHUA KIM ALSO
      24      COME IN THE CAR WITH JOHN KIM?
      25            A. NO.
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                                                                          Page 13
       1                                E. SHIN
       2            Q. IT WAS JUST YOU AND JOHN KIM?
       3            A. RIGHT.
       4            Q. AND JOHN KIM DROVE?
       5            A. JOHN KIM DROVE.
       6            Q. WHERE DID YOU GO IN FLUSHING?
       7            A. KARAOKE BAR.
       8                      MS. NICOLAOU:            WHERE?
       9                      MS. BERKOWITZ:             HE SAID
      10            "KARAOKE BAR."
      11            Q. WHERE IS THAT LOCATED?
      12            A. I DON'T KNOW THE ADDRESS BUT
      13      IT'S ON NORTHERN BOULEVARD, 160, I'M
      14      NOT SURE.
      15            Q. HAVE YOU EVER BEEN THERE BEFORE?
      16            A. YES.
      17            Q. HOW MANY TIMES?
      18            A. THAT YEAR?
      19            Q. YEAH.
      20            A. FIRST TIME THAT YEAR.
      21            Q. FIRST TIME IN 2017?
      22            A. YEAH, 2017.
      23            Q. AND WHAT ABOUT 2016?
      24            A. I DON'T REMEMBER.                 I WENT THERE
      25      ON 2016, MAYBE A COUPLE OF TIMES BUT I
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                                                                          Page 14
       1                                E. SHIN
       2      DON'T REMEMBER EXACTLY.
       3            Q. IN TOTAL, HOW MANY TIMES HAVE
       4      YOU BEEN THERE BEFORE THAT NIGHT?
       5            A. PROBABLY ABOUT 10 TIMES, OVER
       6      FIVE OR SIX YEARS.
       7            Q. HOW DID YOU HEAR ABOUT THE
       8      PLACE, WAS IT THROUGH CHUNG LEE?
       9            A. IT'S A VERY FAMOUS PLACE AND
      10      ALSO THAT'S ACROSS THE STREET FROM MY
      11      OTHER BRANCH IN FLUSHING, OUR BANK.
      12            Q. DO YOU EVER WORK OUT OF THAT
      13      FLUSHING NOAH BANK BRANCH?
      14            A. NO.
      15            Q. IT'S JUST LOCATED ACROSS THE
      16      STREET FROM THE KARAOKE BAR?
      17            A. YES.
      18            Q. WHEN DID YOU MAKE THE
      19      ARRANGEMENTS WITH CHUNG LEE TO MEET HIM
      20      THAT NIGHT?
      21            A. I DON'T REMEMBER EXACT TIME BUT
      22      I THINK HE CALLED ME, "WHERE ARE YOU?"
      23      I DON'T REMEMBER, BUT WE TALK TO EACH
      24      OTHER.
      25            Q. AND IT WAS ON FRIDAY?
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                                                                          Page 15
       1                                E. SHIN
       2             A. FRIDAY.
       3             Q. WHAT DID HE SAY WHEN HE CALLED
       4      YOU?
       5             A. "I'M HERE.           CAN YOU VISIT ME AND
       6      TAKE A LOOK AT COUPLE OF THINGS?                        I
       7      WOULD LIKE TO DISCUSS A COUPLE OF
       8      THINGS WITH YOU, BUSINESS."
       9             Q. AND WHAT BUSINESS DID HE WANT TO
      10      DISCUSS WITH YOU?
      11             A. HE'S BUYING THAT BUILDING NEXT
      12      TO IT AND WE'RE FINANCING THAT
      13      BUILDING.
      14             Q. WHEN YOU SAY "WE," YOU MEAN NOAH
      15      BANK?
      16             A. NOAH BANK.
      17             Q. SO DID YOU MAKE THE ARRANGEMENTS
      18      TO MEET HIM THAT NIGHT?
      19             A. YES, AFTER THIS DINNER MEETING I
      20      TOLD HIM, "I'LL BE THERE WITH THE LOAN
      21      OFFICER."
      22             Q. JOHN KIM WAS THE LOAN OFFICER?
      23             A. YES, I BELIEVE SO.
      24             Q. WHAT TIME DID YOU MEET CHUNG
      25      LEE?
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                                                                          Page 16
       1                                E. SHIN
       2            A. AROUND NINE O'CLOCK AROUND --
       3      BEFORE NINE OR I'M NOT SURE.
       4            Q. SO YOU WENT STRAIGHT FROM THE
       5      KOREAN RESTAURANT IN FORT LEE TO
       6      FLUSHING?
       7            A. YES.
       8            Q. DID YOU DRINK ANYTHING IN THE
       9      CAR, ANY ALCOHOL IN THE CAR?
      10            A. NO.
      11            Q. WHERE DID YOU MEET CHUNG LEE?
      12            A. SECOND FLOOR OF THAT BUILDING.
      13            Q. AND -- SO YOU ENTERED THE
      14      BUILDING JUST WITH JOHN KIM?
      15            A. YES.
      16            Q. TELL ME WHAT YOU DID ONCE YOU
      17      ENTERED THE BUILDING.                 WHERE DID YOU
      18      GO?
      19            A. UPSTAIRS.
      20            Q. OKAY.         AND HOW DID YOU GET
      21      UPSTAIRS?
      22            A. I'M NOT SURE IF I TOOK ELEVATOR
      23      OR I WAS WALKING.
      24            Q. HAD YOU TAKEN THE ELEVATOR
      25      BEFORE, ON YOUR PRIOR OCCASIONS, AT
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                                                                          Page 17
       1                                E. SHIN
       2      THAT PLACE?
       3            A. YES.
       4            Q. AND YOU KNEW WHERE THAT ELEVATOR
       5      WAS LOCATED?
       6            A. YES.
       7            Q. WHEN YOU WENT UPSTAIRS TO THE
       8      SECOND FLOOR, WHAT DID YOU DO?
       9            A. I WENT TO WHERE CHUNG KANE WAS
      10      WAITING FOR ME.
      11            Q. WHERE WAS HE WAITING FOR YOU?
      12            A. IN THE ROOM.
      13            Q. HE WAS ALREADY IN THE ROOM?
      14            A. YES.
      15            Q. WHAT NUMBER ROOM?
      16            A. I DON'T REMEMBER THE ROOM BUT I
      17      THINK THAT'S THE SECOND ROOM, BIGGER
      18      ROOM.
      19            Q. SECOND ROOM ON THE LEFT?
      20            A. YEAH, LEFT.
      21            Q. NOW, WHEN YOU GOT TO THE TOP OF
      22      THE STAIRS, DID YOU HAVE TO OPEN A DOOR
      23      IN ORDER TO GET INTO THE KARAOKE PLACE?
      24            A. NO, THE DOOR WAS OPEN, I
      25      BELIEVE.
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                                                                          Page 18
       1                                E. SHIN
       2            Q. THE DOOR WAS OPEN UP TOP?
       3            A. I DON'T REMEMBER EXACT BUT --
       4            Q. SO YOU'RE NOT SURE?
       5            A. I'M NOT SURE.
       6            Q. BUT YOU KNOW THERE WAS A DOOR
       7      THERE?
       8            A. I'M NOT SURE.
       9            Q. AND ONCE YOU GOT INTO THE
      10      KARAOKE PLACE, BEFORE YOU GOT INTO THE
      11      ROOM, DID ANYONE FROM THE KARAOKE PLACE
      12      MEET YOU?
      13            A. YEAH, MANAGEMENT OR WAITER.
      14            Q. AND DID YOU KNOW THE MANAGER'S
      15      NAME?
      16            A. I THINK.           I KNOW THE OWNER, I
      17      DON'T KNOW IF SHE'S THE MANAGER OR
      18      OWNER.
      19            Q. OKAY.         WHAT'S THE OWNER'S NAME?
      20            A. LAST NAME, MOON.
      21            Q. MOON, M-O-O-N?
      22            A. YES.
      23            Q. WAS SHE THERE THAT NIGHT?
      24            A. YES.
      25            Q. DID YOU SEE HER WHEN YOU GOT
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                                                                          Page 19
       1                                E. SHIN
       2      THERE?
       3            A. I DON'T REMEMBER IF I SAW HER
       4      WHEN I ENTERED BUT SHE WAS THERE.
       5            Q. OKAY.         WHAT ABOUT THE MANAGER,
       6      DO YOU KNOW HIS NAME?
       7            A. I DON'T KNOW HIS NAME.
       8            Q. WHAT ABOUT THE WAITER, DO YOU
       9      KNOW HIS NAME?
      10            A. I DON'T KNOW HIS NAME.
      11            Q. HAVE YOU SEEN THAT MANAGER
      12      BEFORE ON OTHER OCCASIONS WHEN YOU BEEN
      13      THERE?
      14            A. MAYBE.
      15            Q. OKAY.         CAN YOU DESCRIBE HIM FOR
      16      ME?
      17            A. THE --
      18            Q. MANAGER.
      19            A. NO.        I THINK MOON IS THE MANAGER
      20      AND OWNER, I'M TALKING ABOUT HER.
      21            Q. OKAY.         AND WHAT ABOUT THE
      22      WAITER?
      23            A. YES, BUT I DON'T REMEMBER HIS
      24      NAME.
      25            Q. HAD HE BEEN A WAITER FOR YOU
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                                                                          Page 20
       1                                E. SHIN
       2      BEFORE THAT NIGHT?
       3            A. I THINK SO.
       4            Q. CAN YOU DESCRIBE HIM FOR ME?
       5            A. PRETTY TALL GUY, ABOUT 30.
       6            Q. AND KOREAN?
       7            A. KOREAN.
       8            Q. DID YOU RECOGNIZE HIM WHEN YOU
       9      GOT THERE?
      10            A. I DON'T REMEMBER.
      11            Q. DID HE SAY ANYTHING TO YOU TO
      12      INDICATE THAT HE RECOGNIZED YOU?
      13            A. YES.
      14            Q. WHAT DID HE SAY?
      15            A. HE WAS GREETING ME PRETTY, YOU
      16      KNOW -- AND THEN RIGHT AFTER THAT "MR.
      17      LEE IS WAITING FOR YOU."
      18            Q. AND DID HE BRING YOU TO THE
      19      ROOM?
      20            A. YES.
      21            Q. WHO WAS IN THE ROOM WHEN YOU GOT
      22      THERE BESIDES CHUNG LEE?
      23            A. MR. CHUNG LEE AND SOME BUSINESS
      24      ASSOCIATE.          I DON'T REMEMBER BECAUSE I
      25      DON'T KNOW HIM.
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                                                                          Page 21
       1                                E. SHIN
       2            Q. THAT WAS THE FIRST TIME THAT YOU
       3      MET HIM?
       4            A. FIRST TIME.
       5            Q. DO YOU KNOW HIS NAME?
       6            A. I DO NOT.
       7            Q. AND YOU BELIEVE HE WAS SOME
       8      ASSOCIATE OF CHUNG LEE?
       9            A. CHUNG LEE OR CHUNG LEE'S FRIEND.
      10            Q. SO IT WAS CHUNG LEE, THIS --
      11      CHUNG LEE'S FRIEND, JOHN KIM, AND YOU?
      12            A. YES.
      13            Q. OKAY.         AND WHEN YOU GOT INTO THE
      14      ROOM, WHAT WAS IN THE ROOM WHEN YOU GOT
      15      IN THERE?         DESCRIBE THE ROOM FOR ME.
      16            A. THERE'S A SOFA AND TABLE AND --
      17      MIDDLE OF THE TABLE THERE'S SOME -- I
      18      THINK FRUIT AND SOME SCOTCH WHISKY AND
      19      BEER AND WATER.
      20            Q. DO YOU KNOW WHO ORDERED THE
      21      WHISKY?
      22            A. MAYBE, MR. LEE.
      23            Q. AND WHAT ABOUT THE BEER?
      24            A. MAYBE, MR. LEE.
      25            Q. DO YOU KNOW HOW LONG MR. LEE WAS
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                                                                          Page 22
       1                                E. SHIN
       2      THERE BEFORE YOU ARRIVED?
       3            A. I DON'T KNOW.
       4            Q. DID THE SERVER WALK INTO THE
       5      ROOM WITH YOU WHEN YOU GOT THERE?
       6            A. YES.
       7            Q. HOW LONG DID HE STAY FOR?
       8            A. I DON'T REMEMBER.                 IN AND OUT, I
       9      BELIEVE.
      10            Q. DID HE BRING ANY ALCOHOL WITH
      11      HIM OR WAS IT ALREADY IN THERE?
      12            A. ALCOHOL WAS ALREADY THERE.
      13            Q. SAY THAT AGAIN?
      14            A. ALCOHOL WAS ALREADY THERE.
      15            Q. ONE BOTTLE OF SCOTCH WHISKY AND
      16      BEER?
      17            A. I THINK SO.
      18            Q. WAS THE SCOTCH WHISKY -- WAS IT
      19      JOHNNIE WALKER BLACK?
      20            A. I DON'T REMEMBER, BUT IT WAS
      21      SCOTCH.
      22            Q. AND WAS IT OPEN?
      23            A. OPEN.
      24            Q. WAS IT ALREADY ON THE TABLE?
      25            A. YES.
Case 1:17-cv-05183-RML Document 76-3 Filed 05/12/20 Page 24 of 219 PageID #: 416


                                                                          Page 23
       1                                E. SHIN
       2            Q. DO YOU REMEMBER HOW MUCH WAS
       3      LEFT IN THE BOTTLE WHEN YOU GOT THERE?
       4            A. I DON'T REMEMBER BUT I BELIEVE
       5      AFTER I WAS THERE -- THERE SHOULD BE
       6      ANOTHER BOTTLE IN(SIC).
       7            Q. ALL RIGHT.            SO LET'S STAY WITH
       8      THE FIRST BOTTLE.              HOW MUCH DID YOU
       9      DRINK FROM THAT FIRST BOTTLE?
      10            A. I THINK, I MIXED WITH BEER AND
      11      THREW ONE SHOT IN IT.                 I THINK, I DRINK
      12      ABOUT THREE TO FIVE.
      13            Q. SO YOU MIXED THE SCOTCH WHISKY
      14      WITH THE BEER?
      15            A. YES.
      16            Q. AND YOU HAD THREE TO FIVE SHOTS
      17      OF THAT?
      18            A. YES.
      19            Q. WHAT FOOD WAS THERE?
      20            A. MOSTLY FRUIT.
      21            Q. DID YOU EAT FOOD WHILE YOU WERE
      22      AT THE KARAOKE BAR?
      23            A. MAYBE.
      24            Q. SOME FRUIT, YOU REMEMBER?
      25            A. I LIKE WATERMELON SO I MAY HAVE
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                                                                          Page 24
       1                                E. SHIN
       2      HAD WATERMELON.
       3             Q. ANYTHING ELSE YOU RECALL EATING
       4      AT THE KARAOKE PLACE?
       5             A. I DON'T REMEMBER.
       6             Q. WHAT ELSE DID YOU DO IN THE
       7      ROOM?      DID YOU DO KARAOKE?                JUST CHAT?
       8             A. TALKING.          A LOT OF TALKING.
       9             Q. DID YOU DO ANY KARAOKE?
      10             A. THAT ROOM, I DON'T THINK SO.
      11             Q. HOW LONG WERE YOU IN THAT ROOM
      12      FOR?
      13             A. LESS THAN HOUR.
      14             Q. OKAY.        AND WAS ANOTHER BOTTLE OF
      15      SCOTCH WHISKY BROUGHT BEFORE YOU LEFT?
      16             A. YES.
      17             Q. HOW LONG AFTER YOU GOT THERE WAS
      18      THE SECOND BOTTLE ORDERED?
      19             A. 30 MINUTES, PROBABLY.
      20             Q. WHO ORDERED THE SECOND BOTTLE?
      21             A. MAYBE, I ORDERED OR MR. LEE
      22      ORDERED OR THE WAITER JUST BRING.
      23             Q. YOU DON'T REMEMBER?
      24             A. I DON'T REMEMBER.
      25             Q. WAS IT THE SAME WAITER WHO
Case 1:17-cv-05183-RML Document 76-3 Filed 05/12/20 Page 26 of 219 PageID #: 418


                                                                          Page 25
       1                                E. SHIN
       2      BROUGHT YOU TO THE ROOM?
       3            A. I THINK SO.
       4            Q. HOW LONG DID HE STAY THAT SECOND
       5      TIME HE CAME IN?
       6            A. LESS THAN FIVE MINUTES.
       7            Q. AND HE BASICALLY PUT THE BOTTLE
       8      DOWN ON THE TABLE AND LEFT?
       9            A. YES, MAYBE JUST TO SAY "HELLO,"
      10      JUST GENERAL THINGS.
      11            Q. YOU GUYS WERE HAVING A GOOD TIME
      12      IN THE ROOM?
      13            A. YES.
      14            Q. AFTER, YOU SAID ABOUT LESS THAN
      15      AN HOUR YOU LEFT THE ROOM?
      16            A. NOT LEFT, I VISIT FIRST ROOM.
      17            Q. FIRST ROOM?
      18            A. FIRST ROOM, FROM THE LEFT SIDE.
      19            Q. SO YOU WERE IN THE SECOND ROOM
      20      AND YOU VISITED THE SECOND ROOM?
      21            A. RIGHT, BECAUSE DANIEL PARK, CPA,
      22      I KNOW HIM.
      23            Q. DANIEL PARK, A CPA, WAS IN THE
      24      FIRST ROOM?
      25            A. RIGHT.
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                                                                          Page 26
       1                                E. SHIN
       2            Q. HOW DO YOU KNOW IF HE WAS THERE?
       3            A. SOMEBODY TOLD HIM.                 I DON'T KNOW
       4      IF I MET HIM AT THE DOORWAY OR THE
       5      RESTROOM OR HE CAME TO MY ROOM, I DON'T
       6      REMEMBER.
       7            Q. OKAY.
       8            A. SO I GOT INVITED IN THE ROOM AND
       9      I WAS THERE.
      10            Q. OKAY.         AND WHO DID YOU GO WITH?
      11            A. JUST ME, MAYBE JOHN KIM AT THE
      12      BEGINNING, I'M NOT SURE.
      13            Q. AND WHO ELSE WAS IN THAT ROOM
      14      WITH DANIEL PARK?
      15            A. TWO -- ONE IS -- NAME IS,
      16      ANOTHER MR. LEE.
      17            Q. OKAY.
      18            A. YOUNG LEE.
      19            Q. OKAY.
      20            A. AND THE OTHER GUY'S NAME, I JUST
      21      KNOW LAST NAME, MR. HONG.
      22            Q. HOW DO YOU SPELL THAT?
      23            A. H-O-N-G.
      24            Q. DO YOU KNOW WHO THEY WERE WITH?
      25            A. I THINK THEY WERE BOTH DANIEL
Case 1:17-cv-05183-RML Document 76-3 Filed 05/12/20 Page 28 of 219 PageID #: 420


                                                                          Page 27
       1                                E. SHIN
       2      PARK'S CLIENTS BECAUSE DANIEL PARK
       3      INTRODUCED ME TO THEM.
       4            Q. HOW DID YOU KNOW DANIEL PARK?
       5            A. HE'S MY CPA.             HE USED TO BE.
       6            Q. AND DID DANIEL PARK AND YOUNG
       7      LEE KNOW EACH OTHER?
       8            A. I THINK SO.
       9            Q. WAS YOUNG LEE DANIEL PARK'S
      10      CLIENT, ALSO?
      11            A. I DO NOT KNOW.
      12            Q. DID YOU KNOW YOUNG LEE BEFORE
      13      THAT NIGHT?
      14            A. NO.
      15            Q. YOU NEVER MET HIM BEFORE?
      16            A. NO, I NEVER MET HIM.
      17            Q. WHEN YOU WENT INTO THAT ROOM,
      18      WHAT DID YOU DO?
      19            A. WE INTRODUCE AND WE DRINK A LOT.
      20            Q. WHAT DO YOU MEAN YOU DRANK "A
      21      LOT"?
      22            A. THEY ALREADY DRANK, I WAS DRUNK
      23      TOO, AND I THINK WE ORDER ANOTHER TWO
      24      SCOTCH BOTTLES.
      25            Q. WHO WAS ALREADY DRUNK?
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                                                                          Page 28
       1                                E. SHIN
       2            A. ALL THREE AND INCLUDING ME TOO,
       3      SO FOUR.
       4            Q. YOU WERE DRUNK AT THAT TIME?
       5            A. YES, WHEN I GO INTO THAT ROOM I
       6      THINK I WAS PRETTY DRUNK.
       7            Q. WHAT'S THE BASIS FOR YOU SAYING
       8      YOU THINK YOUNG LEE WAS DRUNK?
       9            A. IT'S FIRST TIME MEETING AND IT'S
      10      THE WAY HE WAS TALKING AND BEHAVIOR.
      11            Q. HOW WAS HE TALKING THAT LED YOU
      12      TO BELIEVE THAT HE WAS DRUNK?
      13            A. YOU CAN TELL.
      14            Q. GIVE ME AN EXAMPLE ABOUT WHAT HE
      15      WAS SAYING OR THE WAY HE WAS SAYING IT.
      16      HOW COULD YOU TELL?
      17            A. LIKE, LAUGHING AND TALKING AND
      18      HE WOULD STAND UP AND HE COULDN'T, YOU
      19      KNOW, STAND UP AND I WAS DRUNK AND I
      20      THOUGHT WE HAD A GOOD TIME THERE AND WE
      21      HAD A PRETTY GOOD DRINK AND THEN SOON,
      22      I THINK -- DANIEL PARK WAS KNOCKED OUT,
      23      I THINK HE WAS ASLEEP.                 I THINK, I
      24      DON'T REMEMBER.
      25            Q. SO DANIEL PARK WENT TO SLEEP,
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                                                                          Page 29
       1                                E. SHIN
       2      YOU THINK?
       3             A. YES, AND THEN WE GOT KARAOKE IN
       4      THAT ROOM TOO.
       5             Q. YOU THINK THAT DANIEL WENT TO
       6      SLEEP ON ONE OF THE COUCHES?
       7             A. YES, I THINK HE WAS PRETTY DRUNK
       8      TOO.
       9             Q. WHAT TIME WAS THAT?
      10             A. I DON'T REMEMBER.
      11             Q. SO ONCE DANIEL PARK WENT TO
      12      SLEEP IT WAS JUST YOU AND MR. YOUNG LEE
      13      AND MR. HONG?
      14             A. YES, AND, I THINK, OCCASIONALLY,
      15      JOHN KIM OR MR. LEE -- CHUNG KANE LEE
      16      OR WAITER CALLED ME TO FILL OUT THAT
      17      LOAN AND VISIT THEM SO I THINK I WENT
      18      TO CHUNG LEE'S ROOM AND CAME BACK.                         I
      19      DON'T REMEMBER EXACTLY.
      20             Q. YOU WERE GOING BACK AND FORTH,
      21      YOU THINK?
      22             A. JUST TO VISIT SECOND ROOM BUT
      23      I'M NOT SURE.
      24             Q. SO WHAT TIME DO YOU THINK YOU
      25      GOT INTO THE FIRST ROOM?
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                                                                          Page 30
       1                                E. SHIN
       2             A. 10:30, 11:00.
       3             Q. HOW LONG DID YOU STAY IN THERE
       4      FOR?
       5             A. TWO HOURS, LESS THAN TWO HOURS.
       6                      MS. NICOLAOU:            JUST TO BE
       7             CLEAR ON THE RECORD, THE FIRST
       8             ROOM; PARK'S ROOM OR LEE'S ROOM?
       9                      MR. LEVINSON:            THE FIRST ONE
      10             WE TALKED ABOUT IS THE SECOND
      11             ROOM AND THIS IS THE FIRST ONE.
      12                      MS. NICOLAOU:            I DON'T KNOW
      13             IF WE'RE REFERRING TO LOCATION
      14             VERSUS NUMBER.
      15             Q. THE FIRST ROOM YOU WENT INTO WAS
      16      ROOM NUMBER TWO?
      17             A. YES, MR. LEE'S ROOM.
      18             Q. AND THEN YOUNG LEE'S ROOM WAS
      19      ROOM NO. 1?
      20                      MS. NICOLAOU:            AND THAT ONE
      21             HE ENTERED AT 10:30, 11:00, JUST
      22             TO BE CLEAR?
      23                      MS. BERKOWITZ:             YEAH, IS
      24             THAT GOOD?
      25                      MS. NICOLAOU:            YES, THANK
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                                                                          Page 31
       1                                E. SHIN
       2             YOU.
       3             Q. WHAT DID YOU DRINK WHEN YOU GOT
       4      INTO YOUNG LEE'S ROOM?
       5             A. I DON'T REMEMBER BUT A LOT.
       6             Q. WHAT'S "A LOT"?
       7             A. PROBABLY, WHOLE BOTTLE.
       8             Q. A WHOLE BOTTLE OF WHAT?
       9             A. SCOTCH AND MAYBE FIVE BEERS.
      10             Q. BY YOURSELF?
      11             A. I THINK SO.
      12             Q. AND DID YOU OBSERVE YOUNG LEE
      13      DRINK ANY ALCOHOL?
      14             A. YES.
      15             Q. WHAT DID YOU OBSERVE HIM
      16      DRINKING?
      17             A. I THINK WE DRINK THE SAME AMOUNT
      18      BECAUSE WE EXCHANGE EACH OTHER.
      19             Q. WHAT DOES THAT MEAN, "EXCHANGE
      20      EACH OTHER"?
      21             A. I DRINK ONE SHOT, HE DRINK ONE
      22      SHOT; SOMETHING LIKE THAT.
      23             Q. YOU WERE HAVING A GOOD TIME WITH
      24      HIM?
      25             A. YES.
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                                                                          Page 32
       1                                E. SHIN
       2            Q. WAS IT THE SAME SERVER FOR BOTH
       3      ROOMS?
       4            A. YES.
       5            Q. AND DID THE SERVER COME INTO
       6      YOUNG LEE'S ROOM WHILE YOU WERE THERE?
       7            A. I DON'T REMEMBER, I THINK SO.
       8            Q. ONLY WHAT YOU REMEMBER.                    I DON'T
       9      WANT YOU GUESSING.
      10            A. RIGHT.         OKAY.       I DON'T REMEMBER
      11      BECAUSE I WAS DRUNK.
      12            Q. DID ANYONE FROM THE KARAOKE
      13      PLACE THAT YOU'RE AWARE OF WATCH YOUNG
      14      LEE DRINK ALCOHOL?
      15            A. I DO NOT KNOW.
      16            Q. ALL RIGHT.            SO YOU SAID YOU WERE
      17      THERE FOR ABOUT LESS THAN TWO HOURS?
      18            A. YES.
      19            Q. SO WHAT TIME DID YOU LEAVE?
      20            A. AFTER 12:00, I DON'T REMEMBER.
      21      I DON'T KNOW HOW I GOT UP, YOU KNOW.
      22            Q. WAS THAT BECAUSE YOU WERE DRUNK?
      23            A. YES.        I DON'T KNOW IF MR. JOHN
      24      KIM PULLED ME OUT, I'M NOT SURE.
      25            Q. DO YOU KNOW WHAT TIME THAT WAS?
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                                                                          Page 33
       1                                E. SHIN
       2            A. I THINK OVER 12:00.
       3            Q. WHERE DID YOU GO LAST?
       4            A. I WENT HOME, I THINK.
       5            Q. OKAY.         WHEN YOU LEFT YOUNG LEE'S
       6      ROOM, WHERE DID YOU GO?
       7            A. I SAW THE VIDEO.                I THINK -- I
       8      DON'T KNOW HOW I GET THERE AND I DON'T
       9      REMEMBER -- I THINK I WAS LOST OR
      10      SOMETHING BECAUSE I WAS DRUNK.
      11            Q. OKAY.         SO WHAT VIDEO ARE YOU
      12      REFERRING TO?           THE VIDEO OF THE
      13      INCIDENT?
      14            A. YES.
      15            Q. TELL ME WHAT'S THE LAST THING
      16      THAT YOU REMEMBER?
      17            A. I THINK WE HAD SOME ARGUMENT.                        I
      18      DON'T KNOW WHAT THE ARGUMENT WAS.
      19            Q. ARGUMENT WITH WHO?
      20            A. WITH LEE.
      21            Q. WHERE DID THE ARGUMENT START?
      22            A. I DO NOT REMEMBER.
      23            Q. THIS WAS WITH YOUNG LEE?
      24            A. YOUNG LEE.            I HAD A GOOD TIME
      25      AND I REMEMBER I GOT OUT.                   I DON'T KNOW
Case 1:17-cv-05183-RML Document 76-3 Filed 05/12/20 Page 35 of 219 PageID #: 427


                                                                          Page 34
       1                                E. SHIN
       2      HOW IT ENDED UP THAT HE KICKED ME.
       3            Q. DO YOU KNOW WHAT THE ARGUMENT
       4      WAS ABOUT?
       5            A. I DO NOT.
       6            Q. DO YOU KNOW HOW IT STARTED?
       7            A. I DO NOT.
       8            Q. DO YOU KNOW WHERE IT STARTED?
       9            A. I DO NOT BECAUSE IT WAS THE
      10      FIRST TIME I MET HIM.                 I DON'T HAVE ANY
      11      BUSINESS RELATIONSHIP SO I COULDN'T
      12      UNDERSTAND.
      13            Q. WHO DID YOU LEAVE WITH BESIDES
      14      FOR YOUNG LEE?
      15            A. LEAVE?
      16            Q. YOU LEFT WITH YOUNG LEE?
      17            A. RIGHT.
      18            Q. AND WHO ELSE?
      19            A. I THINK, JUST MYSELF.                   I'M NOT
      20      SURE ABOUT THAT PART, I DON'T REMEMBER.
      21            Q. DID YOU WATCH THE VIDEO?                     WHEN
      22      YOU WATCHED THE VIDEO, WHO DID YOU SEE
      23      ON THE VIDEO?
      24            A. CHUNG LEE.
      25            Q. CHUNG LEE.
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                                                                          Page 35
       1                                E. SHIN
       2            A. JOHN KIM.
       3            Q. JOHN KIM.
       4            A. YOUNG LEE.
       5            Q. YOUNG LEE.
       6            A. I SAW WAITER.
       7            Q. YOU SAW A WAITER ON THE VIDEO?
       8                      MS. NICOLAOU:            CAN YOU READ
       9            THE NAMES THAT HE SAW?
      10                      MS. BERKOWITZ:             CHUNG LEE,
      11            JOHN KIM, YOUNG LEE, AND A
      12            WAITER.
      13                      MS. NICOLAOU:            ALL RIGHT.
      14            THANK YOU.
      15                      MS. BERKOWITZ:             ALL RIGHT.
      16            Q. AND WHERE WAS THE WAITER?
      17            A. I DON'T REMEMBER.
      18            Q. BUT YOU REMEMBER SEEING HIM ON
      19      THE VIDEO?
      20            A. I THINK SO.
      21            Q. AND WHERE WERE YOU RIGHT BEFORE
      22      THE INCIDENT OCCURRED?                 WHERE WERE YOU?
      23            A. IN THAT ROOM, I BELIEVE.
      24            Q. IN WHAT ROOM?
      25            A. YOUNG LEE'S ROOM.
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                                                                          Page 36
       1                                E. SHIN
       2             Q. OKAY.        AND WHERE DID HE KICK
       3      YOU?
       4             A. I DON'T REMEMBER, I JUST SAW THE
       5      VIDEO.
       6             Q. AND WHAT DID YOU SEE ON THE
       7      VIDEO?       WHAT DO YOU RECALL ON THE
       8      VIDEO?
       9             A. HE KICKED ME BETWEEN LEGS.
      10             Q. WHERE WERE YOU STANDING, RIGHT
      11      BEFORE HE KICKED YOU?
      12             A. I THINK, ON THE STAIRWAY OR
      13      DOOR, WHATEVER YOU CALL IT.
      14             Q. OKAY.        SO YOU HAD LEFT THE
      15      KARAOKE BAR?
      16             A. RIGHT.
      17             Q. AND THEN WHAT DID YOU DO?                     DID
      18      YOU GO OUT OF A DOOR TO GO TO THE
      19      STAIRWAY?
      20             A. I THINK SO, WITH JOHN KIM
      21      BECAUSE HE WAS DRIVING ME BACK.
      22             Q. WAS THE DOOR CLOSED?
      23             A. I DON'T REMEMBER.
      24             Q. WAS THE DOOR CLOSED WHILE YOU
      25      WERE IN THE STAIRWELL?
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                                                                          Page 37
       1                                E. SHIN
       2            A. I DON'T REMEMBER.
       3            Q. WAS THE WAITER ON THE LANDING OF
       4      THE STAIRWELL?
       5            A. WHO?
       6            Q. THE WAITER?
       7            A. I DON'T KNOW.
       8            Q. WHERE WAS HE WHEN YOU BELIEVED
       9      THAT YOUNG LEE KICKED YOU?
      10            A. I THINK, HE'S IN THE HALL.
      11            Q. OKAY.
      12            A. I DO NOT KNOW.               OKAY.      YOU SAID
      13      DON'T GUESS, RIGHT?
      14            Q. THANK YOU.            I APPRECIATE THAT.
      15      SO, TO YOUR KNOWLEDGE, DID THE WAITER
      16      HEAR THE ARGUMENT?
      17            A. I THINK SO.
      18            Q. WHY DO YOU THINK THAT?
      19            A. THAT'S WHAT CHUNG KANE LEE TOLD
      20      ME.
      21            Q. WHEN DID HE TELL YOU THAT?
      22            A. "WHAT HAPPENED?"                "I TRIED TO
      23      BLOCK HIM WITH THE WAITER OR
      24      SOMETHING."
      25            Q. TRIED TO BLOCK WHO?
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                                                                          Page 38
       1                                E. SHIN
       2             A. BLOCK YOUNG LEE.
       3             Q. SO CHUNG LEE TOLD YOU THAT YOU
       4      TRIED TO BLOCK YOUNG LEE WITH THE
       5      WAITER?
       6             A. RIGHT, BECAUSE HE SAID HE WAS
       7      "VERY AGGRESSIVE."
       8             Q. WHEN DID CHUNG LEE TELL YOU
       9      THIS?
      10             A. AFTER THAT NIGHT, HE VISIT
      11      ME(SIC).
      12             Q. IN THE HOSPITAL?
      13             A. NO, NOT HOSPITAL.                HOME, I
      14      BELIEVE.
      15             Q. OKAY.        THAT'S THE FIRST TIME HE
      16      TOLD YOU THAT?
      17             A. RIGHT.
      18             Q. DO YOU KNOW WHAT YOUNG LEE WAS
      19      BEING AGGRESSIVE ABOUT?
      20             A. I DO NOT KNOW.
      21             Q. DO YOU KNOW WHY HE MIGHT BE
      22      UPSET?
      23             A. I DO NOT KNOW.              I WANT TO ASK
      24      HIM.
      25             Q. HAVE YOU EVER ASKED HIM, UP
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                                                                          Page 39
       1                                E. SHIN
       2      UNTIL TODAY?
       3            A. NO.        AGAIN, I DO NOT KNOW HIM.
       4            Q. RIGHT.         DID ANYONE TELL YOU, UP
       5      UNTIL TODAY, WHY YOUNG LEE WAS UPSET?
       6            A. NO, NOBODY.
       7            Q. DID YOUNG LEE'S -- DID YOUNG LEE
       8      MAKE CONTACT WITH YOUR BODY BEFORE THE
       9      INCIDENT?
      10            A. I THINK WE EXCHANGED SOME BAD
      11      WORDS WITH EACH OTHER.
      12            Q. BAD WORDS?
      13            A. ACCORDING TO VIDEO, I USE MY
      14      FINGER, HE USE HIS FINGER.
      15            Q. WHAT FINGER?             THE MIDDLE FINGER?
      16            A. YEAH, THE MIDDLE FINGER.
      17            Q. YOU GAVE HIM THE MIDDLE FINGER?
      18            A. YEAH, I THINK SO.
      19            Q. YOU DON'T KNOW WHY?
      20            A. I DON'T REMEMBER.
      21            Q. DID HE GIVE IT BACK?
      22            A. YEAH.         HE MAY SAY SOMETHING TO
      23      ME THAT'S WHY I GIVE HIM THE MIDDLE
      24      FINGER.
      25            Q. BUT YOU DON'T REMEMBER?
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                                                                          Page 40
       1                                E. SHIN
       2             A. I DON'T REMEMBER.
       3             Q. THEN WHAT HAPPENED?
       4             A. I THINK THAT HE KICKED ME.
       5             Q. WHERE DID HE KICK YOU?
       6             A. I DO NOT KNOW.
       7             Q. DID HE TOUCH YOU WITH HIS FOOT?
       8             A. YES.
       9             Q. WHERE DID IT MAKE CONTACT WITH
      10      YOU?
      11             A. I DO NOT REMEMBER.                ACCORDING TO
      12      VIDEO BECAUSE OF THAT KICK, I GO ALL
      13      THE WAY DOWN.           IT WAS DARK THERE, I
      14      THINK.
      15             Q. YOU FELL DOWN WHERE?
      16             A. I THINK, GROUND FLOOR.
      17             Q. WHAT DO YOU MEAN THE "GROUND
      18      FLOOR"?
      19             A. THE BOTTOM OF THE STAIRS.
      20             Q. HOW MANY STAIRS DO YOU THINK YOU
      21      FELL DOWN?
      22             A. I DO NOT REMEMBER.
      23             Q. AND WHERE WERE YOU STANDING
      24      RIGHT BEFORE HE KICKED YOU?
      25             A. I THINK I WAS ON THE WAY OUT, I
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                                                                          Page 41
       1                                E. SHIN
       2      BELIEVE.
       3            Q. AND WHAT DO YOU MEAN YOU WERE
       4      "ON THE WAY OUT"?
       5            A. THE TOP OF THE STAIRS.
       6            Q. WERE ANY OF YOUR FEET ON THE
       7      STAIRS?
       8            A. I DO NOT KNOW.
       9            Q. OKAY.         AND IS IT -- WAS THE
      10      WAITER STANDING THERE WHEN YOU FELL?
      11            A. I DO NOT KNOW.
      12            Q. AND DID THE MANAGER OR THE OWNER
      13      WHO YOU DEFINED AS A LADY --
      14            A. YES.
      15            Q. -- WITH THE LAST NAME MOON --
      16            A. MOON.
      17            Q. WAS SHE PRESENT WHEN THE
      18      ARGUMENT WAS TAKING PLACE?
      19            A. I DO NOT REMEMBER.
      20            Q. DO YOU KNOW WHERE SHE WAS?
      21            A. I DO NOT KNOW.
      22            Q. AND HOW TALL ARE YOU?
      23            A. 5'8.
      24            Q. AND HOW MUCH DID YOU WEIGH AT
      25      THAT TIME?
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                                                                          Page 42
       1                                E. SHIN
       2            A. 225.
       3            Q. AND WHAT ABOUT YOUNG LEE?                      CAN
       4      YOU TELL ME SOMETHING ABOUT HIS HEIGHT
       5      AND WEIGHT?
       6            A. AROUND ME, 5'6 OR 5'7.
       7            Q. AND WHAT ABOUT HIS WEIGHT?
       8            A. PROBABLY, 170.
       9            Q. DO YOU REMEMBER WHAT THE WAITER
      10      WAS WEARING?           WAS HE WEARING A UNIFORM?
      11            A. I DO NOT REMEMBER.                 MAYBE A
      12      WHITE SHIRT, I'M NOT SURE.
      13            Q. OKAY.         DID YOU KNOW WHERE YOUNG
      14      LEE WAS BEFORE THE KARAOKE BAR?
      15            A. I DO NOT KNOW.
      16            Q. DID HE HAVE ANY ALCOHOL BEFORE
      17      THE KARAOKE BAR?
      18            A. I DO NOT KNOW.
      19            Q. DO YOU KNOW OF ANYBODY WHO YOU
      20      BELIEVE WAS EMPLOYED BY THE KARAOKE BAR
      21      WHO KNEW THAT YOUNG LEE WAS DRUNK?
      22            A. I DO NOT KNOW.
      23            Q. DO YOU KNOW OF ANYBODY AT THE
      24      KARAOKE BAR WHO YOU BELIEVE WAS
      25      EMPLOYED BY THE KARAOKE BAR THAT
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                                                                          Page 43
       1                                E. SHIN
       2      WITNESSED THE VERBAL ARGUMENT?
       3            A. I DO NOT KNOW.
       4                      MS. BERKOWITZ:             DO YOU WANT
       5            TO WATCH THE VIDEO?
       6                      MS. NICOLAOU:            SURE.
       7                      MS. BERKOWITZ:             CAN WE PLAY
       8            THE VIDEO?          AND I'D LIKE TO HAVE
       9            HIM IDENTIFY IT.
      10                      MR. BASIL:          AS BEST AS YOU
      11            CAN.
      12                      MS. BERKOWITZ:             AS BEST YOU
      13            CAN.
      14                      YOU WANT TO PLAY IT BACK?
      15                      MR. BASIL:          YEAH, LET'S PLAY
      16            IT BACK.
      17                      MS. NICOLAOU:            JUST FOR THE
      18            RECORD, CAN WE ALL AGREE THAT
      19            IT'S SOMEONE RECORDING THE SCENE
      20            THAT'S PLAYING THE SECURITY
      21            FOOTAGE?
      22                      MS. BERKOWITZ:             RIGHT.
      23                      MR. BASIL:          CORRECT.
      24                      MS. NICOLAOU:            OKAY.
      25                      (WHEREUPON, SECURITY FOOTAGE
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                                                                          Page 44
       1                                E. SHIN
       2            CLIP WAS MARKED AS DEFENDANT'S
       3            EXHIBIT A FOR IDENTIFICATION AS OF
       4            THIS DATE.)
       5                      (WHEREUPON, COUNSEL PLAYS
       6            SECURITY FOOTAGE CLIP.)
       7            Q. OKAY.         MR. SHIN --
       8            A. THAT'S ME.
       9            Q. SO YOU CAN IDENTIFY YOURSELF AS
      10      THE INDIVIDUAL?
      11                      MS. NICOLAOU:            WEARING
      12            GLASSES.
      13            A. THIS IS JOHN KIM (POINTING).
      14            Q. YOU ARE --
      15                      MR. BASIL:          OUT OF THE THREE
      16            PEOPLE -- THE ONE IN THE MIDDLE.
      17                      MS. NICOLAOU:            LEANING
      18            AGAINST THE WALL.
      19            Q. IS THAT WITH YOUR MIDDLE FINGER?
      20            A. RIGHT.
      21            Q. THE ONE IN THE FRONT -- JOHN
      22      KIM, WITH THE GLASSES?
      23            A. YES.
      24            Q. WHAT ABOUT ON THE LEFT?
      25            A. CHUNG LEE.
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                                                                          Page 45
       1                                E. SHIN
       2            Q. CHUNG LEE.            HE'S NOT WEARING A
       3      SUIT, CORRECT?
       4            A. NO.
       5            Q. BUT WITH GLASSES.                 AND IS YOUNG
       6      LEE THE GENTLEMEN THAT CHUNG LEE IS
       7      HOLDING?
       8            A. I DON'T KNOW HIM SO DON'T ASK
       9      ME.     IF I MET HIM IN THE STREET, I CAN
      10      NOT RECALL.
      11            Q. YOU DON'T KNOW WHAT HE LOOKS
      12      LIKE?
      13            A. NO.
      14                      MS. BERKOWITZ:             CAN YOU
      15            REWIND IT?
      16            Q. THE GENTLEMEN IN THE GREEN SHIRT
      17      WHO CHUNG LEE IS HOLDING BACK, DO YOU
      18      BELIEVE THAT'S YOUNG LEE?
      19            A. YES.
      20            Q. DO YOU SEE THE WAITER IN THE
      21      VIDEO?
      22            A. NO.
      23            Q. DO YOU KNOW WHERE THE WAITER IS
      24      IN RELATION TO WHAT'S DEPICTED IN THE
      25      VIDEO?
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                                                                          Page 46
       1                                E. SHIN
       2             A. OVER HERE (POINTING).
       3             Q. YOU'RE NOT SURE?
       4             A. I'M NOT SURE.
       5             Q. DO YOU KNOW IF HE WITNESSED
       6      THIS?
       7             A. NO.
       8             Q. DO YOU KNOW FOR SURE?
       9             A. NO, I'M NOT SURE.
      10             Q. DO YOU SEE YOUNG LEE KICK YOU IN
      11      THE VIDEO?
      12             A. YES.
      13             Q. WHERE DO YOU SEE THAT?
      14             A. NOT THIS VIDEO, BUT VIDEO THAT I
      15      SAW.
      16             Q. WAS DIFFERENT?
      17                      MS. NICOLAOU:            COUNSEL, WAS
      18             THERE ANOTHER VIDEO?
      19             A. IT'S THE SAME VIDEO BUT MAYBE
      20      DIFFERENT.          I DON'T REMEMBER -- I DON'T
      21      KNOW IF HE KICKED ME OR NOT BECAUSE
      22      PEOPLE TOLD ME I GOT KICKED.                     DA TOLD
      23      ME THAT SO MAYBE THAT'S MY MEMORY.
      24             Q. WHO TOLD YOU THAT HE KICKED YOU?
      25             A. DA.
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                                                                          Page 47
       1                                E. SHIN
       2                      MR. BASIL:          DISTRICT
       3            ATTORNEY.
       4            Q. THE DA TOLD YOU THAT YOUNG LEE
       5      KICKED YOU?
       6            A. YES.
       7            Q. DID ANYONE ELSE TELL YOU THAT HE
       8      KICKED YOU?
       9            A. MR. CHUNG LEE AND JOHN KIM AND
      10      THEY KEEP TELLING ME THAT WE TRIED TO
      11      BLOCK HIM BUT HE DID IT BETWEEN THE
      12      LEGS OF CHUNG LEE.
      13            Q. SO WHO TOLD YOU THAT THEY TRIED
      14      TO BLOCK YOUNG LEE?
      15            A. CHUNG LEE.
      16            Q. THAT'S WHAT YOU SEE IN THE
      17      VIDEO, CHUNG LEE WAS TRYING TO BLOCK --
      18            A. YES.
      19            Q. DO YOU KNOW WHAT HE WAS TRYING
      20      TO BLOCK HIM FROM DOING?
      21            A. YES, I THINK SO.
      22            Q. WHAT?
      23            A. HE PROTECTS ME, HE'S MY
      24      LONG-TIME FRIEND.
      25            Q. CHUNG LEE WAS TRYING TO PROTECT
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                                                                          Page 48
       1                                E. SHIN
       2      YOU FROM YOUNG LEE?
       3             A. YES, HE PROTECT ME SINCE I'M 11
       4      BECAUSE HE'S A BIG GUY AND WE WERE IN
       5      THE SAME MIDDLE SCHOOL IN CLASS SO I
       6      TOLD HIM THAT.            I COMPLAINED TO HIM
       7      THAT, "GOD, IN MIDDLE SCHOOL YOU SAVE
       8      ME FROM THE BIG GUY FROM HITTING ME BUT
       9      THIS TIME, HOW DARE YOU NOT PROTECT
      10      ME?"      HE SAID, "I TRY BUT HE DID IT
      11      BETWEEN MY LEGS, TOO.                 I COULDN'T.          I
      12      WAS DRUNK, TOO," HE SAID.
      13             Q. CHUNG LEE WAS DRUNK, TOO?
      14             A. YEAH.
      15             Q. SO YOU THINK YOUNG LEE KICKED
      16      BETWEEN CHUNG LEE'S LEG?
      17             A. YES.
      18             Q. OKAY.        AND BESIDES THE FOUR
      19      PEOPLE THAT YOU SEE IN THE VIDEO, WAS
      20      ANYBODY ELSE ON THE LANDING AT THE TIME
      21      THAT THIS WAS HAPPENING THAT YOU KNOW
      22      OF?
      23             A. I DO NOT KNOW.
      24             Q. OKAY.        HAS ANYBODY TOLD YOU, UP
      25      UNTIL TODAY, THAT THEY WERE A WITNESS
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                                                                          Page 49
       1                                E. SHIN
       2      TO THIS, OTHER THAN WHAT --
       3            A. JOHN KIM?
       4            Q. -- JOHN KIM.
       5            A. JOHN KIM AND CHUNG LEE.
       6            Q. ANYBODY ELSE?
       7            A. I DON'T REMEMBER.
       8            Q. WHERE WAS DANIEL PARK, AT THE
       9      TIME?
      10            A. HE WAS ASLEEP.
      11            Q. OKAY.         HAS HE EVER TOLD YOU THAT
      12      HE WAS A WITNESS OF WHAT HAPPENED THAT
      13      NIGHT?
      14            A. HE KEPT TELLING ME THAT I WAS
      15      KNOCKED OUT AND ASLEEP.
      16            Q. DANIEL PARK SAID HE WAS
      17      SLEEPING?
      18            A. YES.
      19            Q. DO YOU KNOW THAT YOU IDENTIFIED
      20      HIM AS A WITNESS IN THIS CASE?                      DO YOU
      21      KNOW WHAT HE WAS A WITNESS TO?
      22            A. DANIEL PARK?
      23            Q. RIGHT.
      24            A. YEAH, HE WAS INTRODUCING YOUNG
      25      LEE AND I THINK HE'S THE ONE THAT
Case 1:17-cv-05183-RML Document 76-3 Filed 05/12/20 Page 51 of 219 PageID #: 443


                                                                          Page 50
       1                                E. SHIN
       2      INVITED ME INTO THE ROOM.
       3            Q. THAT'S WHAT YOU THINK HE WAS A
       4      WITNESS TO?
       5            A. YES.
       6            Q. OKAY.         DID YOU EVER DISCUSS THIS
       7      INCIDENT WITH ANYBODY AT THE KARAOKE
       8      CLUB AFTER THAT NIGHT, UP UNTIL TODAY?
       9            A. NO.
      10            Q. HAVE YOU BEEN BACK?
      11            A. NO.        I'VE BEEN IN CHUNG LEE'S
      12      RESTAURANT ON FIRST FLOOR BUT I'VE NOT
      13      BEEN THERE.          I DON'T WANT TO SIT, I
      14      DON'T WANT TO GO THERE.                  NO WAY.
      15            Q. DID YOU GIVE ANY STATEMENTS TO
      16      THE POLICE, IN CONNECTION WITH YOUNG
      17      LEE'S ARREST, UP UNTIL TODAY?
      18            A. NO.
      19            Q. NOT THAT NIGHT OR EVER, NO
      20      STATEMENTS?
      21            A. NO STATEMENT, JUST DA ASKED ME
      22      SOME QUESTIONS.
      23            Q. WHAT DID THE DA ASK YOU?
      24            A. SHE SAID -- SHE ASK ME IF I
      25      WOULD LIKE TO CHARGE HIM FOR A FELONY
Case 1:17-cv-05183-RML Document 76-3 Filed 05/12/20 Page 52 of 219 PageID #: 444


                                                                          Page 51
       1                                E. SHIN
       2      BUT NOT IN THE JAIL TERM AND CHUNG LEE
       3      DOESN'T HAVE ANY ARREST TO LET GO AND
       4      SHE TOLD ME HE'S 60 YEARS OLD AND "ARE
       5      YOU OKAY WITH NOT GIVING JAIL TIME,"
       6      SOMETHING LIKE THAT, AND MY WIFE WAS
       7      VERY UPSET AND I SAID -- AND DA
       8      CONVINCED ME -- "YOU KNOW, BOTH OF YOU
       9      WERE DRUNK.          IT'S AN ACCIDENT."
      10            Q. OKAY.         THE DA SAID IT WAS AN
      11      ACCIDENT?
      12            A. YES, ACCIDENT.               AND SHE TOLD ME,
      13      "IF YOU'RE BEHIND THE WALL AND THE
      14      STAIRWAY WAS MORE SAFER, YOU SHOULDN'T
      15      BE GETTING INJURY LIKE THIS."
      16            Q. SO YOU AGREED TO THE LESSER
      17      CHARGE?
      18            A. YES, WITH THE DA.
      19            Q. AND IS THAT A CONVERSATION THAT
      20      YOU HAD WITH THE DA IN PERSON OR OVER
      21      THE PHONE OR WHAT?
      22            A. SHE LIKE TO SEE ME SO I WENT TO
      23      HER OFFICE IN JUNE OR JULY.
      24            Q. DID SHE TAKE A RECORDING?
      25            A. I DON'T THINK SO, I'M NOT SURE.
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                                                                           Page 52
       1                                E. SHIN
       2      I DON'T THINK SO.
       3            Q. DID YOU SIGN ANYTHING?
       4            A. NO, SHE JUST NOTIFIED ME OF WHAT
       5      SHE WAS DOING.            SHE WAS PRETTY UPSET,
       6      TOO, ABOUT MY HEAVY INJURY BUT SHE WAS
       7      FAIR.      LET ME SAY THIS, DA WAS VERY
       8      FAIR.
       9            Q. OKAY.         I'M GOING TO PASS TO MY
      10      CO-COUNSEL FOR A COUPLE OF MINUTES.
      11            A. OKAY.
      12    EXAMINATION
      13    BY MS. NICOLAOU:
      14            Q. GOOD AFTERNOON, MR. SHIN.                      MY
      15      NAME IS CARMEN NICOLAOU.                   I'M FROM
      16      CHARTWELL.          I REPRESENT THE WANG AND
      17      THE TRUST AND THE WU DEFENDANTS.                        THEY
      18      WERE THE OWNERS OF THE BUILDING AT THE
      19      TIME.
      20                 I'M JUST GOING TO BE ASKING YOU
      21      SOME FOLLOW-UP QUESTIONS THAT WERE
      22      TOUCHED ON BY CO-DEFENDANT AND THE SAME
      23      RULES APPLY.           OKAY?
      24            A. SURE.
      25            Q. SO, I JUST WANT TO BE CLEAR.
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                                                                          Page 53
       1                                E. SHIN
       2      FROM THE MOMENT YOU WALKED OUT OF THE
       3      FIRST ROOM -- AND THAT'S THE ROOM MR.
       4      YOUNG LEE WAS IN AND MR. PARK, RIGHT?
       5      YOU DON'T REALLY REMEMBER ANYTHING THAT
       6      HAPPENED; IS THAT RIGHT?
       7            A. I REMEMBER WE WENT THERE, WE
       8      INTRODUCE --
       9            Q. NO, NO, NO.             LET ME BE CLEAR.
      10      FROM THE MOMENT YOU WALKED OUT OF THAT
      11      FIRST ROOM TO LEAVE FOR THE NIGHT, YOU
      12      DON'T REMEMBER WHAT HAPPENED?
      13            A. I DO NOT.
      14            Q. SO YOU DON'T HAVE NO
      15      RECOLLECTION OF THIS FIGHT, YOU DON'T
      16      HAVE ANY RECOLLECTION OF ANYBODY
      17      KICKING YOU OR FALLING DOWN THE STAIRS;
      18      IS THAT RIGHT?
      19            A. YES.
      20            Q. EVERYTHING THAT YOU TESTIFIED TO
      21      IS BASED ON WHAT YOU SAW IN THE VIDEO
      22      AND WHAT PEOPLE HAVE TOLD YOU?
      23            A. RIGHT.
      24            Q. AS TO WHAT THEY SAW, RIGHT?
      25            A. YES, THAT'S RIGHT.
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                                                                          Page 54
       1                                E. SHIN
       2            Q. NOW, YOU'VE BEEN TO THIS KARAOKE
       3      BAR BEFORE?
       4            A. YES.
       5            Q. I THINK YOU SAID 10 TIMES?
       6            A. YES, OVER FIVE YEARS.
       7            Q. AND IT'S LOOKED THE SAME OVER
       8      THE FIVE YEARS?
       9            A. I THINK SO.
      10            Q. DO YOU HAVE A RECOLLECTION OF
      11      WHETHER IT'S CHANGED AT ALL FROM THE
      12      TIME YOU FIRST WENT THERE UNTIL THE DAY
      13      OF YOUR ACCIDENT?
      14            A. JUST THE STAIRWAY THERE.                     I KNOW
      15      THAT.
      16            Q. WAS THE STAIRWAY THE SAME?
      17            A. I THINK SO BUT I ALWAYS USE
      18      ELEVATOR.
      19            Q. YOU'VE SEEN THE STAIRWAY?                      THE
      20      STAIRWAY HAS ALWAYS BEEN THE SAME?                         I
      21      JUST WANT TO BE CLEAR WHETHER IT'S
      22      CHANGED OR BEEN THE SAME.                   IT'S BEEN
      23      THE SAME?
      24            A. YES.
      25            Q. HAVE YOU EVER TAKEN THE STAIRWAY
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                                                                           Page 55
       1                                E. SHIN
       2      IN THE SIX TIMES THAT YOU WERE AT THIS
       3      IN THE KARAOKE BAR?
       4            A. I USE ELEVATOR BUT THAT NIGHT, I
       5      DON'T KNOW WHY I'M STANDING THERE.
       6      MAYBE, ELEVATOR DIDN'T WORK AT THE
       7      TIME, I'M NOT SURE.
       8                      MS. BERKOWITZ:             DON'T GUESS
       9            AT ANYTHING.
      10                      THE WITNESS:           THAT'S WHY I
      11            SAY "I'M NOT SURE."
      12            Q. MR. SHIN, MY QUESTION TO YOU IS,
      13      DID YOU USE THE ELEVATOR -- WE'LL KEEP
      14      IT WITH THE EXCEPTION OF THE LAST NIGHT
      15      YOU WERE THERE ON THE NIGHT OF YOUR
      16      ACCIDENT.
      17            A. RIGHT.
      18            Q. THE OTHER PRIOR TRIPS TO THIS
      19      KARAOKE BAR, DID YOU ONLY USE THE
      20      ELEVATOR?
      21            A. YES.
      22            Q. YOU NEVER WENT UP THE STAIRS,
      23      NEVER WENT DOWN THE STAIRS, RIGHT?
      24            A. RIGHT, BECAUSE I'M SCARED.                      I
      25      DON'T LIKE THE STAIRWAY.
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                                                                          Page 56
       1                                E. SHIN
       2            Q. YOU INDICATED IN YOUR TESTIMONY
       3      THAT NOAH BANK WAS FINANCING THE
       4      PURCHASE OF THIS BUILDING?
       5            A. YES.
       6            Q. OKAY.         AND DID NOAH BANK
       7      PURCHASE THIS BUILDING?
       8            A. NOT PURCHASE, FINANCE.
       9            Q. THEY PROVIDED THE MORTGAGE?
      10            A. YES.
      11            Q. AND WHAT WAS THE MORTGAGE
      12      AMOUNT?
      13            A. I THINK ABOUT $4.5 MILLION.
      14            Q. AND NOAH BANK APPROVED THE
      15      MORTGAGE AMOUNT?
      16            A. YES.
      17            Q. WERE YOU INVOLVED IN THAT
      18      PROCESS?
      19            A. YES.
      20            Q. SO YOU HAVE HAVING BEEN A PATRON
      21      OF THAT BUILDING OVER HOW MANY YEARS,
      22      SIX YEARS?
      23            A. SIX YEARS, FIVE YEARS.
      24            Q. FIVE, SIX YEARS, WE'LL SAY.                       AND
      25      YOUR TITLE AT THE BANK IS WHAT?
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                                                                          Page 57
       1                                E. SHIN
       2            A. PRESIDENT.
       3            Q. AND CEO OR JUST PRESIDENT?
       4            A. CEO AND PRESIDENT.
       5            Q. SO YOU HOLD PRESIDENT TITLE AND
       6      CHIEF EXECUTIVE OFFICER, CHIEF
       7      EXECUTIVE OFFICER IS YOUR TITLE WITH
       8      RESPECT TO THE BOARD; IS THAT RIGHT?
       9            A. RIGHT.
      10            Q. AND YOUR PRESIDENT TITLE IS THE
      11      OFFICER OF THE BANK; IS THAT RIGHT?
      12            A. RIGHT.
      13            Q. SO AS PRESIDENT AND CHIEF
      14      EXECUTIVE OFFICER, YOU'VE BEEN TO THIS
      15      KARAOKE BAR FOR FIVE OR SIX YEARS, YOU
      16      APPROVED FOR A -- I'M SORRY.                     HOW MUCH
      17      WAS THAT?
      18            A. $4.5 MILLION.
      19            Q. $4.5 MILLION FINANCE OF THIS
      20      BUILDING, RIGHT?
      21            A. RIGHT.
      22            Q. AND THE PURPOSE OF NOAH BANK IS
      23      TO MAKE MONEY OFF OF THE LOAN?
      24            A. YES.
      25            Q. AND WOULD NOAH BANK MORTGAGE OR
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                                                                          Page 58
       1                                E. SHIN
       2      FINANCE A BUILDING THAT IS NOT IN GOOD
       3      SHAPE?
       4            A. I'M NOT SURE ABOUT "NOT IN GOOD
       5      SHAPE," BUT THE CLIENT -- MR. CHUNG
       6      KANE LEE IS A VERY STRONG PARTNER AND
       7      BASED ON THAT WE MADE IT AND BASED ON
       8      THE APPRAISAL.
       9            Q. IF YOU FELT THE BUILDING WAS NOT
      10      A GOOD BUILDING, WOULD YOU APPROVE THE
      11      FINANCE OF THAT BUILDING FOR
      12      $4.5 MILLION?
      13            A. WE HAVE TO TAKE A LOOK AT THE
      14      OTHER MEASUREMENT.               SO IF IT NEEDS
      15      IMPROVEMENTS, WE CAN ASK TO MAKE
      16      IMPROVEMENTS.
      17            Q. THE BUILDING RIGHT NOW IS BEING
      18      FINANCED BY THE BANK, NOAH BANK?
      19            A. RIGHT.
      20            Q. AND THE STAIRCASE YOU REFERRED
      21      TO, YOU DESCRIBED AS "SCARY LOOKING";
      22      IS THAT RIGHT?
      23            A. YES.
      24            Q. IT'S STILL THERE, RIGHT?
      25            A. NO, THEY FIXED IT.
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                                                                          Page 59
       1                                E. SHIN
       2            Q. WHEN DID THEY FIX IT?
       3            A. BECAUSE OF MY STRONG
       4      RECOMMENDATION TO FIX IT.
       5            Q. WHEN?
       6            A. I DO NOT REMEMBER.
       7            Q. IF I WAS TO REPRESENT TO YOU,
       8      MR. SHIN, THAT THE STAIRCASE WAS
       9      EXACTLY HOW IT WAS BEFORE THE ACCIDENT,
      10      WOULD THAT SURPRISE YOU?
      11                      MR. BASIL:          OKAY.       OBJECT TO
      12            THE FORM.
      13            A. I DON'T THINK SO.
      14            Q. YOU SAW THE VIDEO.                 YOU SEEN IT
      15      100 TIMES, RIGHT?
      16            A. NO, JUST ONE TIME.
      17            Q. ONLY ONE TIME.               THAT'S IT?
      18            A. YES.
      19            Q. SO, WE'RE GOING TO SEE IT MORE
      20      THAN ONE TIME.
      21            A. OKAY.
      22            Q. WHEN WAS THE LAST TIME, BEFORE
      23      TODAY, THAT YOU SAW THIS VIDEO?
      24            A. ALMOST 18 MONTHS AGO.
      25            Q. AND YOU ONLY SAW IT THAT ONE
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                                                                          Page 60
       1                                E. SHIN
       2      TIME?
       3            A. YES.
       4            Q. OKAY.
       5            A. I DO NOT WANT TO TAKE A LOOK.
       6            Q. I UNDERSTAND.              NOW, MR. SHIN, DO
       7      YOU KNOW WHO WAS VIDEOTAPING, I GUESS,
       8      THE COMPUTER MONITOR THAT WAS PLAYING
       9      THE SECURITY FOOTAGE?
      10            A. I DO NOT KNOW.
      11            Q. THE KARAOKE BAR --
      12            A. I DO NOT KNOW.
      13            Q. -- I'M NOT DONE WITH MY QUESTION
      14      MR. SHIN.
      15                 THE KARAOKE BAR, IS IT STILL
      16      THERE TODAY?
      17            A. I DO NOT KNOW.
      18            Q. HAVE YOU BEEN THERE SINCE?
      19            A. NO.
      20            Q. OKAY.         WE'RE GOING TO HIT PLAY
      21      AGAIN.       I'M GOING TO POINT TO YOU,
      22      MR. SHIN.         THAT'S YOU (POINTING),
      23      CORRECT?
      24            A. RIGHT.
      25            Q. IN THIS PORTION OF THE VIDEO,
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                                                                          Page 61
       1                                E. SHIN
       2      WHICH IS, I THINK, THREE SECONDS IN; IS
       3      THAT RIGHT?          WE'RE GOING TO MAKE SURE
       4      WE'RE ON THE RIGHT SCENE.
       5            A. RIGHT.
       6            Q. THAT'S YOU, MR. SHIN, CORRECT
       7      (POINTING)?          LEANING UP AGAINST THE
       8      WALL?
       9            A. RIGHT.
      10            Q. AND YOU'RE HOLDING UP A MIDDLE
      11      FINGER?
      12            A. RIGHT.
      13            Q. WHERE IS YOUR LEFT FOOT?                     CAN
      14      YOU SEE IT?
      15            A. I DO NOT KNOW.
      16            Q. DOES IT APPEAR IN THIS VIDEO
      17      FOOTAGE, MR. SHIN, THAT YOU'RE STANDING
      18      ON THE TOP STEP -- THE TOP LANDING AND
      19      THE FIRST STEP DOWN?                DOES THAT LOOK
      20      LIKE WHAT YOU'RE DOING?                  TAKE A CLOSE
      21      LOOK, IF YOU HAVE TO.
      22            A. IT LOOKS LIKE.
      23            Q. YOU AGREE WITH ME?                 WILL YOU
      24      AGREE WITH THAT STATEMENT THAT YOU'RE
      25      STANDING -- WHAT APPEARS TO BE ONE FOOT
Case 1:17-cv-05183-RML Document 76-3 Filed 05/12/20 Page 63 of 219 PageID #: 455


                                                                          Page 62
       1                                E. SHIN
       2      ON THE LANDING AND YOUR SECOND FOOT
       3      WHICH WOULD BE YOUR RIGHT FOOT, ON THE
       4      TOP STEP; IS THAT RIGHT?
       5            A. IF YOU SAY SO.
       6            Q. I'M NOT ASKING -- I'M ASKING IF
       7      THAT'S WHAT YOU SEE IN THIS VIDEO,
       8      MR. SHIN?
       9            A. LOOKS LIKE IT.
      10            Q. OKAY.         FAIR ENOUGH.
      11                 LET ME SEE IF I CAN GET THIS
      12      RIGHT.       OKAY.      AND WE'RE ONE SECOND
      13      MORE.      YOU'RE STILL HOLDING UP YOUR
      14      MIDDLE FINGER, RIGHT?                 YOUR POSITION IS
      15      STILL THE SAME?
      16            A. RIGHT.
      17            Q. YES?
      18            A. YES.
      19            Q. OKAY.         NOW WE'RE EIGHT SECONDS
      20      INTO THE VIDEO, IS YOUR MIDDLE FINGER
      21      STILL UP THERE?
      22            A. I THINK SO.
      23            Q. DOES IT LOOK LIKE IT IS, SIR?
      24            A. YES.
      25            Q. ALL RIGHT.            SO FOR FIVE SECONDS
Case 1:17-cv-05183-RML Document 76-3 Filed 05/12/20 Page 64 of 219 PageID #: 456


                                                                          Page 63
       1                                E. SHIN
       2      YOUR MIDDLE FINGER IS STILL POINTED UP?
       3             A. YES.
       4                      MS. NICOLAOU:            DID I START
       5             IT OVER?
       6                      MR. BASIL:          YES.
       7                      MS. NICOLAOU:            OKAY.      GIVE
       8             ME A SECOND.
       9             Q. NOW, WE'RE 11 SECONDS INTO THE
      10      VIDEO, YOU'RE STILL IN THE SAME
      11      LOCATION, RIGHT, YOU HAVEN'T MOVED?
      12             A. OKAY.
      13             Q. IS THAT CORRECT?
      14             A. OKAY.
      15             Q. I NEED "YES" OR "NO," MR. SHIN.
      16      I NEED YOU TO EITHER AGREE WITH ME OR
      17      NOT AGREE WITH ME.
      18             A. IT LOOKS LIKE IT -- I KEEP
      19      TELLING YOU IT LOOKS LIKE ACCIDENT.
      20             Q. THANK YOU.           SO IT LOOKS LIKE
      21      YOU'RE STILL IN THE SAME POSITION; YOUR
      22      BACK IS UP AGAINST THE WALL, YOUR FIRST
      23      FOOT IS ON THE LANDING, YOUR SECOND
      24      FOOT IS ON THE FIRST STEP.                    FAIR TO
      25      SAY?
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                                                                          Page 64
       1                                E. SHIN
       2            A. OKAY.
       3            Q. OKAY.         NOW, 11 SECONDS INTO THE
       4      VIDEO, WHAT DO YOU SEE HERE, MR. SHIN?
       5            A. OKAY.         MY BODY FALLING.
       6            Q. YEAH.         WHERE ARE YOUR ARMS?
       7            A. HMM?
       8            Q. WHERE ARE YOUR ARMS?
       9            A. IN THE AIR.
      10            Q. SO THEY'RE UP IN FRONT OF YOU,
      11      RIGHT?
      12            A. RIGHT.
      13            Q. I WANT TO CALL IT LIKE A "SUPER
      14      MAN."      OKAY?
      15            A. OKAY.
      16            Q. AM I RIGHT OR IS MY DESCRIPTION
      17      INCORRECT?
      18            A. I DON'T REMEMBER.
      19            Q. I'M ASKING YOU WHAT SHOWS IN
      20      THIS VIDEO.          I'M NOT ASKING YOU WHAT
      21      YOU REMEMBER BECAUSE I UNDERSTAND YOU
      22      DON'T REMEMBER WHAT HAPPENED THAT
      23      NIGHT.
      24            A. RIGHT.
      25            Q. OKAY.         AND YOU DON'T REMEMBER --
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                                                                          Page 65
       1                                E. SHIN
       2            A. THIS IS MY FIRST TIME I SEE
       3      THIS.
       4            Q. I UNDERSTAND, SO WE'RE WALKING
       5      THROUGH IT --
       6                      MS. BERKOWITZ:             YOU CAN
       7            WATCH IT AS MANY TIMES AS YOU
       8            WANT.
       9            Q. IF YOU WANT ME TO REWIND, I'LL
      10      BE HAPPY TO.
      11            A. ALL RIGHT.
      12            Q. NOW, I'M ASKING WHAT'S BEING
      13      SHOWN IN THE VIDEO.               NOW, THE VIDEO
      14      SHOWS YOU'RE STARTING YOUR FALL DOWN
      15      THE STAIRS; IS THAT RIGHT?
      16            A. OKAY.
      17            Q. AND YOUR ARMS ARE STRETCHED OUT
      18      IN FRONT OF YOU; IS THAT CORRECT?
      19            A. OKAY.
      20            Q. "OKAY."          IS THAT YOUR WAY OF
      21      SAYING "YES," MR. SHIN?
      22            A. NO, LOOKS LIKE.
      23            Q. IT LOOKS LIKE THAT'S WHAT IT'S
      24      SHOWING IN THE VIDEO?
      25            A. YES.
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                                                                          Page 66
       1                                E. SHIN
       2            Q. OKAY.         I'M SORRY IF I ASKED YOU.
       3      DO YOU KNOW WHO WAS TAPING THIS VIDEO
       4      FOOTAGE FROM THE SCENE?                  DO YOU KNOW
       5      THAT?
       6            A. I DO NOT KNOW.
       7            Q. WERE YOU -- WHEN YOU SAW THE
       8      VIDEO FOOTAGE FOR THE FIRST TIME, WAS
       9      IT THIS PARTICULAR VIDEO FOOTAGE?                        IN
      10      OTHER WORDS, DID YOU SEE IT ON THE
      11      COMPUTER SCREEN OF THE ACTUAL FOOTAGE
      12      OR DID YOU SEE SOMEBODY'S TAPING OF
      13      THAT FOOTAGE?
      14                 DO YOU UNDERSTAND?               IN OTHER
      15      WORDS, DID YOU SEE THIS PARTICULAR
      16      VIDEO FOOTAGE?
      17            A. NO, DIFFERENT.               I THINK SOMEBODY
      18      TAKING THIS(SIC).
      19            Q. YES, I AGREE WITH YOU, MR. SHIN,
      20      BUT THE ONE YOU SAW FOR THE FIRST TIME
      21      WAS 18 MONTHS AGO, THAT WAS A DIFFERENT
      22      ONE THAN THIS ONE, RIGHT?
      23            A. RIGHT.
      24            Q. WHERE WERE YOU WHEN YOU SAW
      25      THIS?
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                                                                          Page 67
       1                                E. SHIN
       2            A. WHERE WAS I?
       3            Q. WHERE WERE YOU PHYSICALLY WHEN
       4      YOU OBSERVED THAT FOOTAGE, THE ONE YOU
       5      SAW 18 MONTHS AGO?
       6            A. I DO NOT REMEMBER BUT I GOT IT
       7      FROM A KOREAN PRESS PEOPLE SO I WAS
       8      SHOCKED.
       9            Q. WAS IT E-MAILED TO YOU?
      10            A. YES.        ABOUT THIS VIDEO.              THEY
      11      SAID DONG, D-O-N-G, LEE, DISPUTED THIS
      12      VIDEO TO ALL THE KOREAN PRESS PEOPLE
      13      AND HE EVEN PUT THIS THING ON THE
      14      YOUTUBE, BUT I NEVER SEEN THE YOUTUBE.
      15                      MS. NICOLAOU:            SO, I GUESS,
      16            MY QUESTION IS, BOB, IS THERE
      17            ANOTHER FORMAT OF THIS VIDEO THAT
      18            YOU'RE AWARE OF?
      19                      MR. BASIL:          I'M NOT.        I HAD
      20            ONE VIDEO AND THIS IS IT.
      21                      MS. NICOLAOU:            DID YOU LOOK
      22            TO SEE IF THERE'S A YOUTUBE
      23            FORMAT?
      24                      MR. BASIL:          THIS IS THE
      25            FIRST I'M HEARING OF IT.
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                                                                          Page 68
       1                                E. SHIN
       2                      MS. NICOLAOU:            FIRST TIME
       3            YOU'RE HEARING IT.
       4            Q. JUST TO BE CLEAR, MR. SHIN,
       5      YOU'RE SAYING THAT THE FIRST TIME YOU
       6      SAW THIS VIDEO, IT WASN'T IN THIS
       7      FORMAT, RIGHT?
       8            A. SIMILAR, BUT NOT IN THIS FORMAT.
       9      JUST SOMEBODY TAKE A CAPTURE OF -- LIKE
      10      THIS ONE.
      11            Q. WAS IT CLEARER?               WAS IT BETTER
      12      VIDEO FOOTAGE?
      13            A. NO.
      14            Q. THIS ONE IS BETTER?
      15            A. YEAH, THIS ONE IS BETTER.
      16            Q. OKAY.         WHEN I SAY "BETTER," I
      17      MEAN QUALITY-WISE?
      18            A. QUALITY.
      19                      MS. BERKOWITZ:             DID YOU SEE
      20            ANYTHING ELSE IN THE OTHER VIDEO
      21            THAT YOU DON'T SEE IN THIS VIDEO?
      22                      THE WITNESS:           NO, THIS ONE
      23            LOOKS LIKE DIVING.               FIRST TIME I
      24            SEE THAT, RIGHT NOW.
      25            Q. NOW, YOU INDICATED THAT WHEN YOU
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                                                                          Page 69
       1                                E. SHIN
       2      WENT INTO THE SECOND ROOM THERE WAS
       3      ALREADY SCOTCH, BEER, AND FRUIT; IS
       4      THAT RIGHT?
       5            A. RIGHT.
       6            Q. WHEN YOU FIRST ARRIVED AND YOU
       7      HAD A SHOT OF SCOTCH, BEER -- SCOTCH
       8      AND BEER, YOU MIXED IT TOGETHER?
       9            A. RIGHT, MIXED.
      10            Q. CAN YOU TELL ME HOW MUCH SCOTCH
      11      AND BEER WENT INTO THAT GLASS?
      12            A. ONE SHOT SCOTCH AND ONE THIRD OR
      13      HALF OF BEER.
      14            Q. SO ONE SHOT OF SCOTCH AND WHAT
      15      WAS THE OTHER PART?               WHAT WAS THE BEER
      16      PORTION?
      17            A. HALF A BOTTLE, ONE THIRD A
      18      BOTTLE OF BEER.
      19                      MR. BASIL:          SIX OUNCES,
      20            SOMETHING LIKE THAT?
      21            Q. SO ABOUT SIX OUNCES.                   OKAY.      AND
      22      WHAT KIND OF BEERS WAS IT?
      23            A. COORS LIGHT.
      24            Q. I'M SORRY?
      25            A. COORS LIGHT.
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                                                                          Page 70
       1                                E. SHIN
       2            Q. AND YOU DRANK THAT SAME
       3      CONSISTENCY WHILE YOU WERE IN THE FIRST
       4      ROOM?
       5            A. I DON'T REMEMBER.
       6            Q. THE ROOM IN THE MIDDLE, THE
       7      FIRST ROOM YOU VISITED, YOU HAD THE
       8      SCOTCH AND THE BEER?
       9            A. YES.
      10            Q. WHEN YOU ARRIVED TO THE KARAOKE
      11      BAR, DID YOU FEEL THAT YOU WERE DRUNK?
      12            A. LITTLE.
      13            Q. YOU HAD THE BUZZ GOING?
      14            A. NO, BUT I REMEMBER WHEN I ARRIVE
      15      THERE.
      16            Q. YOU FELT DRUNK?
      17            A. YEAH, PRETTY GOOD AMOUNT.
      18            Q. OKAY.         AND HOW LONG DID IT TAKE
      19      YOU, FROM WHEN YOU LEFT FORT LEE TO
      20      ARRIVE TO THE KARAOKE PLACE?
      21            A. LESS THAN AN HOUR, NOT MORE THAN
      22      AN HOUR.        45 MINUTES, ONE HOUR.
      23            Q. WHEN YOU ARRIVED, YOU TOOK THE
      24      ELEVATOR UP?
      25            A. I DON'T REMEMBER.
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                                                                          Page 71
       1                                E. SHIN
       2            Q. SO YOU DON'T REMEMBER IF YOU
       3      TOOK THE ELEVATOR OR THE STAIRS?
       4            A. RIGHT.
       5            Q. DID YOU HAVE ANY PROBLEMS
       6      REACHING THE SECOND FLOOR OF THE
       7      KARAOKE BAR WHEN YOU ARRIVED TO THE
       8      KARAOKE BAR THAT NIGHT?
       9            A. I DON'T REMEMBER AND MY HABIT IS
      10      ALREADY -- I'M USING THE ELEVATOR OR IF
      11      I DON'T, I ALWAYS GRAB THE HANDRAIL.
      12            Q. OKAY.         I THINK EARLIER THAT YOU
      13      TESTIFIED THAT YOU ALWAYS, EXCLUSIVELY,
      14      USE THE ELEVATOR?
      15            A. YES, BUT IF ELEVATOR ISN'T
      16      AVAILABLE -- I ALWAYS USING IT(SIC).
      17            Q. IN THAT FACILITY OR JUST
      18      GENERALLY SPEAKING?
      19            A. GENERALLY SPEAKING.
      20            Q. BUT YOU DO NOT REMEMBER THAT
      21      EVENING WHEN YOU ARRIVED WHAT YOU DID
      22      AND HOW YOU GOT UP TO THE SECOND FLOOR?
      23            A. I DON'T REMEMBER.                 NOT BECAUSE I
      24      WAS DRUNK, I DON'T REMEMBER.
      25            Q. THAT WAS MY NEXT QUESTION.                      SO
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                                                                          Page 72
       1                                E. SHIN
       2      YOU WERE STARTING TO FEEL DRUNK; IS
       3      THAT RIGHT?
       4            A. YES.
       5            Q. AND YOU WENT INTO THE SECOND
       6      ROOM WHERE YOU MET UP WITH CHUNG LEE?
       7            A. YES.
       8            Q. AND YOU GUYS HAD MORE DRINKS?
       9                      MS. BERKOWITZ:             WAIT A
      10            SECOND.        THE SECOND ROOM WAS
      11            YOUNG LEE.          FIRST ROOM IS CHUNG
      12            LEE.
      13                      MR. LEVINSON:            FIRST ROOM IS
      14            "ROOM TWO," SECOND ROOM IS "ROOM
      15            ONE."
      16                      MS. NICOLAOU:            I'M GOING TO
      17            USE ROOM TWO AND ROOM ONE.
      18            Q. WHEN YOU FIRST ENTERED THE
      19      KARAOKE BAR AND YOU WENT INTO ROOM TWO
      20      WHERE YOUR FRIEND CHUNG LEE WAS?
      21            A. YES.
      22            Q. AND WE JUST LEARNED HE WAS YOUR
      23      FRIEND FROM CHILDHOOD?
      24            A. YES.
      25            Q. PROTECTED YOU AGAINST BULLIES?
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                                                                          Page 73
       1                                E. SHIN
       2            A. YES.
       3            Q. GOOD FRIEND.             KEEP HIM CLOSE.
       4            A. NOT GOOD FRIEND.                HE'S A GOOD
       5      BUSINESSMAN.
       6            Q. AND YOU WERE THERE AND YOU HAD
       7      -- THERE WAS ALREADY ALCOHOL THERE.
       8      AND I GUESS MY QUESTION TO YOU IS,
       9      MR. SHIN, DO YOU REMEMBER HOW MUCH
      10      SCOTCH WAS LEFT IN THAT BOTTLE WHEN YOU
      11      FIRST ARRIVED TO ROOM TWO?
      12            A. I DO NOT REMEMBER.
      13            Q. WAS IT FULL, HALF EMPTY, CAN YOU
      14      APPROXIMATE IN ANY WAY?
      15            A. I DO NOT REMEMBER.
      16            Q. OKAY.         BUT YOU REMEMBER THAT
      17      ANOTHER BOTTLE WAS BROUGHT?
      18            A. YES, CONSTANT.
      19            Q. SO YOU AND CHUNG LEE FINISHED
      20      THE FIRST BOTTLE AND THEN ANOTHER
      21      BOTTLE WAS BROUGHT?
      22            A. MAYBE HE FINISHED THE FIRST
      23      BOTTLE, MAYBE I FINISH THE SECOND
      24      BOTTLE, I'M NOT SURE.
      25            Q. OKAY.         CAN YOU ESTIMATE FOR ME,
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                                                                          Page 74
       1                                E. SHIN
       2      MR. SHIN, HOW MUCH ALCOHOL YOU
       3      CONSUMED -- WHETHER IT'S -- HOW MANY
       4      BOTTLES OF SCOTCH YOU CONSUMED?                       DID
       5      YOU CONSUME A WHOLE BOTTLE?                     HALF A
       6      BOTTLE?
       7                      MR. BASIL:          IN WHICH ROOM?
       8                      MS. NICOLAOU:            WE'RE TALKING
       9            ABOUT ROOM ONE -- ROOM TWO.                     I'M
      10            SORRY.
      11                      MR. LEVINSON:            THE FIRST
      12            ROOM HE ENTERED.
      13            A. MORE THAN A HALF A BOTTLE.
      14            Q. HOW BIG WAS THAT BOTTLE?
      15            A. 75 MILLIMETERS.
      16            Q. WHO PAID FOR THAT ALCOHOL IN
      17      THAT ROOM, ROOM TWO?
      18            A. ON THAT NIGHT, I DO NOT
      19      REMEMBER.
      20            Q. OKAY.         AND THEN YOU LEFT, YOU
      21      BUMPED INTO YOUR FRIEND, DANIEL PARK?
      22            A. RIGHT.
      23            Q. AND YOU WENT TO VISIT HIM?
      24            A. RIGHT.
      25            Q. AND CHUNG LEE STAYED IN HIS
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                                                                          Page 75
       1                                E. SHIN
       2      ROOM?
       3            A. YES.
       4            Q. SO HE DIDN'T COME INTO ROOM ONE?
       5            A. NO.
       6            Q. AND IN THAT ROOM, YOU DRANK SOME
       7      MORE?
       8            A. RIGHT.
       9            Q. WAS IT STRAIGHT SCOTCH OR SCOTCH
      10      AND BEER, AS WELL?
      11            A. I THINK A MIX.               I DON'T REMEMBER
      12      EXACTLY BUT I THINK A MIX.
      13            Q. DO YOU REMEMBER WHO PAID FOR
      14      THAT ALCOHOL?
      15            A. I DO NOT REMEMBER BUT I THINK I
      16      MAY PAY SOME TOO BECAUSE I DID NOT HAVE
      17      MONEY IN MY WALLET.
      18            Q. YOU DIDN'T HAVE MONEY IN YOUR
      19      WALLET?
      20            A. RIGHT.
      21            Q. DO YOU BELIEVE YOU PAID SOME
      22      CASH?
      23            A. YES, I ALWAYS BRING -- I ALWAYS
      24      HAVE A MINIMUM OF $1,000.
      25            Q. OKAY.         WHEN YOU NORMALLY GO OUT
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                                                                          Page 76
       1                                E. SHIN
       2      TO DRINK WITH YOUR FRIENDS, DO YOU USE
       3      YOUR CARD OR CASH?
       4            A. CARD AND CASH, COMBINATION.
       5            Q. THAT NIGHT, DO YOU REMEMBER HOW
       6      MUCH WAS IN YOUR WALLET?
       7            A. I DON'T REMEMBER EXACT BUT I'M
       8      PRETTY SURE, MINIMUM OF THOUSAND
       9      DOLLARS.
      10            Q. YOU HAD A MINIMUM OF $1,000,
      11      RIGHT.       AND IT WAS GONE BY THE TIME --
      12            A. YES.
      13            Q. AND BECAUSE OF THAT, YOU PAID
      14      FOR THE DRINKS?
      15            A. YES.
      16                      MR. BASIL:          HE WAS GONE BY
      17            THE TIME HE HAD HIS ACCIDENT,
      18            RIGHT?
      19            Q. BY THE TIME YOU HAD YOUR
      20      ACCIDENT, CORRECT?
      21            A. RIGHT.
      22            Q. AND BECAUSE OF THAT, YOU BELIEVE
      23      YOU PAID FOR THE DRINKS?
      24            A. YES.
      25            Q. AND THAT'S THE DRINKS IN ROOM
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                                                                          Page 77
       1                                E. SHIN
       2      ONE, RIGHT?
       3            A. I THINK SO.
       4            Q. HOW MANY ROOMS ARE IN THIS
       5      KARAOKE BAR?
       6            A. I DO NOT KNOW.
       7            Q. OKAY.         AND IS IT ONLY FOR
       8      UPSTAIRS?
       9            A. I DO NOT KNOW.
      10            Q. SO YOU DON'T KNOW IF IT OCCUPIES
      11      MORE THAN ONE FLOOR?
      12            A. I DON'T THINK THEY OCCUPY MORE
      13      THAN THAT FLOOR.
      14            Q. OKAY.         AND HOW WOULD YOU
      15      DESCRIBE THE LIGHTING WHEN YOU FIRST
      16      ENTERED THE KARAOKE BAR?
      17            A. PRETTY DARK.
      18            Q. OKAY.         WERE YOU -- ARE YOU ABLE
      19      TO SEE YOUR HANDS IN FRONT OF YOU?
      20            A. I DON'T REMEMBER, BUT I THINK
      21      SO.
      22            Q. OKAY.         DID YOU EVER HAVE ANY
      23      PROBLEMS SEEING WHERE YOU WERE GOING
      24      WHEN YOU WENT TO THE KARAOKE BAR?
      25            A. I DON'T REMEMBER.
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                                                                          Page 78
       1                                E. SHIN
       2            Q. YOU DON'T REMEMBER SEEING WHERE
       3      YOU WERE GOING?             WHAT ABOUT THE PRIOR
       4      TIMES YOU USED THAT FACILITY THAT YOU
       5      WENT TO THAT PARTICULAR NIGHT?
       6            A. I DON'T THINK ABOUT IT AND I
       7      DON'T REMEMBER.
       8            Q. IF IT WAS DARK ENOUGH WHERE YOU
       9      COULDN'T SEE IN FRONT OF YOU, WOULD
      10      THAT BE SOMETHING YOU REMEMBER?
      11            A. I DON'T REMEMBER AND I DO NOT
      12      KNOW.
      13            Q. DID YOU EVER HAVE ANY DIFFICULTY
      14      NAVIGATING THE KARAOKE BAR?                     WHETHER
      15      GOING IN ONE ROOM TO ANOTHER, GOING IN
      16      THE ELEVATOR, OUT OF THE ELEVATOR, DID
      17      YOU EVER HAVE ANY DIFFICULTY, IN ANY OF
      18      YOUR VISITS TO THE KARAOKE BAR,
      19      NAVIGATING?
      20            A. I DON'T THINK I HAD A PROBLEM
      21      FOR THAT BUT I DON'T REMEMBER EXACTLY.
      22            Q. IN THE PRIOR VISITS TO THE
      23      KARAOKE BAR, WOULD YOU GET DRUNK?
      24            A. YOU MEAN, FROM THE RESTAURANT?
      25            Q. WELL, YOU WERE DRUNK THAT NIGHT;
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                                                                          Page 79
       1                                E. SHIN
       2      IS THAT RIGHT?
       3            A. RIGHT.
       4            Q. AND YOU INDICATED THAT YOU HAVE
       5      GONE TO THE KARAOKE BAR AT LEAST 10
       6      TIMES OVER A COURSE OF FIVE OR
       7      SIX YEARS?
       8            A. YES.
       9            Q. AND IN THE 10 VISITS TO THE
      10      KARAOKE BAR, DID YOU GET DRUNK EACH AND
      11      EVERY TIME?
      12            A. I THINK SO.
      13            Q. AND IN THE 10 VISITS THAT YOU
      14      WENT TO THE KARAOKE BAR WHERE YOU GOT
      15      DRUNK, DID YOU EVER FALL AND GET HURT?
      16            A. NO.
      17            Q. DID YOU EVER HAVE ANY DIFFICULTY
      18      ENTERING AND EXITING THE KARAOKE BAR?
      19            A. NO.
      20            Q. OKAY.         ON AN AVERAGE MONTH,
      21      MR. SHIN, BACK IN 2017, ON AN AVERAGE
      22      MONTH -- IN AN AVERAGE MONTH, HOW OFTEN
      23      WOULD YOU DRINK TO THE POINT YOU BECAME
      24      INTOXICATED?
      25            A. 2017.
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                                                                          Page 80
       1                                E. SHIN
       2            Q. ON AN AVERAGE MONTH, BACK IN
       3      2017?
       4            A. NOT MUCH.
       5            Q. WHEN YOU WENT OUT FOR A BUSINESS
       6      MEETING AT NIGHT, TO DINNER WITH YOUR
       7      FRIENDS, WOULD YOU DRINK TO THE POINT
       8      OF GETTING DRUNK?
       9            A. OCCASIONALLY BUT I TRY NOT TO
      10      DRINK MUCH SINCE 2013.
      11                      MS. NICOLAOU:            I'M SORRY,
      12            CAN YOU READ BACK THAT ANSWER?
      13                      (WHEREUPON, THE RECORD WAS
      14            READ BY THE REPORTER.)
      15            Q. WHAT HAPPENED IN 2013?
      16            A. I LIKE CONCENTRATION WHILE
      17      WORKING AND I ALWAYS WORK AT THE OFFICE
      18      SO I TRY NOT TO DRINK.
      19                      MR. BASIL:          CAN YOU READ
      20            BACK THAT WHOLE ANSWER?
      21                      (WHEREUPON, THE RECORD WAS
      22            READ BY THE REPORTER.)
      23            Q. DID YOU EVER REPORT TO YOUR
      24      DOCTORS, WHETHER IT'S AT -- THE ONES
      25      WHO ARE TREATING YOU FOR THIS INCIDENT,
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                                                                          Page 81
       1                                E. SHIN
       2      WHETHER IT'S A PHYSICAL THERAPY
       3      FACILITY OR EMERGENCY ROOM THAT WHEN
       4      YOU DRINK, YOU TEND TO DRINK HEAVILY.
       5                 DID YOU EVER SAY THAT TO YOUR
       6      DOCTORS OR NURSES WHO TREATED YOU?
       7            A. I DON'T REMEMBER BUT LIKE YOU
       8      JUST MENTIONED, IF I DRINK, I DRINK
       9      HEAVILY.
      10            Q. OKAY.         SO EITHER YOU DRINK OR
      11      DON'T DRINK AND IF YOU DRINK, YOU DRINK
      12      HEAVILY?
      13            A. RIGHT.
      14            Q. HOW OFTEN DID YOU DRINK -- WE'LL
      15      SAY BACK IN 2017, BEFORE YOUR ACCIDENT?
      16            A. ALMOST -- I HAVEN'T DRANK ON
      17      THAT YEAR, NOT MUCH.
      18            Q. HOW ABOUT 2017, BETWEEN --
      19      EXCUSE ME.          HOW OFTEN WOULD YOU DRINK?
      20            A. MAYBE SIX, SEVEN TIMES.
      21            Q. WHERE YOU DRANK TO THE POINT --
      22            A. ALL YEAR.
      23            Q. YOUR DRINK OF CHOICE IS WHAT?
      24      DID YOU HAVE A TYPICAL DRINK?
      25            A. SOJU, S-O-J-U, TYPICAL KOREAN
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                                                                          Page 82
       1                                E. SHIN
       2      BOTTLE OF VODKA.             IT'S 25-DEGREE
       3      ALCOHOL MIXED WITH THE BEER.                     THAT'S MY
       4      FAVORITE DRINK.
       5            Q. 25 PERCENT ALCOHOL OR IS IT
       6      DEGREE?
       7            A. I DON'T KNOW IF IT'S DEGREE OR
       8      PERCENT BUT THEY PUT 25 PERCENT.
       9            Q. OKAY.         MIXED WITH BEER?
      10            A. YES.
      11            Q. AND WHAT KIND OF BEER DO YOU
      12      USUALLY HAVE?
      13            A. COORS LIGHT.
      14            Q. IS THAT YOUR BEER OF CHOICE,
      15      COORS LIGHT?
      16            A. I MEAN, KOREAN CULTURE; MOST
      17      PEOPLE USE COORS LIGHT TO MIX.
      18            Q. AND YOU MIX THE TWO TOGETHER?
      19            A. YES.
      20            Q. AND THE NIGHT OF YOUR ACCIDENT
      21      YOU HAD CONSUMED SCOTCH, RIGHT?                       SCOTCH
      22      WHISKY?
      23            A. YES.
      24            Q. IS THAT SOMETHING THAT YOU ALSO
      25      -- WHEN YOU GO TO DRINK, YOU DRINK?
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                                                                          Page 83
       1                                E. SHIN
       2            A. I LIKE SCOTCH, TOO.
       3            Q. AND YOU MIXED THAT WITH COORS
       4      LIGHT?
       5            A. COORS LIGHT OR JUST ON THE ROCKS
       6      WITH WATER.
       7            Q. DILUTED WITH WATER?
       8            A. YES.
       9            Q. THE NIGHT YOU WERE IN ROOM ONE
      10      WITH MR. LEE AND MR. PARK --
      11            A. RIGHT.
      12            Q. -- HOW DID YOU DRINK YOUR
      13      SCOTCH?
      14            A. MIX WITH BEER OR ICE WITH THE
      15      WATER.
      16            Q. DID YOU EAT ANYTHING WHILE YOU
      17      WERE IN ROOM ONE?
      18            A. MAYBE FRUIT.
      19                      MR. BASIL:          TAKE A QUICK
      20            BREAK.
      21                      (WHEREUPON, A RECESS WAS
      22            TAKEN AT THIS TIME.)
      23            Q. DO YOU HAVE ANOTHER RESIDENCE IN
      24      THE STATE OF NEW YORK?
      25            A. NO.
Case 1:17-cv-05183-RML Document 76-3 Filed 05/12/20 Page 85 of 219 PageID #: 477


                                                                          Page 84
       1                                E. SHIN
       2            Q. DO YOU GO HOME EVERY NIGHT TO
       3      YOUR ADDRESS IN PENNSYLVANIA?
       4            A. NO, I HAVE AN APARTMENT IN NEW
       5      JERSEY.
       6            Q. OKAY.         AND WHAT'S THE ADDRESS TO
       7      THE APARTMENT IN NEW JERSEY?
       8            A. I DON'T KNOW.              AT THE TIME OR
       9      RIGHT NOW?
      10            Q. AT THE TIME.
      11            A. AT THE TIME, YEAH, I NEVER
      12      REMEMBER THAT ADDRESS.
      13            Q. DO YOU STAY THERE DURING THE
      14      WEEK?
      15            A. YES, IN AND OUT.                "IN AND OUT"
      16      MEANS, GO TO MY HOME IN AMBLER,
      17      PENNSYLVANIA, OR STAY IN NEW JERSEY.
      18            Q. AND DO YOU HAVE AN APARTMENT
      19      THERE TODAY?
      20            A. YES.
      21            Q. AND WHAT'S THE ADDRESS OF THAT
      22      APARTMENT THERE TODAY?
      23            A. I DON'T REMEMBER.
      24                      MR. BASIL:          YOU CAN START
      25            WITH THE TOWN, IF YOU KNOW THE
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                                                                          Page 85
       1                                E. SHIN
       2            TOWN.
       3            A. PALISADE PARK ON GRAND AVENUE.
       4            Q. WHAT'S THE APARTMENT NUMBER?
       5            A. IT'S A TOWN HOUSE.
       6            Q. IS THIS OWNED BY THE BANK OR
       7      RENTED BY THE BANK?
       8            A. RENTED BY ME AND REIMBURSED BY
       9      THE BANK.
      10            Q. SO YOU EXPENSE IT BACK TO NOAH
      11      BANK?
      12            A. YES.        I REMEMBER, IT'S CALLED
      13      2050 FORT LEE -- THE APARTMENT.
      14            Q. THAT'S TODAY OR BACK THEN?
      15            A. BACK THEN.
      16            Q. THAT WAS IN?
      17            A. 2017.
      18            Q. TODAY IT'S PALISADE PARK, GRAND
      19      AVENUE?
      20            A. GRAND AVENUE.
      21            Q. YOU JUST DON'T KNOW THE ADDRESS?
      22            A. YEAH, I DON'T KNOW THE ADDRESS.
      23            Q. HOW LONG HAVE YOU BEEN USING
      24      THAT LOCATION?
      25            A. SINCE LAST YEAR, MAY.
Case 1:17-cv-05183-RML Document 76-3 Filed 05/12/20 Page 87 of 219 PageID #: 479


                                                                          Page 86
       1                                E. SHIN
       2             Q. AND HOW LONG IS THE LEASE FOR?
       3             A. ONE YEAR.
       4             Q. WERE YOU PLANNING ON STAYING AT
       5      THAT LOCATION OR FINDING A NEW ONE
       6      AFTER THE ONE YEAR?
       7             A. I LIKE MOVE OUT(SIC).
       8             Q. YOU'RE PROBABLY GOING TO MOVE
       9      OUT?
      10             A. YES.
      11             Q. DO YOU DO THAT EVERY YEAR?                       MOVE
      12      OUT, FIND A NEW PLACE?
      13             A. NO, I LIKE TO BUY A HOUSE AROUND
      14      NEW JERSEY BECAUSE MY TWO DAUGHTERS
      15      GONE(SIC).          THEY DON'T LIVE WITH ME
      16      ANYMORE.
      17             Q. SO YOU WANT TO MOVE TO JERSEY?
      18             A. YEAH, WITH MY WIFE.
      19                      MR. BASIL:          AND YOUR PUPPY.
      20                      MS. NICOLAOU:            I THINK I'M
      21             DONE WITH THE LIABILITY.
      22                      MS. BERKOWITZ:             OKAY.      DO
      23             YOU WANT TO MARK THE RECEIPT FOR
      24             THE ROOM -- THE CHUNG LEE ROOM?
      25                      DO YOU HAVE THE OTHER
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                                                                          Page 87
       1                                E. SHIN
       2            RECEIPT? IT WAS NEXT TO MY
       3            DISCOVERY RESPONSE.                I DON'T KNOW
       4            IF HE'S EVER SEEN THEM.                   WE CAN
       5            DO IT FOR MY WITNESS.
       6                      MS. NICOLAOU:            YEAH, LET'S
       7            MARK THIS.
       8                      (WHEREUPON, RECEIPT OF CHUNG
       9            LEE'S ROOM WAS MARKED AS
      10            DEFENDANT'S EXHIBIT B FOR
      11            IDENTIFICATION AS OF THIS DATE.)
      12                      (WHEREUPON, RECEIPT OF YOUNG
      13            LEE'S ROOM WAS MARKED AS
      14            DEFENDANT'S EXHIBIT C FOR
      15            IDENTIFICATION AS OF THIS DATE.)
      16                      (WHEREUPON, PHOTOGRAPHS WERE
      17            MARKED AS DEFENDANT'S EXHIBIT D-K
      18            FOR IDENTIFICATION AS OF THIS
      19            DATE.)
      20                      (WHEREUPON, A LUNCHEON RECESS
      21            WAS TAKEN FROM 12:30 P.M. TO 1:33
      22            P.M.)
      23            Q. GOOD AFTERNOON, MR. SHIN.
      24            A. HOW ARE YOU?
      25            Q. GOOD LUNCH?
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                                                                          Page 88
       1                                E. SHIN
       2            A. YES.
       3            Q. OKAY.         GOOD.      I'M GOING TO SHOW
       4      YOU WHAT HAS BEEN MARKED AS DEFENDANT'S
       5      EXHIBIT B AND C.
       6                 THERE'S NO QUESTION SO JUST LOOK
       7      AT IT AND TELL ME WHEN YOU'RE DONE.
       8            A. OKAY.
       9            Q. OKAY.         DO YOU RECOGNIZE WHAT'S
      10      DEPICTED IN DEFENDANT'S EXHIBIT B AND
      11      C?
      12            A. NO.
      13            Q. DO YOU KNOW WHAT THEY ARE?
      14            A. IT LOOKS LIKE A RECEIPT,
      15      INVOICE.
      16            Q. RECEIPTS.           OKAY.       DO YOU
      17      RECOGNIZE THEM TO BE INVOICES OR
      18      RECEIPTS FROM THE KARAOKE BAR THAT YOU
      19      VISITED ON THE DAY OF YOUR ACCIDENT?
      20            A. I DON'T KNOW BUT THIS IS AN
      21      INVOICE.
      22            Q. HAVE YOU SEEN THESE BEFORE
      23      TODAY?
      24            A. NO.
      25            Q. AND DO YOU RECOGNIZE WHETHER ANY
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                                                                          Page 89
       1                                E. SHIN
       2      OF THESE INVOICES REFLECT WHAT WAS
       3      PURCHASED IN A ROOM OR ROOM TWO, ON THE
       4      DATE OF THE ACCIDENT?
       5             A. YES.
       6             Q. CAN YOU IDENTIFY WHICH INVOICE
       7      BELONGS TO WHICH ROOM BY LOOKING AT IT,
       8      SIR?
       9             A. I THINK, THIS IS ROOM TWO.
      10             Q. EXHIBIT B.           AND JUST TO BE
      11      CLEAR, ROOM TWO IS THE ROOM YOU WENT
      12      INTO WITH YOUR FRIEND?
      13             A. YES.
      14                      MS. BERKOWITZ:             CHUNG LEE.
      15             Q. OKAY.        AND EXHIBIT C, DO YOU
      16      KNOW WHICH ROOM THAT IS?
      17             A. ROOM ONE.
      18                      MS. BERKOWITZ:             YOUNG LEE.
      19             Q. YOUNG LEE'S ROOM.                AND IT SAYS
      20      HERE THAT IT SAYS, "$15,000 IN CASH."
      21      DO YOU SEE THAT?
      22             A. YES.
      23             Q. AND I KNOW YOU TESTIFIED THAT
      24      YOU HAD A MINIMUM OF $1,000 IN YOUR
      25      WALLET?
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                                                                          Page 90
       1                                E. SHIN
       2            A. RIGHT.
       3            Q. DO YOU REMEMBER IF YOU HAD MORE
       4      THAN ONE THOUSAND IN YOUR WALLET?
       5            A. I DON'T REMEMBER.
       6            Q. IS IT POSSIBLE THAT YOU PAID THE
       7      FULL BILL FOR $15,000?
       8            A. I DON'T KNOW.
       9            Q. YOU DON'T KNOW ONE WAY OR THE
      10      OTHER?
      11            A. NO.
      12            Q. REALLY QUICK, DEFENDANT'S
      13      EXHIBIT C, DOES IT REFLECT HOW MUCH
      14      ALCOHOL AND FOOD THAT WAS PROVIDED IN
      15      ROOM ONE?
      16            A. YEAH, THIS IS (POINTING),
      17      JOHNNIE WALKER BLUE, TWO BOTTLES.
      18                      MS. BERKOWITZ:             THAT WAS FOR
      19            THE YOUNG LEE ROOM.
      20                      THE WITNESS:           YES.
      21            A. AND THIS IS A ROOM CHARGE; FRUIT
      22      (POINTING), THIS IS ALL FOOD.
      23            Q. DOES IT ACCURATELY REFLECT WHAT
      24      WAS PROVIDED TO ROOM ONE ON THE DAY OF
      25      THE ACCIDENT?
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                                                                          Page 91
       1                                E. SHIN
       2            A. THE BEER IS NOT INCLUDED HERE.
       3            Q. IT'S NOT MENTIONED?
       4            A. BEER IS LIKE A SERVICE, NO
       5      CHARGE.
       6            Q. A SERVICE.            SO THEY DON'T
       7      NORMALLY CHARGE YOU FOR THE BEER?
       8            A. RIGHT.
       9            Q. OTHER THAN THE BEER, EVERYTHING
      10      ELSE ACCURATELY REFLECTS --
      11            A. I DO NOT KNOW.
      12            Q. YOU DON'T REMEMBER?
      13            A. NO.
      14            Q. DO YOU REMEMBER THE TWO BOTTLES
      15      OF JOHNNY WALKER BLUE?
      16            A. YES.
      17            Q. OKAY.         THAT IS ACCURATE?
      18            A. I DON'T KNOW BECAUSE FIRST TIME
      19      I SEE, I DON'T REMEMBER.
      20            Q. YOU DON'T REMEMBER HOW MANY
      21      JOHNNIE WALKERS WAS SERVED FOR ROOM
      22      ONE, RIGHT?
      23            A. RIGHT.
      24            Q. I'M GOING TO SHOW YOU WHAT'S
      25      BEEN MARKED AS DEFENDANT'S EXHIBIT D,
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                                                                          Page 92
       1                                  E. SHIN
       2      E, AND I'LL GIVE YOU -- LET ME SEE WHAT
       3      I GAVE YOU.
       4            A. (HANDING.)
       5            Q. OKAY.         J.     TAKE A LOOK AT THAT.
       6      NO QUESTIONS.           JUST LET ME KNOW WHEN
       7      YOU'RE DONE.
       8            A. WHEN DID YOU TAKE THIS PICTURE?
       9            Q. THERE'S NO QUESTION, MR. SHIN.
      10      LET ME KNOW WHEN YOU'RE DONE.
      11            A. OKAY.
      12            Q. DOES EXHIBITS J, E, AND D
      13      ACCURATELY CAPTURE THE STAIRCASE THAT
      14      EXISTED ON THE DATE OF YOUR ACCIDENT
      15      THAT LED UP TO THE KARAOKE BAR?
      16            A. THIS CHANGED (POINTING), THERE
      17      IS NO THIS(SIC).
      18            Q. ARE YOU REFERRING TO EXHIBIT P?
      19            A. YES.
      20            Q. IS THIS HOW THE STAIRCASE LOOKED
      21      ON THE DATE OF YOUR ACCIDENT?
      22            A. NO.
      23            Q. SO THIS IS DIFFERENT?
      24            A. FIXED.
      25            Q. AND WHAT ARE YOU REFERRING TO AS
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                                                                          Page 93
       1                                E. SHIN
       2      IT CHANGED, JUST SO WE'RE CLEAR?
       3            A. (POINTING).
       4            Q. DON'T POINT.             JUST VERBALIZE, AS
       5      MUCH AS YOU CAN, SIR.
       6            A. THIS IS KIND OF A PLATFORM.
       7      THERE WAS NO PLATFORM AT THE TIME.
       8            Q. SO YOU'RE SAYING THE LANDING WAS
       9      INSTALLED AFTER THE ACCIDENT?
      10            A. RIGHT, AND CARPET LOOKS
      11      DIFFERENT.
      12            Q. THE CARPET DOESN'T LOOK THE
      13      SAME?
      14            A. RIGHT.
      15            Q. OTHER THAN THE LANDING AND THE
      16      CARPETING THAT DOESN'T LOOK THE SAME TO
      17      YOU, IS THERE ANYTHING ELSE THAT'S
      18      DIFFERENT ABOUT THIS STAIRCASE THAT'S
      19      SHOWN IN DEFENDANT'S J, E, AND D AS IT
      20      EXISTED ON THE DATE OF THE ACCIDENT?
      21            A. I DO NOT THINK SO.
      22            Q. SO IT WAS JUST THOSE TWO THINGS
      23      A LANDING AND CARPET?
      24            A. LANDING AND CARPET.
      25            Q. EVERYTHING ELSE LOOKS THE SAME?
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                                                                          Page 94
       1                                E. SHIN
       2            A. I DON'T REMEMBER EXACT.                    WHEN I
       3      SAY "I DON'T REMEMBER," I'M SAYING I
       4      DON'T REMEMBER EXACT IF THIS HANDRAIL
       5      WAS THERE.
       6            Q. I'M SORRY.            I DIDN'T UNDERSTAND
       7      AND I APOLOGIZE.
       8                 IS IT, YOU DON'T REMEMBER HOW
       9      THE STAIRCASE LOOKED LIKE ON THE DAY OF
      10      THE ACCIDENT?
      11            A. I DO REMEMBER IT'S VERY STEEP.
      12      IT'S NOT LIKE THIS.               THAT'S WHAT I
      13      REMEMBER.
      14            Q. SO IT DIDN'T LOOK LIKE WHAT'S
      15      SHOWN IN DEFENDANT'S E, D, AND, J; IS
      16      THAT RIGHT?
      17            A. YES.
      18            Q. DO YOU REMEMBER WHETHER OR NOT
      19      THERE WAS A LANDING?
      20            A. THERE WAS NO LANDING, THAT'S FOR
      21      SURE.
      22            Q. DO YOU REMEMBER THE WALLS BEING
      23      THE WAY THEY ARE WITH THE PANELLING ON
      24      THE SIDE?
      25            A. I DON'T REMEMBER.
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                                                                          Page 95
       1                                E. SHIN
       2            Q. DO YOU REMEMBER A HANDRAIL?
       3            A. NO, I DO NOT REMEMBER A HANDRAIL
       4      THERE.
       5            Q. YOU DON'T REMEMBER, ONE WAY OR
       6      ANOTHER, IF THERE WAS A HANDRAIL?
       7            A. HANDRAIL, I DON'T REMEMBER.
       8            Q. OKAY.
       9                      MS. NICOLAOU:            I KNOW YOU
      10            SAID YOU HAD THE PICTURES OF HIM
      11            ON THE -- CAN I SEE THAT?
      12                      MS. BERKOWITZ:             YEAH, OF
      13            COURSE.
      14            A. CARPET IS DIFFERENT.
      15                      MS. NICOLAOU:            CAN WE MARK
      16            THIS, PLEASE?
      17                      (WHEREUPON, PHOTOGRAPH WAS
      18            MARKED AS DEFENDANT'S EXHIBIT L FOR
      19            IDENTIFICATION AS OF THIS DATE.)
      20            Q. MR.        SHIN, I'M GOING TO YOU SHOW
      21      YOU WHAT'S BEEN MARKED AS DEFENDANT'S
      22      EXHIBIT L.
      23                 THERE'S NO QUESTION, TAKE A LOOK
      24      AT IT.       LET ME KNOW WHEN YOU'RE DONE.
      25            A. OKAY.
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                                                                          Page 96
       1                                E. SHIN
       2            Q. THAT'S YOU, SIR, RIGHT?
       3            A. YES.
       4            Q. HAVE YOU SEEN THIS PHOTOGRAPH
       5      BEFORE TODAY?
       6            A. YES.
       7            Q. THAT'S YOU, SIR, WHICH APPEARS
       8      TO HAVE AN INJURY TO YOUR FACE AND
       9      YOU'RE SITTING UP AGAINST THE WALL?
      10            A. YES.
      11            Q. AND THAT'S YOUR FRIEND,
      12      MR. CHUNG LEE?
      13            A. YES.
      14            Q. WHO NOW OWNS THE BUILDING,
      15      RIGHT?
      16            A. YES.
      17            Q. I'M GOING TO SHOW YOU, PUT SIDE
      18      BY SIDE, DEFENDANT'S EXHIBIT E, DO YOU
      19      SEE THAT?
      20            A. YES.
      21            Q. DO YOU SEE IN THE BACKGROUND --
      22      JUST BEFORE YOUR HEAD, SIR, DO YOU SEE
      23      THE CARPETING ON THAT ONE?
      24            A. YES.
      25            Q. DO YOU SEE THE CARPETING ON THAT
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                                                                          Page 97
       1                                E. SHIN
       2      ONE?
       3             A. YES.
       4             Q. NOW, WE'RE GOING TO COMPARE IT
       5      TO THE CARPETING ON DEFENDANT'S EXHIBIT
       6      E, DOES IT LOOK SIMILAR?
       7             A. VERY SIMILAR.
       8             Q. AND THE WOOD PANELING WAS THERE,
       9      TOO, RIGHT?
      10             A. RIGHT.
      11             Q. SO WE CAN'T REALLY SEE UP THE
      12      STAIRCASE IN DEFENDANT'S EXHIBIT L,
      13      RIGHT?
      14             A. RIGHT.
      15             Q. ARE YOU AWARE OF ANY OF THE
      16      PHOTOGRAPHS THAT WERE TAKEN ON THE DAY
      17      OF THE ACCIDENT?
      18             A. NO.
      19             Q. ARE YOU AWARE OF WHETHER OR NOT
      20      ANY PHOTOGRAPHS OF YOU, OTHER THAN WHAT
      21      WAS SHOWN IN DEFENDANT'S EXHIBIT L,
      22      THAT WERE TAKEN ON THE DAY OF THE
      23      ACCIDENT?
      24             A. NO.
      25             Q. AND I'M NOT REFERRING TO
Case 1:17-cv-05183-RML Document 76-3 Filed 05/12/20 Page 99 of 219 PageID #: 491


                                                                          Page 98
       1                                E. SHIN
       2      PHOTOGRAPHS OF YOU ON THE GROUND,
       3      UNCONSCIOUS.           I'M REFERRING TO, AT ANY
       4      TIME WHILE YOU WERE AT THE KARAOKE BAR,
       5      DO YOU KNOW IF ANYBODY TOOK PHOTOGRAPHS
       6      OF YOU ON THE DAY OF THE ACCIDENT?
       7             A. NO, I DO NOT.
       8             Q. DID YOU TAKE PHOTOGRAPHS WITH
       9      YOUR PHONE ON THE DAY OF THE ACCIDENT?
      10             A. NO.
      11             Q. MR. SHIN, DO YOU KNOW WHO TOOK
      12      THIS PHOTOGRAPH -- AND WE'RE REFERRING
      13      TO EXHIBIT L?
      14             A. JOHN KIM.
      15             Q. JOHN KIM IS THE ONE WHO DIDN'T
      16      DRINK THAT NIGHT, TO YOUR KNOWLEDGE; IS
      17      THAT RIGHT?
      18             A. YES.
      19             Q. AND JUST TO BE CLEAR, HAVE YOU
      20      EVER GONE BACK TO THIS PROPERTY FOR ANY
      21      REASON AFTER YOUR ACCIDENT?
      22             A. THE RESTAURANT -- FIRST FLOOR,
      23      YES.
      24             Q. THERE'S A RESTAURANT ON THE
      25      FIRST FLOOR?
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                                                                          Page 99
        1                                E. SHIN
        2            A. YES, A COUPLE TIMES.
        3            Q. WHAT RESTAURANT IS ON THE FIRST
        4     FLOOR?
        5            A. PICNIC GARDEN.
        6            Q. DO YOU ACCESS THE RESTAURANT BY
        7     GOING IN WHERE THE STAIRCASE IS OR IS
        8     IT STOREFRONT OR A DOOR FROM THE
        9     SIDEWALK?
      10             A. STOREFRONT AND THE OWNER -- WHEN
      11      I GO THERE, HE CLEARLY MADE SOME
      12      RENOVATIONS THERE.
      13             Q. SO WHEN YOU ENTER PICNIC GARDEN,
      14      DO YOU GO IN FROM THE STREET OR DO YOU
      15      HAVE TO GO INSIDE THE BUILDING OF
      16      PICNIC GARDEN?
      17             A. BEFORE MY ACCIDENT THERE WAS
      18      SOME AREA AND AFTER MY ACCIDENT WHEN HE
      19      PURCHASED IT -- WHEN I VISIT EIGHT OR
      20      NINE MONTHS EARLIER OR ONE YEAR, HE
      21      CHANGED THE LOBBY AREA.
      22             Q. WHO'S "HE"?
      23             A. CHUNG LEE -- MR. LEE, THE OWNER
      24      OF THAT BUILDING.
      25             Q. YOUR FRIEND?
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                                                                         Page 100
        1                                E. SHIN
        2            A. AND HE ALSO OWNED PICNIC GARDEN.
        3            Q. SO HE'S THE OWNER, JUST TO BE
        4     CLEAR, BEFORE THE ACCIDENT, YOU WOULD
        5     PHYSICALLY HAVE TO ENTER THE BUILDING
        6     TO ENTER THE RESTAURANT OR CAN IT BE
        7     ACCESSED FROM THE SIDEWALK?
        8            A. BEFORE ACCIDENT, I THINK THEY
        9     HAVE AN ENTRANCE FROM THE STREET.
      10             Q. OKAY.        AND AFTER THE ACCIDENT
      11      THAT CHANGED?
      12             A. A LITTLE BUT SOMEHOW HE CHANGED
      13      IT.
      14             Q. SO YOU CAN'T ACCESS IT FROM THE
      15      STREET ANYMORE?
      16             A. I DO NOT KNOW.
      17             Q. WHEN WAS THE LAST TIME YOU ATE
      18      AT PICNIC GARDEN?
      19             A. ABOUT TWO MONTHS AGO, ONE MONTH
      20      AGO.
      21             Q. DID YOU MEET YOUR FRIEND MR. LEE
      22      FOR LUNCH OR DINNER?
      23             A. YES.
      24             Q. WHAT'D YOU HAVE, LUNCH OR
      25      DINNER?
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                                                                         Page 101
        1                                E. SHIN
        2            A. DINNER, WITH A BUNCH OF PEOPLE.
        3     ABOUT 10 PEOPLE.
        4            Q. WAS IT A BUSINESS?
        5            A. YES.
        6            Q. AND YOU DRANK?
        7            A. NO.
        8            Q. AND DID YOU TALK ABOUT THIS CASE
        9     WITH MR. LEE?
      10             A. I TOLD HIM THAT -- IF HE THINK
      11      THERE'S ANY VIOLATION, MR. BASIL GIVE
      12      RECOMMENDATION AND HE'S AWARE THAT I
      13      DON'T LIKE THIS STAIR VIOLATION.                        HE
      14      SAID, "I'LL FIX IT" AND I THINK HE
      15      FIXED IT.
      16             Q. SO TWO MONTHS AGO, YOU HAD
      17      DINNER AT THE PICNIC GARDEN WITH A
      18      GROUP OF PEOPLE, INCLUDING MR. LEE?
      19             A. RIGHT.
      20             Q. AND YOU DISCUSSED WITH MR. LEE
      21      TWO MONTHS AGO --
      22             A. NO, NOT TWO MONTHS AGO.                    TWO
      23      MONTHS AGO WE DISCUSS ABOUT THE OTHER
      24      BUSINESS.
      25             Q. OTHER BUSINESS.               YOU DIDN'T TALK
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                                                                         Page 102
        1                                E. SHIN
        2     ABOUT THIS CASE?
        3            A. NO.
        4            Q. WHEN DID YOU TALK ABOUT THIS
        5     CASE WITH MR. LEE?
        6            A. WHEN HE CAME TO VISIT ME AFTER
        7     ACCIDENT MAY, JUNE TO MY HOME.
        8            Q. AND WHAT DID YOU TWO DISCUSS?
        9     WHAT WAS THE SUM AND SUBSTANCE OF THE
      10      CONVERSATION WITH MR. LEE?
      11             A. IF THERE'S ANY VIOLATION OR CODE
      12      VIOLATION, YOU GOT TO FIX IT.                      I DON'T
      13      WANT THIS KIND OF THING TO HAPPEN TO
      14      ANYBODY.
      15             Q. SO YOU TOLD MR. LEE THAT YOU
      16      BELIEVED THAT THE STAIRCASE WAS A CODE
      17      VIOLATION AND THAT HE HAD TO FIX IT?
      18             A. NO, I DIDN'T FORCE HIM.                    HE SAID
      19      HE CHECKED AND I THINK HE FIXED IT.
      20             Q. DO YOU KNOW IF HE FIXED IT?
      21             A. HE TOLD ME.            I DIDN'T TAKE LOOK
      22      AT IT BECAUSE, AGAIN, I DON'T WANT TO
      23      GO THERE, I DON'T WANT TO SEE IT.
      24             Q. OKAY.        SO YOU DIDN'T GO THERE TO
      25      LOOK AT THE STAIRCASE?
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                                                                         Page 103
        1                                E. SHIN
        2            A. NO.
        3            Q. SO YOU TOLD HIM THAT YOU WERE
        4     TOLD BY YOUR ATTORNEY THAT THERE WAS A
        5     CODE VIOLATION, RIGHT?
        6            A. RIGHT.
        7            Q. AND YOU INSTRUCTED HIM THAT HE
        8     NEEDED TO FIX IT?
        9            A. WE DISCUSS ABOUT VERY DANGEROUS
      10      STAIR, WHETHER CODE VIOLATION OR NOT,
      11      IT DOESN'T MATTER.               I SAID, "IT LOOKS
      12      LIKE CODE VIOLATION AND YOU GOT TO FIX
      13      IT" AND HE'S AWARE.
      14             Q. HOW DID HE PAY FOR THE REPAIR OF
      15      THE STAIRCASE OR THE CODE VIOLATION?
      16             A. HE FIX IT WITH HIS OWN MONEY.
      17             Q. WITH HIS OWN MONEY.                 IS THAT
      18      MONEY THAT HE BORROWED FROM NOAH BANK?
      19             A. NO, THESE ARE VERY SUCCESSFUL
      20      BUSINESS MAN.
      21             Q. WHAT DOES HE DO?
      22             A. PICNIC GARDEN.
      23             Q. HE OWNS A RESTAURANT?
      24             A. YES.
      25             Q. HOW MANY RESTAURANTS DOES HE
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                                                                         Page 104
        1                                E. SHIN
        2     OWN?
        3            A. I THINK HE HAS TWO.
        4            Q. ONE IS AT THAT LOCATION, WHERE
        5     IS THE SECOND ONE?
        6            A. EDISON, NEW JERSEY, AND HE
        7     PURCHASED ANOTHER BUILDING.
        8            Q. WHERE?
        9            A. HE PURCHASED ANOTHER BUILDING IN
      10      BAYSIDE, NEW YORK, TOO.
      11             Q. DID NOAH BANK GIVE HIM THE
      12      FINANCE FOR THAT, TOO?
      13             A. HE PURCHASED WITH HIS OWN CASH
      14      AND WE ARE DOING THE FINANCING RIGHT
      15      NOW.
      16             Q. AND WHOEVER -- WHEN YOU SAY "WE
      17      ARE DOING THE FINANCING," ARE YOU
      18      REFERRING TO NOAH BANK?
      19             A. YES.
      20             Q. HOW LONG HAVE YOU KNOWN MR. LEE?
      21             A. SINCE I WAS 11 OR 12.
      22             Q. YOU WENT TO SCHOOL TOGETHER,
      23      RIGHT?
      24             A. YES, MIDDLE SCHOOL.
      25             Q. AND IT WAS HERE, IN NEW YORK?
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                                                                         Page 105
        1                                E. SHIN
        2            A. NO, IT WAS IN SOUTH KOREA.
        3            Q. AND YOU KEPT IN TOUCH UP UNTIL
        4     THE PRESENT TIME?
        5            A. NO, WE MET HERE IN 1996 OR 1997
        6     OR 1998.
        7            Q. WHEN DID YOU STOP SEEING MR.
        8     LEE, UNTIL YOU MET HIM IN 1996, 1998?
        9            A. I LEFT KOREA TO COME TO AMERICA
      10      IN 1981 SO WE SEPARATED -- NO, 1988,
      11      I'M SORRY.          I THINK HE WENT TO AMERICA
      12      AROUND 1984, 1985, AND AT THE TIME WE
      13      DON'T HAVE ANY INFORMATION SO THERE WAS
      14      NO WAY TO FIND EACH OTHER BUT WE FOUND
      15      EACH OTHER, SINCE 1997 OR 1998 OR
      16      SOMETHING.
      17             Q. AND YOU'VE BEEN FRIENDS EVER
      18      SINCE?
      19             A. YES, BUT WE DON'T MEET OFTEN
      20      BECAUSE HE'S DOING HIS BUSINESS, I'M
      21      DOING MY BUSINESS.
      22             Q. OTHER THAN THE FINANCING FOR
      23      THIS BUILDING BY NOAH BANK AND YOU'RE
      24      WORKING OUT FINANCING FOR THE SECOND
      25      ONE AS YOU SPEAK, RIGHT; IS THAT RIGHT?
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                                                                         Page 106
        1                                E. SHIN
        2            A. RIGHT.
        3            Q. ANY OTHER BUSINESS CONNECTIONS
        4     THAT YOU HAVE WITH MR. LEE, THAT YOU
        5     KNOW OF?
        6            A. HE'S USING MY BANK, BUSINESS
        7     CHECKING ACCOUNT, AND ALSO HE HAS THE
        8     EDISON RESTAURANT THAT, I THINK MY LOAN
        9     OFFICE GAVE HIM THE LOAN FOR THERE,
      10      TOO.
      11             Q. THIS IS ALSO CALLED PICNIC
      12      GARDEN?
      13             A. I THINK SO.
      14             Q. THE ONE IN EDISON?
      15             A. YEAH.        HE ALSO INVESTED THE
      16      MONEY TO THE BANK ALSO.                  HE'S A
      17      SHAREHOLDER, TOO.
      18             Q. HE'S A SHAREHOLDER OF THE BANK?
      19             A. YES.
      20             Q. HOW MANY SHARES DOES HE HAVE?
      21             A. CAN I ASK HIM A QUESTION?
      22             Q. NO, THERE'S AN OPEN QUESTION,
      23      YOU CANNOT --
      24                       MR. BASIL:         IF IT'S FOR
      25             PRIVILEGE OR FOR CONFIDENTIAL
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                                                                         Page 107
        1                                E. SHIN
        2            INFORMATION, HE CAN.
        3            A. BECAUSE IT'S A CPA ISSUE.
        4            Q. SO YOU CAN'T DISCLOSE HOW MANY
        5     SHARES --
        6            A. NO, I CAN.            IF MY ATTORNEY
        7     ALLOWS ME.
        8                      MS. NICOLAOU:           IT'S PUBLIC
        9            INFORMATION.
      10                       MR. BASIL:         NO, IT'S NOT A
      11             PUBLIC TRADE COMPANY.                 THAT'S WHY
      12             I HAVE TO FIND OUT AND I ACTUALLY
      13             HAVE TO CONFIRM WITH JERRY KIM IN
      14             THE OFFICE.          I DON'T KNOW IF I
      15             HAVE AN ANSWER TO KNOW WHETHER
      16             THIS IS CONFIDENTIAL OR NOT.
      17                       MS. NICOLAOU:           OVER MY
      18             OBJECTION; YOU GUYS COULD
      19             CONFIRM.
      20                       (WHEREUPON, A DISCUSSION WAS
      21             HELD OFF THE RECORD.)
      22                       MR. BASIL:         OKAY.       MR. SHIN
      23             CAN TESTIFY AS TO HOW MANY SHARES
      24             MR. LEE OWNS?
      25                       MS. NICOLAOU:           THANK YOU.
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                                                                         Page 108
        1                                E. SHIN
        2            A. ROUGHLY 100,000 SHARES.
        3                      MR. LEVINSON:           YOU SAID
        4            "100,000"?
        5                      THE WITNESS:           YES.
        6            Q. WOULD HE BE CONSIDERED A MAJOR
        7     SHAREHOLDER OF THE BANK?
        8            A. NO.
        9            Q. NOW, WHEN MR. LEE CAME TO YOUR
      10      HOUSE IN PENNSYLVANIA TO SEE HOW YOU
      11      WERE DOING AFTER YOUR ACCIDENT AND YOU
      12      DISCUSSED THE STAIRCASE, DID YOU, AT
      13      ANYTIME, COMMUNICATE TO YOUR ATTORNEY
      14      THAT YOU ASKED MR. LEE TO CHANGE THE
      15      STAIRCASE OR FIX IT?
      16                       MR. BASIL:         SORRY, DID HE
      17             COMMUNICATE TO ME?
      18                       MS. NICOLAOU:           YES.
      19                       MR. BASIL:         WELL, OBJECT;
      20             DON'T ANSWER.
      21                       MS. NICOLAOU:           OKAY.       I'LL
      22             RE-PHRASE IT.
      23             Q. AT THE TIME THAT MR. LEE CAME TO
      24      YOUR HOME TO ASK YOU AND TO SEE HOW
      25      YOU'RE DOING AND YOU MENTIONED TO HIM
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                                                                         Page 109
        1                                E. SHIN
        2     TO CHANGE THE STAIRCASE, HAD YOU AT
        3     THAT POINT CONSULTED WITH AN ATTORNEY
        4     ABOUT SUING?
        5                      MR. BASIL:         YOU CAN ANSWER.
        6            A. NO.
        7            Q. WERE YOU THINKING ABOUT SUING?
        8            A. NO.
        9            Q. WHEN WAS IT THAT YOU ASKED MR.
      10      LEE TO FIX THE STAIRCASE?                    I KNOW YOU
      11      SAID YOU WERE RECOVERING AT HOME, WHEN?
      12             A. JUNE, JULY.
      13             Q. JULY -- JUNE, JULY OF 2017?
      14             A. RIGHT.
      15             Q. AND WHEN DID YOU RETAIN COUNSEL
      16      FOR THIS CASE?
      17             A. I DON'T REMEMBER.
      18             Q. WAS IT ALSO IN THE SUMMER?
      19             A. I DON'T REMEMBER.
      20             Q. THIS ACTION WAS FILED IN 2017?
      21             A. OKAY.
      22             Q. OKAY.        DID YOU RETAIN COUNSEL IN
      23      2017?
      24             A. I THINK SO.
      25             Q. AND DO YOU RECALL WHILE YOU
Case 1:17-cv-05183-RML Document 76-3 Filed 05/12/20 Page 111 of 219 PageID #: 503


                                                                         Page 110
        1                                E. SHIN
        2     RETAIN -- WITHDRAW THAT.
        3                      MS. NICOLAOU:           DO YOU KNOW
        4            THE MONTH, DATE THAT THIS ACTION
        5            WAS FILED, BOB?
        6                      MR. BASIL:         I DON'T.         NOT
        7            OFF THE TOP OF MY HEAD.
        8                      MS. NICOLAOU:           OFF THE
        9            RECORD.
      10                       (WHEREUPON, A DISCUSSION WAS
      11             HELD OFF THE RECORD.)
      12             Q. MR. SHIN, WE'VE LOOKED AT THE
      13      COURT DOCUMENTS AND ACCORDING TO THE
      14      COURT DOCUMENTS, THE FIRST LAWSUIT
      15      WHICH IS THE ONE WE'RE HERE FOR TODAY,
      16      WAS FILED ON SEPTEMBER 1ST, 2017.
      17      THAT'S THE EARLIEST ONE.                   THERE'S A
      18      SECOND ONE FILED IN OCTOBER THAT WAS
      19      DISCONTINUED AND THIS ONE IN THE
      20      FEDERAL COURTHOUSE IS THE ONE THAT'S
      21      MOVING FORWARD.             KNOWING THAT THE FIRST
      22      ACTION WAS FILED ON SEPTEMBER 1ST,
      23      2017, CAN YOU TELL ME WHEN YOU STARTED
      24      LOOKING AND WHEN YOU STARTED
      25      CONSIDERING SUING THE DEFENDANTS IN
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                                                                         Page 111
        1                                E. SHIN
        2     THIS ACTION?
        3            A. I DON'T REMEMBER AN EXACT DATE.
        4     PROBABLY, SAME TIME, MAYBE JULY,
        5     AUGUST.
        6            Q. SO IN JULY, AUGUST OF 2017, YOU
        7     STARTED LOOKING INTO WHETHER OR NOT YOU
        8     SHOULD SUE?
        9            A. RIGHT, RIGHT.
      10             Q. IS THAT RIGHT?
      11             A. RIGHT.
      12             Q. AND AT THE SAME TIME YOU HAD A
      13      CONVERSATION WITH MR. LEE THAT THE
      14      STAIRCASE WASN'T SAFE?
      15             A. I DON'T REMEMBER.
      16             Q. HOW DID YOU KNOW THE STAIRCASE
      17      WASN'T UP TO CODE?
      18             A. IT LOOKS LIKE A PRETTY BIG
      19      PROBLEM THERE.
      20             Q. EARLIER YOU TESTIFIED THAT YOUR
      21      ATTORNEY HAD TOLD YOU THAT THIS
      22      STAIRCASE WASN'T UP TO CODE?
      23             A. RIGHT, I DON'T THINK.
      24             Q. LET ME FINISH MY QUESTION,
      25      MR. SHIN.
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                                                                         Page 112
        1                                E. SHIN
        2                 EARLIER YOU TESTIFIED THAT YOUR
        3     ATTORNEY TOLD YOU THAT YOUR STAIRCASE
        4     WASN'T UP TO CODE?
        5            A. RIGHT.
        6            Q. AND BECAUSE OF THAT YOU
        7     COMMUNICATED THAT TO MR. LEE --
        8            A. I DID, BUT I DON'T KNOW WHEN --
        9            Q. MR. SHIN, PLEASE LET ME FINISH.
      10      I DIDN'T ASK THE QUESTION.
      11             A. OKAY.
      12             Q. BASED ON WHAT YOU TESTIFIED
      13      EARLIER, THAT THE STAIRCASE WASN'T UP
      14      TO CODE AND YOU COMMUNICATED THAT
      15      INFORMATION TO MR. LEE, IS IT FAIR TO
      16      SAY THAT WHEN YOU LEARNED THAT THE
      17      STAIRCASE WASN'T UP TO CODE, WERE YOU
      18      CONSIDERING SUING AND YOU WERE
      19      CONSULTING COUNSEL?
      20             A. I DON'T KNOW ABOUT THAT.
      21             Q. SITTING HERE TODAY, IS THE ONLY
      22      REASON YOU BELIEVE THE STAIRCASE WAS,
      23      IN YOUR OPINION "FIXED," WAS BECAUSE
      24      MR. LEE TOLD YOU?
      25             A. YES.
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                                                                         Page 113
        1                                E. SHIN
        2            Q. YOU NEVER SAW IT?
        3            A. I NEVER SAW IT.
        4            Q. OKAY.
        5            A. THE PICTURE LOOKS FIXED.
        6            Q. I UNDERSTAND.             YOU BELIEVE THE
        7     LANDING DIDN'T EXIST AT THE TIME OF
        8     YOUR ACCIDENT?
        9            A. RIGHT.
      10             Q. AND THAT'S BASED ON YOUR
      11      RECOLLECTION OR YOU DON'T KNOW ONE WAY
      12      OR ANOTHER?
      13             A. JUST MY RECOLLECTION.
      14             Q. SO YOUR RECOLLECTION IS THAT THE
      15      STAIRCASE THAT YOU NEVER TOOK BEFORE
      16      THE DAY OF YOUR ACCIDENT, NEVER HAD A
      17      LANDING.
      18             A. NEVER HAD A PLATFORM.
      19             Q. NEVER HAD A PLATFORM OR A
      20      LANDING BEFORE YOU REACHED THE BOTTOM
      21      STEP?
      22             A. YES.
      23             Q. AND IS IT ALSO RIGHT THAT YOU
      24      TOOK THE ELEVATOR EACH AND EVERY TIME?
      25             A. YES.
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                                                                         Page 114
        1                                E. SHIN
        2            Q. NEVER TOOK THE STAIRCASE?
        3            A. I DON'T THINK SO.
        4                      MS. NICOLAOU:           DO YOU HAVE
        5            QUESTIONS?          I'M JUST GOING
        6            THROUGH MY NOTES.
        7                      MR. LEVINSON:           JUST A FEW.
        8    EXAMINATION
        9    BY MR. LEVINSON:
      10             Q. GOOD AFTERNOON, MR. SHIN.                     MY
      11      NAME IS MARK LEVINSON.                  I'M OF COUNSEL
      12      TO LONGO AND D'APICE, THE ATTORNEYS FOR
      13      YOUNG K. LEE.            I JUST HAVE A COUPLE OF
      14      FOLLOW-UP QUESTIONS.
      15                  NOW, WHEN YOU WENT INTO THE ROOM
      16      WHERE MR. YOUNG LEE WAS, WHICH WAS WHAT
      17      WE'RE CALLING "ROOM ONE," DID YOU SPEAK
      18      WITH HIM WHEN YOU WENT INTO THAT ROOM?
      19             A. YES.
      20             Q. WHAT WAS THE SUM AND SUBSTANCE
      21      OF YOUR CONVERSATION?
      22             A. I REMEMBER CONVERSATION -- WE
      23      EXCHANGED EACH OTHER'S NAME AND I
      24      PROBABLY GAVE HIM MY BUSINESS CARD AND
      25      WE TALK ABOUT FOLKS THAT HE MAY KNOW
Case 1:17-cv-05183-RML Document 76-3 Filed 05/12/20 Page 116 of 219 PageID #: 508


                                                                         Page 115
        1                                E. SHIN
        2     AND I REMEMBER THAT WE HAD A GOOD
        3     CONVERSATION AND TALKING WITH HIM AT
        4     THE BEGINNING.             AFTER DRINKING OVER AND
        5     OVER AND OVER, I DON'T REMEMBER WHAT
        6     DISCUSSION I HAD.
        7            Q. PERSONAL OR JUST PLEASURE
        8     ORIENTED?         WAS THERE ANY DISCUSSION OF
        9     POTENTIAL BUSINESS THAT THE TWO OF YOU
      10      MIGHT DO TOGETHER?
      11             A. NO BUSINESS THAT I REMEMBER BUT
      12      IT WAS A VERY FRIENDLY AND WARM
      13      GREETING TO EACH OTHER BECAUSE OF
      14      DANIEL PARK.           WE WERE INTRODUCED BY
      15      DANIEL PARK.
      16             Q. SO MR. LEE KNEW DANIEL PARK?
      17             A. I THINK SO.
      18             Q. DO YOU KNOW WHAT THEIR
      19      RELATIONSHIP WAS?
      20             A. I DON'T KNOW BUT PROBABLY
      21      CLIENTELE, MAYBE GOLF BUDDIES, I'M NOT
      22      SURE.
      23             Q. DID MR. LEE TELL YOU WHAT TYPE
      24      OF BUSINESS HE WAS IN?
      25             A. HE MAY BUT I DO NOT REMEMBER AND
Case 1:17-cv-05183-RML Document 76-3 Filed 05/12/20 Page 117 of 219 PageID #: 509


                                                                         Page 116
        1                                E. SHIN
        2     I FOUND OUT LATER, SOMEBODY TOLD ME
        3     WHAT HE DO(SIC).
        4            Q. OKAY.        WHAT DID HE TELL YOU?
        5            A. DELI.
        6            Q. HE HAS A DELI?
        7            A. AN ATM BUSINESS.               I DON'T
        8     REMEMBER AT THE TIME.
        9            Q. OKAY.        AT THE TIME YOU DIDN'T
      10      KNOW BUT THEN YOU FOUND OUT HE'S A DELI
      11      OWNER?
      12             A. HE MAY HAVE TOLD ME BUT I DON'T
      13      REMEMBER.
      14             Q. OTHER THAN EXCHANGING
      15      PLEASANTRIES, DO YOU KNOW ANYTHING ELSE
      16      ABOUT YOUR CONVERSATION WITH MR. LEE?
      17             A. I DO NOT.           I WANT TO KNOW WHY HE
      18      NEARLY KILLED ME, I WANT TO KNOW.
      19                       MR. LEVINSON:           MOVE TO
      20             STRIKE THE PORTION THAT'S NOT
      21             RESPONSIVE.
      22             Q. WHAT TIME WAS IT THAT YOU WENT
      23      INTO THIS ROOM WITH MR. LEE, WHICH WAS
      24      ROOM ONE?
      25             A. BEFORE 11, MAYBE RIGHT AFTER,
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                                                                         Page 117
        1                                E. SHIN
        2     10:00, 10:30.
        3            Q. AT WHAT TIME WAS IT THAT YOU
        4     RECALL HAVING THIS CONVERSATION WITH
        5     MR. LEE?         WAS IT AT 10:30 OR SOME OTHER
        6     TIME?
        7            A. AROUND 10:30, 11, BEFORE 11.
        8            Q. FOR WHAT LENGTH OF TIME DO YOU
        9     REMEMBER SPEAKING WITH HIM?                     WAS IT 10
      10      MINUTES?         15 MINUTES?          SOMETHING ELSE?
      11             A. PROBABLY 15 MINUTES.                  WE DRANK A
      12      LOT.
      13             Q. SO AFTER THOSE 15 MINUTES, YOU
      14      DON'T REMEMBER ANYTHING ELSE ABOUT ANY
      15      CONVERSATIONS WITH HIM, FROM THAT TIME
      16      UNTIL THE TIME YOU LEFT THE ROOM?
      17             A. I DON'T REMEMBER ANY
      18      CONVERSATION AFTER THOSE TIMES, I DON'T
      19      REMEMBER.
      20             Q. DO YOU REMEMBER ANYTHING AT ALL,
      21      FROM THAT TIME -- FROM THE 15 MINUTES
      22      AFTER YOU STOPPED REMEMBERING THAT
      23      CONVERSATION UNTIL THE TIME YOU LEFT
      24      THE ROOM, DO YOU REMEMBER ANYTHING, AT
      25      ALL, ABOUT THE TIME YOU LEFT THE ROOM?
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                                                                         Page 118
        1                                E. SHIN
        2            A. I DON'T REMEMBER BECAUSE
        3     PROBABLY AFTER 11, I DON'T REMEMBER ANY
        4     CONVERSATION, MAYBE 11, 11:30.
        5            Q. OKAY.        SO WHAT WAS THE NEXT
        6     THING YOU DO REMEMBER WHEN YOU WERE IN
        7     THAT ROOM AFTER THE CONVERSATION?
        8            A. I DON'T REMEMBER.
        9            Q. NOTHING, YOU REMEMBER NOTHING?
      10             A. YEAH, RIGHT NOW I WAKE UP ON
      11      SUNDAY AND SAY "WHY AM I HERE?"                        I WAKE
      12      UP ON SUNDAY IN THE HOSPITAL.
      13             Q. OKAY.        YOU DON'T REMEMBER
      14      ANYTHING FROM THE TIME THAT YOU
      15      FINISHED THE CONVERSATIONS TO THE POINT
      16      OF WHICH YOU STOPPED REMEMBERING ANY
      17      CONVERSATION WITH MR. LEE, WHICH WOULD
      18      BE APPROXIMATELY 10:45 UNTIL YOU WOKE
      19      UP IN THE HOSPITAL?
      20             A. YES.
      21                       MR. LEVINSON:           ALL RIGHT.          I
      22             HAVE NOTHING ELSE.
      23     EXAMINATION
      24     BY MS. BERKOWITZ:
      25             Q. WHEN YOU WERE IN THE ROOM WITH
Case 1:17-cv-05183-RML Document 76-3 Filed 05/12/20 Page 120 of 219 PageID #: 512


                                                                         Page 119
        1                                E. SHIN
        2     YOUNG LEE, DO YOU RECALL SEEING THE
        3     SERVER COME IN?
        4            A. YEAH, I THINK SO.
        5            Q. DO YOU HAVE A SPECIFIC
        6     RECOLLECTION OF THAT?
        7            A. CAUSE I THINK I ORDERED MORE
        8     ALCOHOL.
        9            Q. WHAT DID YOU ORDER?
      10             A. I DON'T REMEMBER, BUT I KNOW --
      11      I REMEMBER I ORDERED SOME MORE.
      12             Q. WHAT DID YOU ORDER?
      13             A. MAYBE ADDITIONAL SCOTCH WHISKY
      14      AND SOME BEER.             I REMEMBER SAYING,
      15      "NICE MEETING YOU AND I WANT TO TREAT
      16      YOU."
      17             Q. YOU SAID YOU WANTED TO TREAT
      18      HIM?
      19             A. YEAH.
      20             Q. WHAT DO YOU MEAN BY THAT?
      21             A. THAT I BUY MORE ALCOHOL FOR YOU
      22      TODAY(SIC).
      23             Q. OKAY.        DO YOU REMEMBER THE
      24      WAITER COMING IN AND BRINGING THE
      25      BOTTLE OF JOHNNIE WALKER BLUE?
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                                                                         Page 120
        1                                E. SHIN
        2            A. I DON'T REMEMBER.
        3            Q. DO YOU REMEMBER THE WAITER EVER
        4     SERVING YOUNG LEE ANY ALCOHOL?
        5            A. I DON'T REMEMBER BUT HE MAY.
        6            Q. I DON'T WANT YOU TO GUESS.                      JUST
        7     WHAT YOU REMEMBER.
        8            A. OKAY.        I DON'T REMEMBER.
        9            Q. AFTER THIS WHOLE ACCIDENT AND UP
      10      UNTIL TODAY, DID ANYONE EVER TELL YOU
      11      THAT YOUNG LEE WENT TO THE KARAOKE BAR,
      12      PRIOR TO THAT NIGHT?                LIKE, HE WAS A
      13      REGULAR THERE OR ANYTHING LIKE THAT?
      14             A. NO.
      15             Q. NOBODY EVER TOLD YOU THAT?
      16             A. NO.
      17             Q. DID ANYONE TELL YOU THAT YOUNG
      18      LEE HAD A REPUTATION OF BEING A DRUNK?
      19             A. NO.
      20             Q. WERE YOU A MEMBER OF THE KARAOKE
      21      BAR?
      22             A. NO.
      23             Q. CHUNG LEE WAS THE MEMBER AND YOU
      24      WERE THE GUEST?
      25             A. IT'S NOT A PRIVATE CLUB.
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                                                                         Page 121
        1                                E. SHIN
        2            Q. SO YOU DON'T HAVE TO BE A
        3     MEMBER?
        4            A. ANYBODY CAN GO, I BELIEVE.                      I
        5     BELIEVE.         OKAY.
        6            Q. ARE YOU AWARE OF ANYBODY ELSE,
        7     OTHER THAN YOURSELF, HAVING A SIMILAR
        8     INCIDENT TO WHAT HAPPENED TO YOU THAT
        9     NIGHT?
      10             A. NO, I DO NOT KNOW.
      11             Q. OKAY.
      12                       MS. BERKOWITZ:            I THINK
      13             WE'RE GOOD WITH LIABILITY.
      14             Q. SO IN RESPONSE TO COUNSEL'S
      15      QUESTION, YOU SAID THE NEXT THING YOU
      16      RECALL WAS WAKING UP ON SUNDAY?
      17             A. YES.
      18             Q. AND WHERE WERE YOU WHEN YOU WOKE
      19      UP?
      20             A. FLUSHING HOSPITAL -- FLUSHING
      21      PRESBYTERIAN HOSPITAL.
      22             Q. DO YOU KNOW HOW YOU GOT THERE?
      23             A. I DO NOT KNOW.
      24             Q. DID ANYONE EVER TELL YOU THAT
      25      THEY WENT WITH YOU IN AN AMBULANCE TO
Case 1:17-cv-05183-RML Document 76-3 Filed 05/12/20 Page 123 of 219 PageID #: 515


                                                                         Page 122
        1                                E. SHIN
        2     THE HOSPITAL?
        3            A. NO, I DO NOT KNOW.
        4            Q. WHEN YOU WOKE UP, WHAT DO YOU
        5     RECALL?
        6            A. A RED CUP, SOMETHING ON MY
        7     THROAT, AND I WANT TO TAKE A WAY AND
        8     THE DOCTOR CAME TO ME SAYING, "WHAT ARE
        9     YOU DOING?"           AND THEN I REALIZED THAT
      10      MY WIFE WAS THERE AND MY WIFE SAID,
      11      "YOU DON'T REMEMBER," AND I SAID "NO, I
      12      DON'T REMEMBER.             WHAT HAPPENED?
      13      ACCIDENT?"          SHE SAID "ACCIDENT."
      14             Q. AND DID YOU TALK TO ANY DOCTORS
      15      ABOUT ANYTHING THAT HAPPENED?
      16             A. YES.
      17             Q. WHAT DID THEY TELL YOU?
      18             A. THAT I HAVE SERIOUS INJURY(SIC).
      19             Q. TO WHAT PART OF YOUR BODY?
      20             A. HEAD INJURY AND ARM BROKE
      21      (INDICATING).
      22             Q. YOU'RE GOING LIKE THAT
      23      (INDICATING) WITH YOUR HAND.                      SAY IT IN
      24      WORDS.
      25             A. THEY HAD SOMETHING (INDICATING).
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                                                                         Page 123
        1                                E. SHIN
        2                      MS. NICOLAOU:           SPLINT?
        3                      THE WITNESS:           SPLINT.
        4            Q. ON WHAT PART OF YOUR BODY?                      SAY
        5     IT OUT LOUD.
        6            A. MY LEFT ARM AND I HAD SOME
        7     OXYGEN ONTO MY THROAT(SIC).
        8                      MS. NICOLAOU:           INTUBATED.
        9            Q. INTUBATED AND WHAT ELSE?
      10             A. SEVERAL DOCTORS CAME AND THEY
      11      EXPLAINED TO ME WHAT THEY ARE DOING AND
      12      THINGS.
      13             Q. AND WHAT DID THEY EXPLAIN TO YOU
      14      ABOUT YOUR LEFT ARM?                DID YOU HAVE
      15      SURGERY?
      16             A. YEAH, "YOU NEED SURGERY FOR THAT
      17      BUT THAT'S LATER."
      18             Q. DID YOU EVER HAVE THAT SURGERY?
      19             A. YES.
      20             Q. WHERE WAS THAT SURGERY?
      21             A. TEMPLE UNIVERSITY.
      22             Q. WHAT DATE WAS THAT?
      23             A. MAY -- I THINK MIDDLE OF MAY.
      24             Q. AND WHAT SURGERY DID THEY DO?
      25             A. THEY ASSEMBLE SOMETHING AND THEY
Case 1:17-cv-05183-RML Document 76-3 Filed 05/12/20 Page 125 of 219 PageID #: 517


                                                                         Page 124
        1                                E. SHIN
        2     PUT EIGHT -- INSIDE THEY PUT --
        3                      MR. BASIL:         PINS OR METAL?
        4            A. TO INSERT THIS (INDICATING).
        5            Q. SO YOU'RE INDICATING YOUR LEFT
        6     WRIST?
        7            A. YEAH.        AND I HAD AN OPERATION ON
        8     MY FACE (INDICATING)?
        9            Q. YOU'RE POINTING TO THE LEFT SIDE
      10      OF YOUR FACE?
      11             A. YEAH, TO THE LEFT SIDE OF MY
      12      FACE.
      13             Q. WAS THAT AT THE SAME TIME IN MAY
      14      OF 2017?
      15             A. NO, IT WAS APRIL 26TH OR 27TH.
      16             Q. SO THE SURGERY TO YOUR FACE WAS
      17      FIRST?
      18             A. YEAH -- NO, I HAD TO CURE MY
      19      HEAD INJURY FIRST AND THEN FACE
      20      OPERATION AND THEN MY ARMS OPERATION.
      21             Q. AND WHAT DID THEY DO FOR YOUR
      22      HEAD -- WHAT DID THEY DO FOR YOUR HEAD
      23      INJURY?        WAS THAT AT FLUSHING OR
      24      TEMPLE?
      25             A. FLUSHING, THEY DID SOME INITIAL
Case 1:17-cv-05183-RML Document 76-3 Filed 05/12/20 Page 126 of 219 PageID #: 518


                                                                         Page 125
        1                                E. SHIN
        2     -- AND TEMPLE, THEY DID SOMETHING.
        3            Q. WHAT DID THEY DO AT FLUSHING FOR
        4     YOUR HEAD?
        5            A. I DON'T KNOW.
        6            Q. AND WHAT DID THEY DO AT TEMPLE
        7     FOR YOUR HEAD?
        8            A. I DON'T KNOW THE EXACT MEDICAL
        9     TERM BUT WHEN I WAKE UP AGAIN ON
      10      TUESDAY OR WEDNESDAY MORNING I WAS IN
      11      THE INTENSIVE CARE UNIT WAITING FOR THE
      12      SURGERY.
      13             Q. HOW LONG WERE YOU IN FLUSHING
      14      FOR?
      15             A. FRIDAY NIGHT, SATURDAY, SUNDAY,
      16      AND MONDAY; OUT, AND WENT TO TEMPLE ON
      17      TUESDAY MORNING.
      18             Q. OKAY.        SO YOU WENT RIGHT FROM
      19      FLUSHING TO TEMPLE?
      20             A. YES.
      21             Q. ALL RIGHT.            NOW, WHEN YOU GOT TO
      22      TEMPLE, WHAT'S THE FIRST SURGERY THAT
      23      THEY DID THAT WAS FOR YOUR HEAD?
      24             A. I WAS IN THE EMERGENCY ROOM AND
      25      I DON'T THINK I GOT OPERATION, LUCKILY,
Case 1:17-cv-05183-RML Document 76-3 Filed 05/12/20 Page 127 of 219 PageID #: 519


                                                                         Page 126
        1                                E. SHIN
        2     BUT I WAS IN INTENSIVE CARE FOR MY
        3     BRAIN PRESSURE OR SOMETHING BECAUSE I
        4     HAD A SERIOUS INJURY TO MY SKULL HERE
        5     (INDICATING).
        6            Q. OKAY.        INDICATING THE LEFT SIDE
        7     OF YOUR HEAD?
        8            A. AND SERIOUS INJURY TO MY LEFT
        9     FACE (INDICATING), AND THEY PUT METAL
      10      HERE ALSO, ALL THE WAY UP TO HERE
      11      (INDICATING).
      12             Q. DID THEY EXPLAIN TO YOU WHAT
      13      THEY DID FOR YOUR HEAD FIRST AT TEMPLE?
      14             A. YES, THEY HAVE A CAT SCAN AND
      15      THEY PUT THE MEDICINE AND IF THE BLOOD
      16      DOESN'T STOP THEN THEY'RE GOING TO HAVE
      17      SOME BIG OPERATION.
      18             Q. DID THE BLEEDING STOP IN YOUR
      19      HEAD?
      20             A. BLEEDING STOPPED ON WEDNESDAY
      21      MORNING.         ON THAT MORNING I WENT TO --
      22      STRAIGHT FOR THE (POINTING).
      23             Q. THE FACE?
      24             A. THE FACE SURGERY.
      25             Q. WHAT DID THEY DO FOR YOUR FACE,
Case 1:17-cv-05183-RML Document 76-3 Filed 05/12/20 Page 128 of 219 PageID #: 520


                                                                         Page 127
        1                                E. SHIN
        2     THEY PUT METAL IN?
        3            A. METAL IN, I HAVE A SCAR HERE
        4     (INDICATING), I HAVE A SCAR HERE
        5     (INDICATING).
        6            Q. THE SCAR ON THE LEFT SIDE OF
        7     YOUR FACE OR THE CHEEK AREA --
        8            A. THE MOUTH.            IT'S CALLED
        9     CHEEKBONE OR SOMETHING.
      10             Q. CHEEKBONE?
      11             A. BROKEN.
      12             Q. AND THEN YOU SAID THEY WORKED ON
      13      YOUR LEFT WRIST?
      14             A. AND AT THE TIME THE DOCTOR CAME
      15      AND HE TAKE OUT THE CAST THAT FLUSHING
      16      DID AND HE GAVE ME A NEW CAST AND SAID,
      17      "THIS IS NOT LIFE THREATENING ON HERE."
      18             Q. ON YOUR LEFT WRIST?
      19             A. RIGHT.         AND AFTER THE THING(SIC)
      20      AND GET THROUGH THE REHAB CENTER, I
      21      WENT TO SEE HIM AND HE SAID, "YOU NEED
      22      OPERATION SOON, IT'S BETTER."
      23             Q. SO HOW LONG WERE YOU AT TEMPLE
      24      FOR, FOR YOUR HEAD AND YOUR FACE?
      25             A. I WAS ADMITTED ON TUESDAY AND
Case 1:17-cv-05183-RML Document 76-3 Filed 05/12/20 Page 129 of 219 PageID #: 521


                                                                         Page 128
        1                                E. SHIN
        2     DISCHARGED ON SATURDAY TO THE REHAB
        3     CENTER.
        4            Q. SO YOU WENT FROM TEMPLE TO THE
        5     REHAB CENTER?
        6            A. YES.
        7            Q. WHAT REHAB CENTER?
        8            A. EINSTEIN.
        9            Q. HOW LONG WERE YOU AT THE REHAB
      10      CENTER FOR?
      11             A. I THINK, NINE DAYS.
      12             Q. AND WHAT DID THEY DO FOR YOU?
      13             A. I RECEIVE PHYSICAL THERAPY
      14      THERE.
      15             Q. FOR WHAT PARTS OF YOUR BODY?
      16             A. EVERYTHING, BECAUSE I DON'T DO
      17      ANYTHING.
      18             Q. LIKE, FOR INSTANCE -- GIVE ME AN
      19      EXAMPLE.
      20             A. SPEECH THERAPY; THEY WANT TO
      21      CHECK MY HEAD INJURY BECAUSE I HAD
      22      BLEEDING OUT A LOT(SIC).
      23             Q. I THOUGHT YOU SAID THAT THE
      24      BLEEDING STOPPED?
      25             A. THE BLEEDING STOPPED BUT SHOWING
Case 1:17-cv-05183-RML Document 76-3 Filed 05/12/20 Page 130 of 219 PageID #: 522


                                                                         Page 129
        1                                E. SHIN
        2     A LOT SO THEY CHECK MY STATUS AND I
        3     MADE -- THE DOCTOR THERE WAS WORRIED
        4     ABOUT ME BECAUSE I COULDN'T FOLLOW-UP
        5     WHAT THEY DID FOR THE NUMBERS.                       LIKE,
        6     GET PAST THEIR TESTS.
        7            Q. THEY GAVE YOU SOME TESTS WITH
        8     NUMBERS?
        9            A. YES, AND PHYSICAL THERAPY.
      10             Q. FOR WHAT PART OF YOUR BODY?
      11      WHAT WAS THE PHYSICAL THERAPY FOR?
      12      WHAT WERE THEY DOING TO YOU?
      13             A. TESTED, BECAUSE I COULDN'T MOVE
      14      MY SHOULDER AND THINGS AND HERE
      15      (INDICATING), MY HEAD, THEY PUT
      16      SOMETHING.          I HAVE STITCHES.
      17                  THEY DID ALL KIND OF TESTS AND I
      18      COULDN'T EVEN STAND AT THE TIME SO
      19      PHYSICAL THERAPY WAS TO HELP ME STAND.
      20             Q. OKAY.
      21             A. AND I DIDN'T TAKE A SHOWER OR
      22      ANYTHING, AND STOOL WAS A PROBLEM SO
      23      THE DOCTOR SEEN ME AND THEY GAVE ME
      24      OCCUPATIONAL THERAPY.
      25             Q. AND WHAT WAS THAT FOR?                   WHAT DID
Case 1:17-cv-05183-RML Document 76-3 Filed 05/12/20 Page 131 of 219 PageID #: 523


                                                                         Page 130
        1                                E. SHIN
        2     THEY DO?
        3            A. THEY TEACH ME HOW TO SHOWER AND
        4     HOW TO EAT AND THOSE KINDS OF THINGS.
        5            Q. SO YOU WERE AT THE REHAB FOR
        6     NINE DAYS?
        7            A. NINE DAYS.            THEY SAID YOU
        8     NEED -- THEY DIDN'T WANT ME TO
        9     DISCHARGE(SIC) BUT I BASICALLY BEGGED
      10      THEM TO DISCHARGE ME.                 AND THE DOCTOR
      11      ALLOWED ME TO GO TO HOME AND I CAN GO
      12      TO DOCTOR'S OFFICE AND PHYSICAL THERAPY
      13      CENTER.
      14             Q. AFTER YOU LEFT THE REHAB AFTER
      15      NINE DAYS, YOU WENT BACK HOME?
      16             A. BACK HOME.
      17             Q. OKAY.        AND THEN, DID YOU GO BACK
      18      TO TEMPLE FOR THE LEFT WRIST SURGERY?
      19             A. YES, BECAUSE DOCTOR GAVE ME AN
      20      ORDER THAT I MUST SEE HIM AND ALSO I
      21      SAW DOCTOR FOR --
      22             Q. LET'S START WITH YOUR LEFT WRIST
      23      FIRST.
      24             A. OKAY.
      25             Q. SO YOU WENT BACK TO TEMPLE IN
Case 1:17-cv-05183-RML Document 76-3 Filed 05/12/20 Page 132 of 219 PageID #: 524


                                                                         Page 131
        1                                E. SHIN
        2     MAY FOR THE WRIST SURGERY?
        3            A. WRIST SURGERY.              AND ALSO I WENT
        4     TO DR. --
        5            Q. I JUST WANT TO KNOW ABOUT THE
        6     WRIST RIGHT NOW.
        7            A. I MET THE DOCTOR, HE TOLD ME,
        8     "YOU NEED SURGERY."
        9            Q. OKAY.        WHAT SURGERY DID HE DO?
      10             A. HE OPEN UP AND DO THAT
      11      (INDICATING), AND PUT THE CAST ON
      12      (INDICATING).
      13             Q. AND WHEN YOU LEFT TEMPLE AFTER
      14      THE SURGERY, WHAT DID YOU HAVE?                        DID
      15      YOU HAVE A CAST ON?
      16             A. CAST ON AND I COULDN'T GRAB IT
      17      LIKE THIS (INDICATING), AND THEY TESTED
      18      LESS THAN ONE POUND.
      19             Q. AND ARE YOU A RIGHTY OR A LEFTY?
      20             A. I'M RIGHTY AND ALSO I'M LEFTY,
      21      TOO.
      22             Q. YOU'RE BOTH?
      23             A. BOTH.
      24             Q. BEFORE THE ACCIDENT, WHAT DID
      25      YOU USE YOUR LEFT HAND FOR?
Case 1:17-cv-05183-RML Document 76-3 Filed 05/12/20 Page 133 of 219 PageID #: 525


                                                                         Page 132
        1                                E. SHIN
        2            A. LEFT HAND FOR -- I CAN WRITE AND
        3     I CAN USE BUT I TRY NOT TO USE THE LEFT
        4     HAND.
        5            Q. JUST BEFORE THE ACCIDENT, DID
        6     YOU WRITE WITH YOUR LEFT HAND, ARE YOU
        7     SAYING?
        8            A. YEAH, BECAUSE IN KOREAN CULTURE,
        9     THEY DON'T LIKE SOUTHPAW SO MY FATHER
      10      HIT ME WHEN I'M USING MY LEFT.                        SO I
      11      FORCED TO USE RIGHT HAND BUT I'M PRETTY
      12      GOOD AT USING MY LEFT HAND.                     THE
      13      BASEBALL I HIT LEFT(SIC).
      14             Q. BEFORE THIS ACCIDENT, DID YOU
      15      HAVE ANY INJURY TO YOUR LEFT WRIST OR
      16      LEFT HAND?
      17             A. NO, THIS IS MY FIRST TIME.
      18             Q. OKAY.        SO HOW LONG DID YOU WEAR
      19      THE CAST FOR, AROUND YOUR LEFT WRIST?
      20             A. TWO MONTHS AND I WENT TO
      21      EMERGENCY ROOM AGAIN.
      22             Q. AFTER THE CAST CAME OFF?
      23             A. (INDICATING) THIS WAS SWELLING.
      24                       MR. BASIL:         POINTING TO HIS
      25             LEFT ARM.
Case 1:17-cv-05183-RML Document 76-3 Filed 05/12/20 Page 134 of 219 PageID #: 526


                                                                         Page 133
        1                                E. SHIN
        2            Q. WHICH EMERGENCY ROOM?
        3            A. JUST IN A HOSPITAL.                 I WENT THE
        4     NEXT DAY AFTER SURGERY AND I GOT
        5     DISCHARGED HOME.              I PUT ICE ON IT BUT
        6     STILL, FEVER AND SWALLOWING.
        7            Q. SO AFTER YOU LEFT TEMPLE WITH
        8     THE LEFT WRIST SURGERY, YOU WENT TO THE
        9     EMERGENCY ROOM?
      10             A. NO, I WENT HOME.
      11             Q. YOU WENT HOME?
      12             A. YES.        AND THE NEXT MORNING I
      13      WENT TO EMERGENCY ROOM.
      14             Q. AND WHERE WAS THAT?
      15             A. CHESTNUT HILL HOSPITAL.
      16             Q. OKAY.
      17             A. THEY TOOK OUT THE CAST AND GAVE
      18      ME ALL KINDS OF MEDICINE TO COME
      19      DOWN(SIC).
      20             Q. THEY TOOK OFF THE CAST AND PUT
      21      ON A NEW ONE?
      22             A. NEW ONE.          NOT ONLY NEW ONE, AND
      23      THEY GAVE ME A GOOD MEDICINE, TOO.
      24             Q. WHAT MEDICINE?
      25             A. I DON'T KNOW.             IT COMING
Case 1:17-cv-05183-RML Document 76-3 Filed 05/12/20 Page 135 of 219 PageID #: 527


                                                                         Page 134
        1                                E. SHIN
        2     DOWN(SIC).
        3            Q. TOOK DOWN THE SWELLING?
        4            A. YES, AND FEVER.
        5            Q. ALL RIGHT.            SO AFTER YOU WENT TO
        6     THE EMERGENCY ROOM, WHEN WAS THE NEXT
        7     TIME THAT YOU HAD ANY MEDICAL
        8     TREATMENT?          YOU STARTED THERAPY YOU
        9     SAID?
      10             A. YES, THERAPY AND I HAVE A BUNCH
      11      OF FOLLOW-UP DOCTOR VISITATION.
      12             Q. A BUNCH OF WHAT?
      13             A. FOLLOW-UP DOCTOR VISITATION.
      14             Q. ALL RIGHT.            SO WHERE DID YOU GO
      15      FOR THE PHYSICAL THERAPY?
      16             A. PHYSICAL THERAPY ON MY LEFT ARM.
      17             Q. WHERE?
      18             A. ON THE CHESTNUT HILL -- SOME
      19      DOCTOR RECOMMENDED THAT SENT US SO I
      20      DID ABOUT 30 TIMES THERE(SIC).
      21             Q. OKAY.        AND YOU ALSO HAD
      22      FOLLOW-UP FOR YOUR HEAD?
      23             A. YES.
      24             Q. AND WHO DID YOU GO TO FOR TO
      25      FOLLOW-UP FOR YOUR HEAD?
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                                                                         Page 135
        1                                E. SHIN
        2            A. DR. VILLANUEVA.
        3                      MR. BASIL:
        4            V-I-L-L-A-N-U-E-V-A.
        5            Q. OKAY.        AND WHAT DID HE DO AT THE
        6     FOLLOW-UP VISITS FOR YOUR HEAD?
        7            A. HE GAVE ME MEDICATION.
        8            Q. WHAT MEDICATION?
        9            A. PREVENT SEIZURES AND PREVENT
      10      ALZHEIMER'S DISEASE AND ALSO HE DID A
      11      CHECK ON MY CAT SCAN AGAIN AND THINGS.
      12             Q. AND WHERE DID YOU GO TO GET YOUR
      13      PRESCRIPTIONS FILLED?                 WHEN YOU GOT A
      14      PRESCRIPTION, DO YOU GO TO A SPECIFIC
      15      PHARMACY?
      16             A. WALGREENS.
      17             Q. WALGREENS, WHERE?                NEAR YOUR
      18      HOUSE?
      19             A. YEAH, NEAR MY HOUSE.
      20             Q. WHAT'S THE ADDRESS?
      21             A. I DON'T KNOW.
      22             Q. ROAD, TOWN?
      23             A. BETHLEHEM PIKE.
      24             Q. OKAY.        DID YOU HAVE ANY
      25      FOLLOW-UP WITH ANY DOCTOR FOR YOUR
Case 1:17-cv-05183-RML Document 76-3 Filed 05/12/20 Page 137 of 219 PageID #: 529


                                                                         Page 136
        1                                E. SHIN
        2     CHEEK?
        3            A. YES.
        4            Q. AND WHO WAS THAT?
        5            A. SO MANY DOCTORS SAW ME SO I
        6     DON'T KNOW THE SPECIFIC DOCTOR BUT THAT
        7     HOSPITAL IS IN TEMPLE BUT THAT
        8     DEPARTMENT -- SO WHEN I GO THERE --
        9            Q. AT TEMPLE UNIVERSITY?
      10             A. YES.        ALL DIFFERENT DOCTORS TAKE
      11      A LOOK AT ME.
      12             Q. AND WHAT DID THEY DO FOR THE
      13      FOLLOW-UP FOR YOUR CHEEK?
      14             A. TEACH ME HOW TO TRAIN BECAUSE I
      15      HAVE DAMAGE HERE BECAUSE I CAN NOT FEEL
      16      THINGS ON HERE (INDICATING).
      17             Q. YOU'RE POINTING TO YOUR CHEEK?
      18             A. YEAH, HERE (INDICATING), HERE
      19      (INDICATING).
      20             Q. YOU HAVE TO SAY IT IN WORDS, YOU
      21      CAN'T SAY "HERE."               YOUR CHEEK AND WHAT
      22      ELSE?
      23             A. HERE (POINTING).
      24                       MR. BASIL:         HE'S POINTING
      25             ABOVE HIS LIP ON THE LEFT SIDE,
Case 1:17-cv-05183-RML Document 76-3 Filed 05/12/20 Page 138 of 219 PageID #: 530


                                                                         Page 137
        1                                E. SHIN
        2            UNDER HIS NOSE.
        3            A. AND HERE (POINTING).
        4                      MR. BASIL:         HE'S POINTING TO
        5            HIS LEFT TEMPLE.
        6            Q. AND YOU RECEIVED FOLLOW-UP
        7     TREATMENT AT TEMPLE UNIVERSITY FOR
        8     THAT?
        9            A. YES.
      10             Q. IN A SPECIAL DEPARTMENT?
      11             A. YES.
      12             Q. WHO SAID YOU HAD PERMANENT
      13      DAMAGE TO THAT?
      14             A. THE DOCTOR ON THIS DEPARTMENT.
      15      HE SAID "MAYBE, MAY NOT."
      16             Q. DID HE GIVE YOU A TIMELINE AS TO
      17      WHEN HE WOULD KNOW WHETHER OR NOT IT
      18      WAS PERMANENT?
      19             A. HE SAID, "YOU HAVE TO LIVE WITH
      20      IT."
      21             Q. WHAT'S THAT DOCTOR'S NAME?
      22             A. I DON'T REMEMBER THAT DOCTOR.
      23             Q. WHEN WAS THE LAST TIME YOU WERE
      24      AT THAT DOCTOR?
      25             A. SEPTEMBER.
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                                                                         Page 138
        1                                E. SHIN
        2            Q. OF WHAT YEAR?
        3            A. THREE DOCTORS SAW ME IN THAT
        4     DEPARTMENT.           EACH TIME, DIFFERENT
        5     DOCTOR.
        6            Q. RIGHT.         SO WHEN WAS THE LAST
        7     TIME YOU WERE AT THAT DEPARTMENT FOR
        8     YOUR CHEEK?
        9            A. NOVEMBER, NOVEMBER 2017.
      10             Q. NOVEMBER 2017?
      11             A. YES.
      12             Q. DO YOU HAVE ANY CURRENT
      13      APPOINTMENTS?
      14             A. I DO NOT.
      15             Q. WHAT WAS THE LAST DOCTOR THAT
      16      YOU'VE SEEN?
      17             A. I DON'T REMEMBER THE DOCTOR'S
      18      NAME.
      19             Q. WHAT WAS THE LAST SPECIALTY THAT
      20      YOU WENT TO, WAS THAT FOR YOUR FACE IN
      21      NOVEMBER OF 2017?
      22             A. FACE.        AND DR. VILLANUEVA WAS
      23      DECEMBER OF 2017 AND MY SHOULDER -- THE
      24      LAST NAME IS VERY LONG.                  WE CALL MR. A
      25      -- DR. A, AND HE REALLY TREATS ME
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                                                                         Page 139
        1                                E. SHIN
        2     PRETTY WELL AND GIVES ME GUIDANCE FOR
        3     MY SHOULDER.           AND THEN MY SHOULDER GOT
        4     PROBLEMS.
        5            Q. AND THAT'S AT TEMPLE UNIVERSITY,
        6     DR. ABDELAFTTAH, A-B-D-E-L-A-F-T-T-A-H?
        7            A. YES.
        8            Q. AND WHAT DID THIS DOCTOR TELL
        9     YOU ABOUT YOUR SHOULDER?
      10             A. "MAYBE YOU NEED SURGERY, MAYBE
      11      NOT," AND THEN MY PHYSICAL THERAPY
      12      CHIROPRACTOR DOCTOR ASK ME TO ASK MY
      13      DOCTOR TO TAKE MRI AND DR. A GOT AN
      14      "OKAY," FROM THE INSURANCE COMPANY AND
      15      TOOK AN MRI ON MY SHOULDER AND SAID,
      16      "LUCKILY YOU DO NOT NEED THE SURGERY
      17      BUT YOU HAVE PRETTY GOOD DAMAGE THAT
      18      YOU NEED TREATMENT."
      19             Q. WHEN WAS THE MRI?
      20             A. I DON'T REMEMBER EXACTLY.
      21             Q. WHERE WAS THE MRI?
      22             A. ON CHESTNUT HILL.
      23             Q. WAS THAT 2017?
      24             A. 2017 OR 2018, I THINK 2018.
      25             Q. AND DR. A SAID YOU DON'T NEED
Case 1:17-cv-05183-RML Document 76-3 Filed 05/12/20 Page 141 of 219 PageID #: 533


                                                                         Page 140
        1                                E. SHIN
        2     ANY SURGERY?
        3            A. "NO SURGERY, BUT I'M SURE YOU
        4     HAVE DAMAGE."
        5            Q. DID HE TELL YOU WHAT KIND OF
        6     DAMAGE?
        7            A. SOME TISSUE --
        8            Q. TISSUE?
        9            A. TISSUE -- I DON'T KNOW.                    THEY
      10      TALK VERY PROFESSIONAL WORD(SIC).
      11             Q. OKAY.
      12             A. AND MY CHIROPRACTIC DOCTOR WHO
      13      TREATED ME SAW THE MRI AND SAID HE
      14      WOULD TREAT MY SHOULDER.
      15             Q. WHEN WAS THE LAST TIME YOU WERE
      16      AT THE CHIROPRACTOR?
      17             A. WEDNESDAY.
      18             Q. SO YOU'RE STILL GOING TO THE
      19      CHIROPRACTOR?
      20             A. YES, AND ACUPUNCTURE.
      21             Q. THE CHIROPRACTOR, THAT'S KIM,
      22      THE CHIROPRACTOR?
      23             A. YES.
      24             Q. AND WHAT DO YOU GO THERE FOR?
      25      WHAT PARTS OF YOUR BODY?
Case 1:17-cv-05183-RML Document 76-3 Filed 05/12/20 Page 142 of 219 PageID #: 534


                                                                         Page 141
        1                                E. SHIN
        2            A. MY LEFT SHOULDER, MY LEFT ARM
        3     AND, GENERALLY, I HAVE A PROBLEM ON MY
        4     BACK HERE TO (INDICATING).
        5            Q. POINTING TO THE LEFT SIDE ON
        6     TOP.      AND WHAT DO YOU GO THERE FOR?
        7            A. YES.        AND HERE (INDICATING), AND
        8     HE SAID, "THIS IS ALL RELATED TO YOUR
        9     ACCIDENT," AND I KNOW THE WEATHER VERY
      10      WELL.
      11             Q. DO YOU STILL GO TO THE
      12      CHIROPRACTOR AND THE ACUPUNCTURIST?
      13             A. YES.
      14             Q. ARE THEY IN THE SAME BUILDING?
      15             A. SAME BUILDING.
      16             Q. BUT YOU GO DIFFERENT DAYS OR THE
      17      SAME DAY?
      18             A. GENERALLY, I GO MONDAY OR
      19      WEDNESDAY.          AT LEAST TWICE A WEEK.
      20             Q. TO THE CHIROPRACTOR AND
      21      ACUPUNCTURIST?
      22             A. YES.
      23             Q. BOTH ON SAME DAY OR DIFFERENT
      24      DAYS?
      25             A. SOMETIMES DIFFERENT DAY,
Case 1:17-cv-05183-RML Document 76-3 Filed 05/12/20 Page 143 of 219 PageID #: 535


                                                                         Page 142
        1                                E. SHIN
        2     SOMETIMES SAME DAY.
        3            Q. AND HOW OFTEN DO YOU GO?                     ONCE A
        4     WEEK TO THE CHIROPRACTOR OR TWICE A
        5     WEEK?
        6            A. MINIMUM, TWICE A WEEK.
        7            Q. AND WHAT ABOUT THE
        8     ACUPUNCTURIST?
        9            A. MINIMUM, ONCE A WEEK.
      10             Q. WHAT PARTS OF THE BODY DO THEY
      11      DO THE ACUPUNCTURE IN?
      12             A. GENERALLY, MY FACE AREA TOO AND
      13      SHOULDER AND NECK AREA.
      14             Q. BESIDES FROM WHAT YOU ALREADY
      15      TOLD ME, HAVE YOU RECEIVED ANY
      16      TREATMENT FROM ANYBODY ELSE THAT WE
      17      HAVEN'T DISCUSSED, SO FAR?                    ANYBODY
      18      THAT YOU MIGHT HAVE LEFT OUT?
      19             A. AN EYE DOCTOR CHECK SEVERAL
      20      TIMES(SIC).
      21             Q. FOR WHAT?
      22             A. BECAUSE OF THE INJURY THAT WAS
      23      UP TO HERE (INDICATING).
      24                       MR. BASIL:         POINTING TO HIS
      25             TEMPLE AGAIN.
Case 1:17-cv-05183-RML Document 76-3 Filed 05/12/20 Page 144 of 219 PageID #: 536


                                                                         Page 143
        1                                E. SHIN
        2            A. YEAH, TEMPLE -- EYE DOCTOR AND
        3     THEY SAID, "YOU'RE OKAY."
        4            Q. AND WHAT EYE DOCTOR WAS THAT?
        5            A. TEMPLE.
        6            Q. TEMPLE.          OKAY.
        7            A. I FORGOT HIS NAME.
        8            Q. SO IT'S THE EYE DEPARTMENT AT
        9     TEMPLE AND THEY SAID YOUR EYES ARE
      10      OKAY?
      11             A. THEY ALSO RECOMMENDED I CHECK
      12      WITH MY DENTIST SO AFTER IT SETTLED
      13      DOWN I WENT TO MY DENTIST, DR. LEE, AND
      14      HE CHECK IT AND FIXED A COUPLE OF
      15      THINGS THAT DIDN'T FUNCTION RIGHT.
      16             Q. WHAT DID HE FIX?
      17             A. SOME CORRECTION ON MY TEETH HERE
      18      (INDICATING).
      19             Q. ON THE LEFT SIDE?
      20             A. YES.
      21             Q. WHAT'S DR. LEE'S FIRST NAME?
      22             A. I-N-W, LEE, L-E-E.
      23             Q. INW.        IS THAT A HE OR A SHE?
      24             A. HE.
      25             Q. WHERE IS HE LOCATED?
Case 1:17-cv-05183-RML Document 76-3 Filed 05/12/20 Page 145 of 219 PageID #: 537


                                                                         Page 144
        1                                E. SHIN
        2            A. MANOTAK.
        3            Q. HOW MANY TIMES DID YOU GO TO
        4     DR. LEE TO FIX YOUR TEETH?
        5            A. SEVERAL TIMES, I WENT.
        6            Q. ANY OTHER HEALTH CARE PROVIDERS
        7     THAT YOU WENT TO THAT YOU HAVEN'T TOLD
        8     ME ABOUT SO FAR?
        9            A. MY FAMILY DOCTOR, DR. BARDIN,
      10      B-A-R-D-I-N.
      11             Q. WHAT DID YOU GO TO DR. BARDIN
      12      FOR?
      13             A. DR. BARDIN ARRANGED EVERYTHING
      14      ABOUT MY INJURY.              HE'S A TEMPLE DOCTOR.
      15             Q. HE'S A TEMPLE ALSO?
      16             A. YES.
      17             Q. IS THAT B OR P?
      18             A. B.
      19             Q. HOW MANY TIMES DID YOU GO TO DR.
      20      BARDIN?
      21             A. AFTER THE ACCIDENT, HE WANTED TO
      22      SEE ME AT LEAST ONCE A MONTH, BUT RIGHT
      23      NOW IT'S REGULARLY.
      24             Q. DID YOU GO TO ANY OTHER HEALTH
      25      CARE PROVIDERS THAT YOU HAVEN'T TOLD ME
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                                                                         Page 145
        1                                E. SHIN
        2     ABOUT YET?
        3            A. NO, I THINK THAT'S ALL.
        4            Q. OKAY.
        5                      MS. BERKOWITZ:            COUNSEL, ARE
        6            YOU PURSUING THE TBI CLAIM?
        7                      MR. BASIL:         YES.
        8            Q. HAVE YOU EVER HEARD THE TERM
        9     "TBI"?
      10             A. NO, I DIDN'T.
      11             Q. DID ANY DOCTOR TELL YOU THAT YOU
      12      HAD ANY INJURY TO YOUR BRAIN?
      13             A. DR. VILLANUEVA.
      14             Q. LET'S SAY "DR. V." IS THAT A HE
      15      OR A SHE?
      16             A. HE.
      17             Q. WHAT DID HE TELL YOU?
      18             A. "YOU HAVE A VERY BIG SCAR, YOU
      19      HAVE TO JUST LIVE WITH IT."                     SO I SAID,
      20      "WHAT DO YOU MEAN, 'BIG SCAR,' AM I
      21      GOING TO HAVE ALZHEIMER'S?"                     HE SAID
      22      "NO, BUT YOU JUST HAVE BIG SCAR."                         VERY
      23      OLDER DOCTOR BUT HE'S A GOOD DOCTOR, HE
      24      TREATS ME VERY WELL.
      25             Q. DID YOU EVER HEAR -- DID ANYONE
Case 1:17-cv-05183-RML Document 76-3 Filed 05/12/20 Page 147 of 219 PageID #: 539


                                                                         Page 146
        1                                E. SHIN
        2     EVER TELL YOU THAT YOU HAVE ANY
        3     COGNITIVE -- DO YOU KNOW WHAT THE WORD
        4     "COGNITIVE" MEANS?
        5            A. NO.
        6            Q. ANY PROBLEMS WITH YOUR THINKING
        7     OR YOUR ATTENTION OR ANYTHING LIKE
        8     THAT?
        9            A. YES.
      10             Q. WHO TOLD YOU THAT?
      11             A. DR. VILLANUEVA.
      12             Q. DID HE DO ANY TESTS?
      13             A. HE DID.
      14             Q. WHAT KIND OF TESTS DID HE DO?
      15             A. MANY TESTS.            HE DID CAT SCAN AND
      16      HE PUT ME ON SOMETHING (INDICATING),
      17      SEVERAL HOURS.
      18             Q. DID HE DO ANY WRITTEN QUESTIONS
      19      ASKING YOU QUESTIONS ABOUT MEMORY,
      20      ATTENTION, AND THINKING, THAT TYPE OF
      21      THING?
      22             A. I DON'T REMEMBER IF HE DID THAT
      23      BUT REHAB CENTER DID THAT AND ALSO
      24      DR. V SAID, "YOU MAY HAVE SHORT TERM
      25      MEMORY LOSS."
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                                                                         Page 147
        1                                E. SHIN
        2            Q. WHEN DID HE TELL YOU THAT?
        3            A. JULY OR AUGUST OF 2017 AND MY
        4     WIFE IS SOMETIMES REALLY CONCERNED
        5     ABOUT THAT.
        6            Q. WHAT CONCERNS DID SHE EXPRESS TO
        7     YOU?
        8            A. SOMETHING -- THAT I CHANGED.                       I
        9     FORGET EASILY AND I MAKE A NUMBER OF
      10      MISTAKES SOMETIMES.                SO I HAVE TO SAY
      11      "LEFT," BUT SOMETIMES I JUST SAY
      12      "RIGHT" AND I THINK "LEFT" SO SHE IS
      13      VERY CONCERNED ABOUT THOSE KINDS OF
      14      THINGS.
      15             Q. BECAUSE YOU'VE BEEN FORGETTING
      16      THINGS, IS THAT WHAT HER CONCERN IS?
      17             A. YEAH, I NEVER HAVE THAT.
      18             Q. YOU DIDN'T HAVE THAT BEFORE THE
      19      ACCIDENT?
      20             A. NO.
      21             Q. BESIDES FOR FORGETTING THINGS
      22      AND MAKING MISTAKES, ANY OTHER THINGS
      23      THAT YOUR WIFE HAS BROUGHT TO YOUR
      24      ATTENTION THAT HAS CHANGED?
      25             A. YEAH.
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                                                                         Page 148
        1                                E. SHIN
        2            Q. WHAT DID SHE BRING TO YOUR
        3     ATTENTION?
        4            A. ALSO WE NEVER HAVE SEX ANYMORE.
        5     SHE SAYS, "WHAT HAPPENED TO YOU?"
        6                      MS. NICOLAOU:           ARE YOU
        7            MAKING A DERIVATIVE COMPLAINT?
        8                      MR. BASIL:         SHE'S NOT THE
        9            PLAINTIFF.
      10                       MS. NICOLAOU:           I SEE THAT.
      11             I'M JUST ASKING.
      12                       MR. BASIL:         SHE'S NOT THE
      13             PLAINTIFF.
      14                       MS. NICOLAOU:           SO IS THAT A
      15             NO, AS OF NOW YOU HAVE NO
      16             INTENTION?
      17                       MR. BASIL:         AS OF NOW, I
      18             HAVE NOT CONSULTED WITH HER SO I
      19             HAVE NO INTENTION OF BRINGING A
      20             CLAIM FOR SOMEONE WHO ISN'T MY
      21             CLIENT.
      22             Q. HAS YOUR WIFE MADE ANY OTHER
      23      CONCERNS OR COMPLAINTS ABOUT YOUR
      24      BEHAVIOR?
      25             A. SHE'S PRETTY CONCERNED ABOUT MY
Case 1:17-cv-05183-RML Document 76-3 Filed 05/12/20 Page 150 of 219 PageID #: 542


                                                                         Page 149
        1                                E. SHIN
        2     FUTURE, ABOUT EVERYTHING, THAT I
        3     PHYSICALLY DON'T DO THINGS THE WAY THAT
        4     I NORMALLY DID.
        5            Q. LIKE WHAT?
        6            A. GOLFING.
        7            Q. GOLFING?
        8            A. SPORTS.
        9            Q. WHAT SPORTS?
      10             A. JOGGING, WALKING, EXERCISE.                      I
      11      DON'T DO THAT ANYMORE.
      12             Q. AND YOU DID THAT BEFORE THE
      13      ACCIDENT?
      14             A. YES.
      15             Q. WHAT EXERCISE DID YOU DO BEFORE
      16      THE ACCIDENT?
      17             A. JUST WALKING, I DID A LOT OF
      18      WALKING AND GOLFING.
      19             Q. AND HAVE YOU TRIED TO DO ANY OF
      20      THOSE ACTIVITIES?
      21             A. I TRY.         I DID GOLF LAST YEAR
      22      ABOUT LESS THAN 10 TIMES BUT NOT FULL
      23      THING, I COULD NOT.
      24             Q. AND WHY NOT?             WHAT COMPLAINTS DO
      25      YOU HAVE THAT HAS RESULTED IN YOU NOT
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                                                                         Page 150
        1                                E. SHIN
        2     BEING ABLE TO BE DO IT AS MUCH ANYMORE?
        3            A. THE PAIN (INDICATING).
        4            Q. YOU'RE POINTING TO THE LEFT SIDE
        5     OF YOUR HEAD?
        6            A. MY SHOULDER, MY ARM BUT, YOU
        7     KNOW, I GO TO GOLF COURSE AND INSTEAD
        8     OF USING STICK, I'M JUST WALKING AROUND
        9     DOING THE EXERCISE.
      10                  MY PHYSICAL THERAPIST SAYS
      11      WALKING IS REALLY IMPORTANT AND NO
      12      MATTER WHAT, NO RUNNING.
      13             Q. WHAT TYPE OF RUNNING DID YOU DO
      14      BEFORE THE ACCIDENT?
      15             A. SLOW RUNNING.             I LOVE RUNNING.
      16             Q. HOW OFTEN DID YOU DO THAT?
      17             A. THREE TIMES A WEEK, TWO TIMES A
      18      WEEK.
      19             Q. DID YOU GO TO A HEALTH CLUB OR
      20      WAS IT JUST SOMETHING YOU DID OUTSIDE?
      21             A. NO, JUST NEARBY MY HOUSE, MY
      22      HOUSE HAS A REALLY GOOD JOGGING COURSE.
      23             Q. WAS THERE A PERIOD OF TIME WHEN
      24      YOU COULDN'T GO BACK TO WORK?
      25             A. YES.
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                                                                         Page 151
        1                                E. SHIN
        2                      MS. BERKOWITZ:            AM I CORRECT
        3            THAT THERE'S NO CLAIM FOR LOST
        4            WAGES?
        5                      MR. BASIL:         CORRECT.
        6            Q. NOAH BANK PAID YOU FOR THE TIME
        7     THAT YOU WERE OUT OF WORK?
        8            A. YES.
        9            Q. AT YOUR FULL SALARY?
      10             A. YES.
      11             Q. AND HOW LONG WERE YOU OUT OF
      12      WORK?
      13             A. PHYSICALLY GO TO MY OFFICE,
      14      ABOUT SIX MONTHS BECAUSE I COULDN'T
      15      DRIVE AND I COULDN'T STAND MORE THAN
      16      TWO HOURS AT THE CHAIR.
      17             Q. AND WHEN YOU RETURNED AFTER YOUR
      18      SIX MONTHS, DID YOU RETURN TO YOUR FULL
      19      DUTIES?
      20             A. NO, INSTEAD -- DURING THE SIX
      21      MONTHS, NOAH BANK, I HAVE A HOME
      22      OFFICE.        I DON'T GO TO OFFICE FOR
      23      FULL-TIME.          I'M WORKING AT THE HOME AS
      24      MUCH AS POSSIBLE.
      25             Q. OKAY.        SO YOU'RE STILL WORKING
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                                                                         Page 152
        1                                E. SHIN
        2     AT YOUR HOME OFFICE?
        3            A. YES, I DO.
        4            Q. ARE YOU STILL PERFORMING YOUR
        5     DUTIES AS THE PRESIDENT AND CEO?
        6            A. YES.
        7            Q. AND WHAT DUTIES DO YOU HAVE AS A
        8     PRESIDENT?
        9            A. EVERYTHING.
      10             Q. FOR EXAMPLE, WHAT DO YOU DO?
      11      GIVE ME SOME SPECIFIC EXAMPLES.
      12             A. LIKE MY HR SENT ME AN INCENTIVE
      13      PLAN, I REVIEW IT AND GIVE ME OPINION.
      14             Q. AND THAT'S AN INCENTIVE PLAN
      15      COMPUTING NUMBERS?
      16             A. NOT COMPUTING NUMBERS, A GENERAL
      17      PLAN.       AND THEY MAKE THE DECISION AND,
      18      YOU KNOW, THEY MAKE DECISION.                      AFTER
      19      THE ACCIDENT I JUST ATTENDING -- WHEN
      20      THE PEOPLE APPROVE THE LOAN, I JUST GET
      21      REPORT(SIC).
      22             Q. WHAT IS DIFFERENT ABOUT YOUR
      23      DUTIES NOW FROM BEFORE THE ACCIDENT?
      24             A. SAME.
      25             Q. SAME DUTIES?
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                                                                         Page 153
        1                                E. SHIN
        2            A. YEAH.
        3            Q. OKAY.
        4            A. YEAH, BUT I'M DOING A LOT OF
        5     THINGS AT THE HOME OFFICE.
        6            Q. OKAY.        BUT YOU'RE DOING THE SAME
        7     THING THAT YOU DID BEFORE THE ACCIDENT?
        8            A. YES, AND I GAVE A LOT DETAILS TO
        9     MY PEOPLE.
      10                       MS. BERKOWITZ:            ALL RIGHT.
      11             I'M GOING TO PASS TO MY
      12             CO-COUNSEL FOR A LITTLE BIT.
      13     EXAMINATION
      14     BY MS. NICOLAOU:
      15             Q. MR. SHIN, ARE YOU STILL ON
      16      MEDICATION FOR SEIZURES -- ARE YOU
      17      STILL ON SEIZURE MEDICATION?
      18             A. NO.
      19             Q. THAT WAS -- WHEN DID YOU STOP
      20      TAKING IT?
      21             A. I DON'T REMEMBER EXACTLY BUT
      22      ABOUT SIX MONTHS.
      23             Q. WAS IT 2017?
      24             A. YES, ABOUT SIX MONTHS.
      25             Q. SO SOME TIME IN 2017?
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                                                                         Page 154
        1                                E. SHIN
        2            A. RIGHT.
        3            Q. THAT'S BECAUSE YOU DIDN'T
        4     EXHIBIT ANY SIGNS OF SEIZURES ONCE YOU
        5     WERE ON IT AND THEY WEENED YOU OFF?
        6            A. RIGHT, AND ACTUALLY IT WAS A
        7     PREVENTION, TOO.
        8            Q. SO YOU WERE DISCHARGED BY
        9     DR. VILLANUEVA?
      10             A. YEAH, HE SAID, "ANY TIME YOU
      11      FEEL THINGS, COME BACK."                   I'M THINKING
      12      ABOUT GOING BACK TO SEE HIM BECAUSE I
      13      FEEL SWELLING THESE DAYS HERE
      14      (INDICATING), BECAUSE OF WINTER.
      15                       MR. BASIL:         I'M SORRY.          DID
      16             YOU GET THAT?
      17                       (WHEREUPON, THE RECORD WAS
      18             READ BY THE REPORTER.)
      19             Q. HE DISCHARGED YOU IN 2017?
      20             A. YEAH, DECEMBER.
      21             Q. AND HE SAID, "ANY SIGNS OF
      22      SYMPTOMS, COME BACK"?
      23             A. RIGHT, COME BACK.
      24             Q. YOU HAVEN'T BEEN BACK THERE
      25      SINCE?
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                                                                         Page 155
        1                                E. SHIN
        2            A. NO.
        3            Q. AND YOU'RE SAYING, NOW YOU'RE
        4     THINKING OF GOING BACK?
        5            A. YES.
        6            Q. WHEN DID YOU START THINKING OF
        7     GOING BACK?
        8            A. ABOUT THREE MONTHS AGO.
        9            Q. OKAY.        AND HAVE YOU MADE AN
      10      APPOINTMENT WITH HIM?
      11             A. NO.
      12             Q. WHAT HAS HAPPENED TO MAKE YOU
      13      WANT TO GO BACK?
      14             A. BECAUSE OF SWELLING HERE
      15      (INDICATING).
      16             Q. YOU'RE SEEING SWELLING IN YOUR
      17      HEAD?
      18             A. HERE AND HERE (INDICATING).
      19             Q. INDICATING THE LEFT TEMPORAL
      20      AREA?
      21             A. YES, THIS AREA (INDICATING).
      22             Q. AND IS IT SWOLLEN NOW?
      23             A. YES.        WHEN I TAKE OFF -- YOU SEE
      24      THE SIDE HERE (INDICATING), THAT'S THE
      25      SWELLING.
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                                                                         Page 156
        1                                E. SHIN
        2            Q. CAN I SEE YOUR OTHER SIDE, SIR?
        3                 OKAY.      BUT YOU HAVEN'T MADE AN
        4     APPOINTMENT YET, RIGHT?
        5            A. NO, NOT YET BECAUSE I'M VERY
        6     BUSY WITH THE PHYSICAL THERAPY AND THE
        7     CHIROPRACTOR.            THAT TAKES A LOT OF MY
        8     TIME.
        9            Q. NOW, YOU SAID YOU WORK FROM YOUR
      10      HOME OFFICE?
      11             A. YES.
      12             Q. WHICH OFFICE?             IS IT THE HOME
      13      OFFICE IN PENNSYLVANIA OR IS IT THE
      14      HOME OFFICE SET UP IN NEW JERSEY?
      15             A. MY HOME IN PENNSYLVANIA, 1575.
      16             Q. OKAY.        SO HOW MANY DAYS OUT OF
      17      WEEK -- AS OF NOW, PRESENTLY, HOW MANY
      18      DAYS OUT OF THE WEEK DO YOU WORK OUT OF
      19      THE BANK AND HOW MANY DAYS DO YOU WORK
      20      AT THE HOME OFFICE?
      21             A. TWO OR THREE DAYS IN FORT LEE
      22      OFFICE AND TWO OR THREE DAYS IN THE
      23      HOME OFFICE, SO IT'S COMBINED.
      24             Q. HOW DO YOU GET TO AND FROM WORK
      25      WHEN YOU GO TO FORT LEE?
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                                                                         Page 157
        1                                E. SHIN
        2            A. DRIVING.
        3            Q. YOU DRIVE YOURSELF?
        4            A. YES.
        5            Q. WHEN DID YOU GO BACK TO DRIVING?
        6            A. ONE TIME DRIVING -- I DON'T
        7     DRIVE MUCH IN 2017 SO PROBABLY 2018.
        8     MY WIFE DROVE ALL OF THE TIME.
        9            Q. DO YOU REMEMBER WHEN YOU STARTED
      10      DRIVING YOURSELF?
      11             A. YEAH, I THINK NOVEMBER.
      12             Q. OF 2017?
      13             A. YEAH.
      14             Q. AND WHEN DID YOU GO TO DRIVING
      15      YOURSELF COMPLETELY, FULL-TIME DRIVING?
      16      WAS IT ALSO NOVEMBER OF 2017?
      17             A. I WOULD SAY BEGINNING OF 2018,
      18      JANUARY.         AGAIN, IF I HAVE A CHANCE, MY
      19      WIFE DRIVE.
      20             Q. DOES YOUR WIFE DRIVE YOU TO
      21      WORK?
      22             A. AT THE TIME, YES.
      23             Q. CURRENTLY?
      24             A. CURRENTLY, SOMETIMES.
      25             Q. HOW LONG IS THE DRIVE FROM YOUR
Case 1:17-cv-05183-RML Document 76-3 Filed 05/12/20 Page 159 of 219 PageID #: 551


                                                                         Page 158
        1                                E. SHIN
        2     HOME IN PENNSYLVANIA TO FORT LEE, NEW
        3     JERSEY?
        4            A. LESS THAN TWO HOURS.
        5            Q. IS THAT WITH OR WITHOUT TRAFFIC?
        6     HOW DOES THAT WORK?                BECAUSE WE ALL
        7     KNOW THERE'S TRAFFIC SOMEWHERE.
        8            A. I KNOW THE AVOIDING TRAFFIC
        9     TIME.
      10             Q. SO NO TRAFFIC; LESS THAN TWO
      11      HOURS, WITH TRAFFIC; HOW LONG DOES IT
      12      USUALLY TAKE YOU?
      13             A. FOR ME, IT RARELY TAKES MORE
      14      THAN TWO HOURS.
      15             Q. WHEN YOU WORK TWO OR THREE DAYS
      16      OUT OF THE BANK IN FORT LEE, IS THAT
      17      WHEN YOU STAY IN THE APARTMENT THAT YOU
      18      RENT?
      19             A. YES.
      20             Q. HOW FAR IS IT FROM THE BANK?
      21             A. 10 MINUTES.
      22             Q. YOU STAY THERE, YOU SLEEP THERE,
      23      YOU GO BACK TO WORK AND THEN AFTER TWO
      24      OR THREE DAYS, YOU DRIVE HOME?
      25             A. RIGHT, MY WIFE COME TO SEE ME,
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                                                                         Page 159
        1                                E. SHIN
        2     TO HELP ME.
        3            Q. WHEN YOUR WIFE DRIVES YOU TO
        4     WORK FROM PENNSYLVANIA, HOW DO YOU GO
        5     TO AND FROM THE HOUSE IN NEW JERSEY TO
        6     WORK?
        7            A. WE CAN SHARE THE CAR.
        8            Q. DOES SHE STAY UP IN NEW JERSEY
        9     WITH YOU?
      10             A. YES, YES.
      11             Q. DID SHE DO THAT BEFORE?                    COME
      12      WITH YOU WHEN YOU WENT TO WORK?
      13             A. NO.
      14             Q. IS IT, NOW SHE'S COMING WITH YOU
      15      BECAUSE YOUR GIRLS ARE OUT OF THE
      16      HOUSE?
      17             A. NO, NOT REALLY MY DAUGHTERS.
      18      SHE'S WORRYING ABOUT ME.                   SHE'S REALLY
      19      WORRYING ABOUT ME.
      20             Q. WHAT IS YOUR WIFE'S NAME?
      21             A. SOFIE HAHN.            SHE REALLY WORRIES
      22      ABOUT ME.
      23             Q. NOW, I KNOW YOU SAID YOU WENT
      24      BACK TO THE EYE DOCTOR, THAT YOU GOT
      25      CLEARED FOR THAT ONE, RIGHT?
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                                                                         Page 160
        1                                E. SHIN
        2            A. RIGHT.
        3            Q. YOUR SPEECH IS FINE NOW?
        4            A. ACCORDING TO MY WIFE, SOMETIMES
        5     I MAKE MISTAKE THAT SHE CAN HEAR.
        6            Q. OKAY.        ACCORDING TO YOU, SIR, DO
        7     YOU FEEL LIKE YOUR SPEECH IS FINE?
        8            A. SPEECH IS OKAY, BUT SOMETIMES I
        9     COULDN'T REMEMBER THINGS THAT I SHOULD
      10      BUT LIKE DR. V TOLD ME, "TIME GOES BY
      11      THEN I REMEMBER."
      12                  LIKE, ADDRESS, YOU KNOW?                   "GRAND
      13      AVENUE," I COULDN'T REMEMBER AT THE
      14      TIME BUT AFTER THINGS, I REMEMBER THE
      15      NUMBER.
      16             Q. WHAT WAS THE NUMBER?
      17             A. 460, I BELIEVE.
      18             Q. DID YOU LOOK AT IT?                 DID YOU
      19      LOOK IT UP?
      20             A. NO, I DID NOT.
      21             Q. DID YOU LOOK IT UP?
      22             A. NO.       SOMETIMES I FORGET MY
      23      FRIEND'S NAME, I COULDN'T NAME THEM AND
      24      AFTER A COUPLE OF HOURS -- THE NAME, I
      25      REMEMBER.
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                                                                         Page 161
        1                                E. SHIN
        2                 I NEVER HAVE THAT BEFORE.
        3            Q. OKAY.        BUT OTHER THAN YOUR
        4     MEMORY, YOUR SHORT-TERM MEMORY LOSS, IS
        5     THAT WHAT THEY REFER TO IT AS?
        6            A. NO, HE DOESN'T SAY IT'S
        7     SHORT-TERM MEMORY.               HE MENTIONED
        8     THAT -- DID HE SAY, "SHORT-TERM
        9     MEMORY"?
      10             Q. DO YOU KNOW THE DIFFERENCE
      11      BETWEEN "SHORT-TERM MEMORY" AND
      12      "LONG-TERM MEMORY LOSS"?
      13             A. I DO NOT KNOW.
      14             Q. "SHORT-TERM MEMORY," IS
      15      SOMETHING THAT JUST HAPPENED AND A FEW
      16      MINUTES LATER YOU MAY FORGET IT.
      17             A. OKAY.
      18             Q. "LONG-TERM MEMORY," IS THINGS
      19      THAT YOU REMEMBER IN THE PAST AND
      20      WHETHER YOU REMEMBER THEM NOW.
      21             A. OKAY.
      22             Q. DO YOU KNOW WHETHER IT'S YOUR
      23      SHORT-TERM MEMORY THAT'S IMPACTED, YOUR
      24      LONG-MEMORY THAT'S IMPACTED, OR A
      25      COMBINATION OF BOTH?                HOW CAN YOU
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                                                                         Page 162
        1                                E. SHIN
        2     DESCRIBE IT?
        3            A. I DO NOT KNOW.
        4            Q. OKAY.        IS A LOT OF WHAT YOU'RE
        5     TESTIFYING TO, IS WHAT PEOPLE ARE
        6     TELLING YOU OR WHAT YOU'RE
        7     EXPERIENCING?
        8            A. I'M EXPERIENCING.
        9            Q. OKAY.        SO LET'S FOCUS ON WHAT
      10      YOU'RE EXPERIENCING.
      11             A. I DON'T WANT OTHER PEOPLE
      12      TELLING ME, "YOU HAVE SOME PROBLEM."
      13             Q. WHEN I SAY "OTHER PEOPLE," I'M
      14      REFERRING TO YOUR WIFE.
      15             A. YES.
      16             Q. SHE CAN TELL YOU IF SHE HAS A
      17      PROBLEM WITH YOU, RIGHT?                   THAT'S HER
      18      PREROGATIVE.
      19             A. I'M VERY CAREFUL ABOUT WHAT I'M
      20      DOING BECAUSE OF MY PROFESSION.
      21             Q. I UNDERSTAND, SIR.                 SO YOUR
      22      SPEECH, AS OF TODAY, IT HAS IMPROVED?
      23             A. RIGHT.
      24             Q. IT'S BACK TO NORMAL?
      25             A. NO, I DON'T SAY IT'S "NORMAL."
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                                                                         Page 163
        1                                E. SHIN
        2            Q. WHAT IS IT THAT YOU FEEL IN YOUR
        3     SPEECH THAT YOU FEEL IS NOT NORMAL?
        4     I'M NOT REFERRING TO YOUR MEMORY, I'M
        5     REFERRING TO HOW YOU SPEAK.
        6            A. SPEAK, NO PROBLEM.
        7            Q. OKAY.        SO STOP THERE.             SO YOU
        8     CAN SPEAK -- BECAUSE I REMEMBER YOU
        9     TESTIFIED, AFTER THE ACCIDENT YOU HAD
      10      TO WORK ON YOUR SPEECH; IS THAT RIGHT?
      11             A. OH, YOU MISUNDERSTAND.                   THEY
      12      SAID, "SPEECH THERAPY" -- NO, NO.
      13      SPEECH THERAPY IS NOT SPEAKING.
      14             Q. OKAY.        WHAT IS IT?
      15             A. IT'S INCLUDING THE SHORT TERM
      16      AND LONG-TERM MEMORY.                 I KNOW THREE
      17      THINGS.        I NEVER BEEN IN REHAB OR THOSE
      18      HOSPITAL LOGS BEFORE.                 THERE ARE THREE
      19      TITLES OF THERAPY, "PHYSICAL THERAPY,"
      20      "SPEECH THERAPY," "OCCUPATIONAL
      21      THERAPY."
      22                  "PHYSICAL THERAPY," IS LITERALLY
      23      THERAPY.         "SPEECH THERAPY," IS TESTING
      24      THAT I'M GOING TO RECYCLE LONG-TERM
      25      MEMORY THINGS.
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                                                                         Page 164
        1                                E. SHIN
        2            Q. THAT'S YOUR UNDERSTANDING OF
        3     "SPEECH THERAPY"?
        4            A. RIGHT.         NOT SPEAKING.            I DON'T
        5     HAVE ANY PROBLEM SPEAKING.
        6            Q. I UNDERSTAND.             THAT'S ON WHAT
        7     YOUR UNDERSTANDING OF SPEECH THERAPY
        8     IS, WHEN YOU WERE AT THE REHAB
        9     FACILITY --
      10             A. RIGHT.
      11             Q. -- YOU WERE TESTED ON THE
      12      ABILITY TO SPEAK?               "YES" OR "NO."
      13             A. SPEAK, NO PROBLEM.
      14             Q. YOU NEVER HAD A PROBLEM WITH
      15      THAT?
      16             A. WHEN I HAVE A SOMETHING HERE
      17      (INDICATING), I HAVE HARD TO
      18      PRONOUNCE(SIC).
      19             Q. OTHER THAN THE PHYSICAL
      20      LIMITATION WHEN YOU HAD THE BROKEN
      21      CHEEKBONE AFTER THE SURGERY?
      22             A. NO, I DON'T HAVE ANY PROBLEM TO
      23      SPEECH.        I FEEL VERY AWFUL HERE
      24      (INDICATING) THAT THIS IS PARALYZED.
      25                       MR. BASIL:         POINTING TO HIS
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                                                                         Page 165
        1                                E. SHIN
        2            UPPER LEFT SIDE OF HIS LIP.                     THAT
        3            IT'S PARALYZED.
        4            Q. IT'S NUMB, YOU CAN'T FEEL IT?
        5            A. YEAH.
        6            Q. IS IT IMPACTING YOUR ABILITY TO
        7     SPEAK?
        8            A. I DON'T THINK SO JUST FEELS
        9     AWFUL.
      10             Q. JUST FEELS OFF, WEIRD?
      11             A. RIGHT.
      12             Q. DOESN'T HURT?
      13             A. HERE AND THERE.
      14             Q. HERE AND THERE.               BUT MOSTLY IT
      15      JUST FEELS WEIRD?
      16             A. YES.
      17             Q. SO YOUR SPEECH IS FINE, THE
      18      ABILITY TO SAY WORDS --
      19             A. IS NO PROBLEM.
      20             Q. OKAY.        THAT'S FINE --
      21             A. WHEN I GO TO --
      22             Q. -- MR. SHIN, LET ME FINISH.
      23      LET'S BREAK IT DOWN, WE'RE GOING TO
      24      BREAK IT DOWN.             OKAY?
      25                  YOUR SPEECH IS FINE, YOUR
Case 1:17-cv-05183-RML Document 76-3 Filed 05/12/20 Page 167 of 219 PageID #: 559


                                                                         Page 166
        1                                E. SHIN
        2     ABILITY TO COMMUNICATE WITH PEOPLE WAS
        3     NEVER AN ISSUE, ONLY WHEN YOUR FACE --
        4     YOUR CHEEKBONE WAS BROKEN, THAT'S WHEN
        5     IT WAS AN ISSUE?
        6            A. RIGHT.
        7            Q. NOW, YOUR ABILITY TO TAKE IN
        8     INFORMATION AND PROCESS IT IS WHAT THEY
        9     WORKED ON AT THE REHAB FACILITY; IS
      10      THAT RIGHT?
      11             A. RIGHT.
      12             Q. OKAY.        AND THAT'S IMPROVED; IS
      13      THAT RIGHT?
      14             A. IT'S IMPROVED.
      15             Q. YOU CAN LISTEN TO A CONVERSATION
      16      LIKE YOU'RE DOING NOW, YOU'RE
      17      PROCESSING MY QUESTION AND YOU'RE
      18      ANSWERING MY QUESTION, RIGHT?
      19             A. RIGHT.
      20             Q. THAT'S NOT DIFFICULT?
      21             A. SOMETIMES A PROBLEM.
      22             Q. OKAY.        SOMETIMES PROBLEM.               HAD
      23      YOU EXPERIENCED ANY PROBLEMS -- AS
      24      WE'RE SITTING HERE TODAY, HAD YOU
      25      EXPERIENCED ANY PROBLEMS PROCESSING
Case 1:17-cv-05183-RML Document 76-3 Filed 05/12/20 Page 168 of 219 PageID #: 560


                                                                         Page 167
        1                                E. SHIN
        2     WHAT'S BEING ASKED TO YOU AND
        3     COMMUNICATING THAT?
        4            A. NO.
        5            Q. OKAY.        THE NEXT THING IS YOUR
        6     MEMORY.
        7            A. RIGHT.
        8            Q. YOUR MEMORY -- SITING HERE
        9     TODAY, YOU HAVE A HARD TIME REMEMBERING
      10      CERTAIN THINGS?
      11             A. TODAY, I DON'T THINK SO.
      12             Q. TODAY, I DON'T THINK SO.                     YOUR
      13      MEMORY IS FINE TODAY?
      14             A. RIGHT, RIGHT.
      15             Q. WHEN IS IT A PROBLEM?
      16             A. LIKE, THREE DAYS AGO I HAD A
      17      VERY IMPORTANT MEETING.                  I COULDN'T
      18      REMEMBER THE NAME OF A FIRM AT THE
      19      TIME.       I COULDN'T REMEMBER SO I SAID,
      20      "YEAH WE HAD SOME" -- SO I JUST STARTED
      21      ANOTHER CONVERSATION.                 THEN AFTER FIVE
      22      MINUTES I REMEMBER THE FIRM'S NAME SO I
      23      SAID, "BY THE WAY, YOU KNOW THE COMPANY
      24      WAS" -- YOU KNOW, THINKING ABOUT IT AND
      25      MY WIFE CAUGHT IT THOSE TIMES.
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                                                                         Page 168
        1                                E. SHIN
        2            Q. THAT YOU HAD A HARD TIME
        3     REMEMBERING THAT FIRM'S NAME?
        4            A. YES.
        5            Q. OTHER THAN THAT, IS THERE
        6     ANYTHING ELSE YOU'RE HAVING ISSUES
        7     WITH?
        8            A. I DON'T THINK SO.
        9            Q. NOW, YOU MENTIONED THAT YOU
      10      DON'T HAVE SEX WITH YOUR WIFE ANYMORE?
      11             A. FIRST OF ALL, I DON'T HAVE ANY
      12      ENERGY.        I'M SICK, MAYBE MENTALLY --
      13      SOMETHING AND MY -- THIS ARM
      14      (INDICATING) --
      15             Q. LEFT ARM?
      16             A. LEFT ARM.
      17             Q. SO YOUR LEFT ARM IS BOTHERING
      18      YOU?
      19             A. BOTHERING ME.
      20             Q. AND THAT'S PREVENTING YOU FROM
      21      HAVING SEX WITH YOUR WIFE, YOUR LEFT
      22      ARM?
      23             A. YES.
      24             Q. IS ALL YOUR OTHER BODY PARTS
      25      WORKING?
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                                                                         Page 169
        1                                E. SHIN
        2            A. I THINK SO, I HOPE SO.
        3            Q. HAVE YOU TRIED TO USE THEM?
        4            A. NO.
        5            Q. ARE YOU ON ANY MEDICATION AS WE
        6     SPEAK?
        7            A. USING A LOT OF TYLENOL.
        8            Q. TYLENOL, JUST FOR THE PAIN?
        9            A. YEAH, 500 MILLIGRAMS.                   THAT'S
      10      WHAT DR. BARDIN SUGGESTED ME.
      11                       MS. NICOLAOU:           DID WE GET AN
      12             AUTHORIZATION FOR HIS PRIMARY,
      13             DR. BARDIN?
      14                       MS. BERKOWITZ:            NO.
      15                       MS. NICOLAOU:           I'M GOING TO
      16             DEMAND MEDICAL RECORDS FROM DR.
      17             BARDIN.
      18                       MS. BERKOWITZ:            I JOIN.
      19                       MR. LEVINSON:           I JOIN.
      20             A. I HAD A BUNCH OF PAIN KILLERS
      21      BUT I DON'T NEED A PRESCRIPTION FOR
      22      THIS.
      23             Q. OKAY.        SO DR. BARDIN PRESCRIBES
      24      YOU 500 MILLIGRAMS?
      25             A. NO, I DON'T NEED A PRESCRIPTION.
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                                                                         Page 170
        1                                E. SHIN
        2            Q. OH, IT'S JUST OVER-THE-COUNTER?
        3            A. YES.
        4            Q. HOW MANY TIMES DID YOU TAKE IT
        5     PER DAY?
        6            A. NOT EVERYDAY BUT AS I NEED.
        7            Q. HOW OFTEN DO YOU TAKE IT THEN?
        8            A. A WEEK, PROBABLY EIGHT OR 10.
        9     AND I HAVE ANOTHER SUPPLEMENT, VITAMIN
      10      RECOMMENDED BY -- IT'S CALLED ACP.                         IT
      11      ALSO HELPS FOR MY PAIN.
      12             Q. DO YOU TAKE ANY MEDICATION -- I
      13      KNOW YOU SAID YOU DON'T TAKE ANY
      14      SEIZURE MEDICATION AT ALL -- DO YOU
      15      TAKE ANY OTHER MEDICATION TO EITHER
      16      IMPROVE YOUR ABILITY TO RECALL THINGS
      17      -- WITHDRAWN.
      18                  DO YOU TAKE ANY OTHER
      19      MEDICATION, OTHER THAN THE TYLENOL AND
      20      THE ACP?
      21             A. MY HIGH BLOOD PRESSURE, I'M
      22      SURE.       SINCE 2005.
      23             Q. YOU'RE ON HIGH BLOOD PRESSURE
      24      MEDICATION?
      25             A. YES.
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                                                                         Page 171
        1                                E. SHIN
        2                      MR. BASIL:         I JUST NEED A
        3            SECOND TO CONSULT WITH MY
        4            PARTNER.
        5                      MS. NICOLAOU:           SURE.
        6                      (WHEREUPON, A RECESS WAS
        7            TAKEN AT THIS TIME.)
        8            Q. MR. SHIN, HAS YOUR INABILITY TO
        9     REMEMBER CERTAIN THINGS, WHETHER IT'S A
      10      NAME OR MAKING A RIGHT INSTEAD OF A
      11      LEFT OR SOMETHING LIKE THAT, HAS IT
      12      IMPACTED YOUR ABILITY TO DO YOUR JOB AT
      13      THE BANK?
      14             A. YES AND NO.
      15             Q. HOW HAS IT IMPACTED YOUR ABILITY
      16      TO DO YOUR JOB?
      17             A. I CANNOT PUT MORE TIME TO WORK
      18      AS I USUALLY DO ON REGULAR BASIS.                         I
      19      THINK I CAN MAKE MORE PROFIT FOR THE
      20      BANK BUT I TRY NOT TO OVERWORK.
      21             Q. SO IS IT YOUR TESTIMONY THAT YOU
      22      FEEL THAT BECAUSE OF YOUR MEMORY IT'S
      23      LIMITING YOUR ABILITY TO WORK AS MUCH
      24      AS YOU USED TO AND THAT'S TRICKLED DOWN
      25      TO BRINGING BUSINESS IN FOR THE BANK?
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                                                                         Page 172
        1                                E. SHIN
        2            A. IT'S NOT MEMORY, IT'S MY
        3     PHYSICAL CONDITION.
        4            Q. PHYSICAL CONDITION.                 OKAY.       AND
        5     THAT HAS TRANSLATED INTO YOU NOT BEING
        6     ABLE TO BRING BUSINESS INTO THE BANK?
        7            A. YES.        SO I SAID "YES" AND "NO."
        8            Q. AND "NO," IN WHAT SENSE?
        9            A. I'M DOING MY JOB FUNCTION RIGHT
      10      NOW.
      11             Q. YOU'RE DOING YOUR JOB FUNCTION.
      12      OKAY.       MR. SHIN, ARE YOU SUING A SUNDAY
      13      JOURNAL, KOREAN JOURNAL IN FEDERAL
      14      COURT?
      15             A. YES.
      16             Q. AND YOU'RE SUING THEM FOR
      17      DEFAMATION?
      18             A. YES.
      19             Q. YOU FILED THE SUIT BACK IN
      20      SEPTEMBER 2018; IS THAT RIGHT?
      21             A. I DON'T REMEMBER EXACT DATE BUT
      22      IF IT SAYS SO, YES.
      23             Q. AND SOME LAWSUIT YOU FILED WAS
      24      ON BEHALF OF YOURSELF --
      25             A. AND THE BANK.
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                                                                         Page 173
        1                                E. SHIN
        2            Q. -- AND THE BANK.               NOAH BANK?
        3            A. RIGHT.
        4            Q. AND THE ALLEGATIONS AND THE
        5     COMPLAINT IS THAT THE KOREAN NEWSPAPER
        6     ACCUSED YOU AND THE BANK OF VARIOUS
        7     ILLEGAL CONDUCT; IS THAT RIGHT?
        8            A. RIGHT.
        9            Q. AND SOME OF IT WAS PART -- IN
      10      CONNECTION WITH YOUR ACCIDENT; IS THAT
      11      RIGHT?
      12             A. MOST OF IT, YES.
      13             Q. OKAY.        AND THE FIRM THAT'S
      14      REPRESENTING YOU IN THIS ACTION AND
      15      DEFAMATION CASE, IS THE SAME FIRM
      16      THAT'S REPRESENTING YOU IN THIS CASE,
      17      RIGHT?
      18             A. YES.
      19             Q. NOW, IN THE COMPLAINT YOU
      20      ALLEGED THAT BECAUSE OF THIS
      21      DEFAMATION, YOU'VE LOST BUSINESS FOR
      22      THE BANK?
      23             A. YES.
      24             Q. AND YOU'VE JUST TESTIFIED,
      25      BECAUSE OF YOUR INJURY YOU CAN'T BRING
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                                                                         Page 174
        1                                E. SHIN
        2     BUSINESS TO THE BANK?
        3            A. I SAID "MORE."
        4            Q. MORE BUSINESS?
        5            A. YES.
        6            Q. OKAY.
        7                      MS. NICOLAOU:           CAN WE MARK
        8            THIS PLEASE?
        9                      (WHEREUPON, PENNSYLVANIA
      10             DEFAMATION CASE WAS MARKED AS
      11             DEFENDANT'S EXHIBIT M FOR
      12             IDENTIFICATION AS OF THIS DATE.)
      13             Q. SO YOU TESTIFIED THAT BECAUSE OF
      14      YOUR PHYSICAL CONDITION, YOU CANNOT
      15      BRING MORE BUSINESS TO THE BANK; IS
      16      THAT RIGHT?
      17             A. RIGHT.
      18             Q. OKAY.        I'M GOING TO SHOW YOU
      19      WHAT'S BEEN MARKED AS DEFENDANT'S
      20      EXHIBIT M.          I'M GOING TO SHOW YOU
      21      PARAGRAPH 86.            TAKE A LOOK AT THAT
      22      (HANDING).          READ IT PLEASE, INTO THE
      23      RECORD PARAGRAPH 86?
      24             A. OKAY.
      25             Q. CAN YOU READ THAT PARAGRAPH INTO
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                                                                         Page 175
        1                                E. SHIN
        2     THE RECORD, SIR?
        3                      MS. BERKOWITZ:            SHE'S NEVER
        4            GOING TO GET IT.             WAIT ONE
        5            SECOND.        WHAT PARAGRAPH?
        6                      MS. NICOLAOU:           86.      YOU KNOW
        7            WHAT LET ME JUST READ IT THEN.
        8                      JUST FOR THE SAKE OF
        9            EXPEDIENCY I'M JUST GOING TO
      10             READ.
      11                       PARAGRAPH 86 OF THE
      12             COMPLAINT SAYS --
      13             Q. ARE YOU LISTENING, MR. SHIN?
      14             A. YES.
      15             Q. "THE DEFAMATORY STATEMENTS IN
      16      THE ARTICLES" -- AND THOSE ARTICLES
      17      WE'RE REFERRING TO AS THE "KOREAN
      18      ARTICLES," RIGHT?
      19             A. RIGHT.
      20             Q. "HAVE CAUSED SHIN DAMAGES.
      21      INCLUDING DAMAGES TO HIS REPUTATION,
      22      COMPENSATIONS, BONUSES, INTO HIS
      23      BUSINESS INTERESTS AND PERSPECTIVE,
      24      ECONOMIC OPPORTUNITIES."
      25                  DO YOU UNDERSTAND WHAT THAT
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                                                                         Page 176
        1                                E. SHIN
        2     PARAGRAPH SAYS?
        3            A. YES.
        4            Q. IN THIS COMPLAINT, MR. SHIN,
        5     YOU'RE ALLEGING THAT BECAUSE OF THE
        6     ARTICLES THAT YOU CLAIM TO BE FALSE
        7     STATEMENTS THAT WERE SHARED ONLINE, YOU
        8     HAVE SUFFERED INJURY TO YOUR
        9     REPUTATION, YOUR ABILITY TO COLLECT
      10      MONEY, COMPENSATION, BONUSES, BUT YOU
      11      ALSO ALLEGED, YOUR ABILITY TO BRING IN
      12      PERSPECTIVE CLIENTS; IS THAT RIGHT?
      13             A. RIGHT.
      14             Q. IN THIS ACTION, YOU'RE ALLEGING
      15      THAT BECAUSE OF YOUR INJURIES YOU'RE
      16      LIMITED FROM BRINGING IN MORE BUSINESS,
      17      RIGHT?
      18             A. RIGHT.
      19             Q. SO IT'S THE SAME THING?
      20             A. RIGHT.         AND PLUS MORE.
      21             Q. NOW, YOU WOULD GET BONUSES AT
      22      NOAH BANK?
      23             A. YES.
      24             Q. AND YOUR BONUSES, WERE THEY
      25      IMPACTED FROM THIS INJURY?
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                                                                         Page 177
        1                                E. SHIN
        2            A. YES AND NO.
        3            Q. SO ARE YOU ALLEGING -- AS WE SIT
        4     HERE NOW, ARE YOU ALLEGING THAT BECAUSE
        5     OF YOUR INJURY, YOU'RE NOT GETTING ANY
        6     BONUSES?
        7            A. NO, I GET A BONUS BUT I SHOULD
        8     GET MORE BONUSES.
        9                      MS. NICOLAOU:            OKAY.      ARE WE
      10             ALLEGING IN THIS ACTION THAT
      11             BONUSES IS A CLAIM?
      12                       MR. BASIL:         NO.      THERE IS NO
      13             CLAIM FOR LACK OF BONUSES,
      14             SALARY, ANYTHING, OTHER THAN
      15             PERSONAL INJURY.
      16                       MS. NICOLAOU:            OKAY.
      17             Q. AND MR. SHIN, JUST TO CONFIRM,
      18      THESE ARE FOUR ARTICLES THAT WERE
      19      PUBLISHED IN 2017?
      20             A. RIGHT.
      21             Q. AND THEY WERE PUBLISHED ONLINE?
      22             A. ONLINE AND SOME NEWSPAPER IN LOS
      23      ANGELES.
      24             Q. AND THEY'RE KOREAN BASED PAPERS,
      25      RIGHT?
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                                                                         Page 178
        1                                E. SHIN
        2            A. YES.
        3            Q. AND THE FIRST ONE WAS PUBLISHED
        4     A FEW DAYS AFTER YOUR ACCIDENT?
        5            A. RIGHT.
        6            Q. AND THE SECOND ONE WAS PUBLISHED
        7     A MONTH LATER, IN MAY?
        8            A. YES.
        9            Q. ANOTHER ONE IN MAY?
      10             A. RIGHT.
      11             Q. AND ANOTHER ONE IN NOVEMBER OF
      12      2017?
      13             A. RIGHT.
      14             Q. AND YOU WENT BACK TO WORK IN
      15      NOVEMBER OF 2017?
      16             A. YES.
      17             Q. THAT'S WHEN YOU STARTED WORKING
      18      FROM HOME OR WHEN YOU WENT --
      19      PHYSICALLY WENT BACK TO WORK?
      20             A. PHYSICALLY IN AND OUT, SLOW
      21      START.
      22             Q. WHEN DID YOU START WORKING FROM
      23      HOME?
      24             A. AROUND JUNE, MAY.
      25             Q. MAY, JUNE, YOU STARTED WORKING
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                                                                         Page 179
        1                                E. SHIN
        2     FROM HOME?
        3            A. RIGHT, YES.
        4                 30 MINUTES AT DESK, ONE HOUR
        5     BED, 30 MINUTES AT DESK, ONE HOUR BED.
        6                      MS. NICOLAOU:           MOVE TO
        7            STRIKE HIS PORTIONS THAT ARE
        8            UNRESPONSIVE.
        9            Q. CAN YOU QUANTIFY, IN ANY WAY,
      10      MR. SHIN, HOW MUCH PROFIT YOU HAVE BEEN
      11      UNABLE TO BRING TO THE BANK BECAUSE OF
      12      YOUR PHYSICAL INJURIES VERSUS YOUR
      13      DEFAMATION CLAIM?
      14             A. I DO NOT KNOW.
      15             Q. THE SAME QUESTION FOR BUSINESS,
      16      SUCH AS CLIENTS, NOT NECESSARILY PROFIT
      17      BUT CLIENTS, ARE YOU ABLE TO QUANTIFY
      18      THAT IN ANY WAY, HOW MUCH CLIENTS THAT
      19      YOU'RE NOT ABLE TO BRING TO THE BANK
      20      BECAUSE OF YOUR PHYSICAL CONDITION
      21      VERSUS CLIENTS YOU LOST FROM THE
      22      DEFAMATION CLAIM?
      23             A. I DO NOT KNOW, I DON'T WANT TO
      24      GUESS.
      25             Q. DO YOU HAVE ANYTHING -- ANY
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                                                                         Page 180
        1                                E. SHIN
        2     DOCUMENTATION THAT WOULD REFLECT HOW
        3     MUCH OF IT WAS RELATED TO YOUR PHYSICAL
        4     CONDITION VERSUS YOUR DEFAMATION?
        5            A. NO, I DO NOT.
        6            Q. IS THERE ANY OTHER LAWSUITS
        7     FILED BY YOU, MR. SHIN, AGAINST ANYBODY
        8     ELSE THAT IN SOME WAY IS CONNECTED TO
        9     THE ACCIDENT OF APRIL 21ST, 2017, OTHER
      10      THAN THE ONE THAT WE ARE SITTING HERE
      11      FOR TODAY AND THE DEFAMATION CLAIM
      12      THAT'S PENDING IN THE FEDERAL COURTS IN
      13      THE EASTERN DISTRICTS OF PENNSYLVANIA?
      14             A. YOU MEAN, INCLUDING MY BANK FOR
      15      COLLECTION EFFORT AND THINGS?
      16             Q. BY YOU, IN CONNECTION WITH YOUR
      17      ACCIDENT.
      18             A. NO.
      19             Q. OKAY.        HAS YOUR BANK FILED ANY
      20      CLAIMS?
      21             A. FOR ACCIDENT?
      22             Q. BECAUSE OF THIS ACCIDENT?
      23             A. NO.
      24             Q. OTHER THAN THIS DEFAMATION
      25      CLAIM?
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                                                                         Page 181
        1                                E. SHIN
        2            A. NO.
        3            Q. AND I APOLOGIZE IF THIS WAS
        4     ASKED BEFORE.            HAVE YOU ATTENDED ANY
        5     HEARINGS -- ANY CRIMINAL HEARINGS, IN
        6     CONNECTION WITH MR. LEE'S ARREST
        7     BECAUSE OF YOUR ACCIDENT?
        8            A. NO, OTHER THAN MEETING AT THE
        9     DA'S OFFICE ONE TIME AND TALKING
      10      NUMEROUS TIMES TO HER.                  I DON'T KNOW.
      11             Q. WHO WAS THE ADA THAT HANDLED
      12      YOUR CASE?          DO YOU REMEMBER HER NAME?
      13      IT WAS A FEMALE, RIGHT?
      14             A. FEMALE.
      15             Q. DO YOU REMEMBER HER NAME?
      16             A. NO.
      17             Q. DO YOU HAVE ANY INFORMATION AT
      18      HOME THAT PROVIDES YOU WITH THE NAME?
      19             A. I THINK SO.
      20             Q. I'M GOING TO LEAVE A BLANK IN
      21      THE RECORD.           WHEN YOU GET THE
      22      TRANSCRIPT, JUST WRITE IT IN.
      23     (INSERT)________________________________
      24                       MS. NICOLAOU:           I ALSO DEMAND
      25             THE NAME, AS WELL.
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                                                                         Page 182
        1                                E. SHIN
        2            Q. WERE YOU GIVEN ANY PAPERWORK TO
        3     FILL OUT AND COMPLETE BY THE ADA, IN
        4     CONNECTION WITH MR. LEE'S ARREST?
        5            A. NO.
        6            Q. AND I UNDERSTAND YOU DIDN'T GIVE
        7     A TESTIMONY, A TRIAL, OR PROVIDE A
        8     SWORN STATEMENT, IN CONNECTION WITH THE
        9     ACCIDENT OF APRIL 21ST?
      10             A. NO.
      11             Q. HAVE YOU SPOKEN WITH ANYONE,
      12      OTHER THAN YOUR ATTORNEY ABOUT THE
      13      ACCIDENT OF APRIL 21ST, 2017 THAT YOU
      14      HAVEN'T TESTIFIED TO ALREADY?
      15             A. NO.
      16             Q. I KNOW WE SPOKE TO CHUNG LEE,
      17      RIGHT?
      18             A. YES.
      19             Q. WE TALKED ABOUT THAT.
      20                  HOW MANY TIMES DID YOU SPEAK TO
      21      HIM ABOUT THIS ACCIDENT OF APRIL 21ST?
      22             A. NOT MUCH, BECAUSE I DON'T WANT
      23      TO MAKE HIM SORRY FOR ME.
      24             Q. OKAY.        MR. DANIEL PARK, THE CPA,
      25      I SEE HIS NAME IS ON THE DOOR OUTSIDE
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                                                                         Page 183
        1                                E. SHIN
        2     THIS OFFICE.           HE HAS AN OFFICE IN YOUR
        3     ATTORNEY'S BUILDING -- SPACE, RIGHT?
        4            A. RIGHT.
        5            Q. WHEN WAS THE LAST TIME YOU SPOKE
        6     TO HIM ABOUT THIS ACCIDENT?
        7            A. ABOUT 18 MONTHS AGO.
        8            Q. 18 MONTHS?
        9            A. NO, NOT 18 MONTHS, MORE THAN
      10      THAT.       I TRY NOT TO TALK ABOUT MY
      11      ACCIDENT WITH THEM.
      12             Q. WHY?
      13             A. THEY FEEL SORRY, I DON'T WANT TO
      14      MAKE PEOPLE FEEL SORRY.
      15             Q. WHEN YOU SPOKE TO HIM 18 MONTHS
      16      AGO --
      17             A. NOT 18 MONTHS AGO.
      18             Q. OKAY.        HOW MANY TIMES DID YOU
      19      SPEAK TO HIM ABOUT YOUR ACCIDENT?
      20             A. JUST ONE TIME.
      21             Q. JUST ONE TIME, OKAY.                  WHAT WAS
      22      THE SUM AND SUBSTANCE OF THAT
      23      CONVERSATION?
      24             A. I JUST SAID TO HIM, "DO YOU
      25      REMEMBER ANYTHING?"
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                                                                         Page 184
        1                                E. SHIN
        2            Q. AND WHAT DID HE TELL YOU?
        3            A. "I SLEPT."            HE SAID, "I DON'T
        4     REMEMBER.         I SLEPT."
        5            Q. YOU SLEPT?
        6            A. HE SLEPT.
        7                      MR. BASIL:         MR. PARK SLEPT.
        8                      MS. NICOLAOU:           YES.
        9            Q. DOES HE REMEMBER ANYTHING FROM
      10      THAT NIGHT, AT ALL, BEFORE HE FELL
      11      ASLEEP?
      12             A. I DIDN'T ASK HIM.
      13             Q. OKAY.        WHAT ABOUT JOHN LEE?
      14             A. JOHN KIM?
      15                       MS. NICOLAOU:           NO, THE --
      16                       MR. BASIL:         JOHN KIM WAS THE
      17             DRIVER.
      18             Q. JOHN KIM, THE DRIVER.                   I'M
      19      SORRY.       JOHN KIM?
      20             A. HE'S MY EMPLOYEE.                I DON'T WANT
      21      TO GIVE HIM HELL.               I DIDN'T ASK HIM.
      22             Q. WHAT'S HIS TITLE IN THE BANK?
      23             A. SVP.
      24             Q. OF WHAT?
      25             A. A CREDIT LINE.              HE'S LENDING
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                                                                         Page 185
        1                                E. SHIN
        2     AREA(SIC).
        3            Q. SO HE'S THE FINANCIAL OFFICER?
        4            A. LOAN OFFICER, CREDIT OFFICER.
        5            Q. OKAY.        AND HAVE YOU SPOKEN TO
        6     HIM AT ALL ABOUT YOUR ACCIDENT?
        7            A. NO.       DID A YOU MEAN, COUPLE OF
        8     TIMES?
        9            Q. WHAT WAS IT THAT YOU TWO
      10      DISCUSSED?
      11             A. I DON'T REMEMBER BUT HE SAID --
      12      FIRST OF ALL, I SAID, "THANK YOU FOR
      13      SAVING ME" BECAUSE HE TOLD ME HE AND
      14      CHUNG LEE TAKE AMBULANCE TO THE
      15      HOSPITAL WITH ME(SIC).
      16             Q. OKAY.
      17             A. AND WE TALKED ABOUT HOW YOUNG
      18      LEE SHOULDN'T HAVE KICKED ME.                      YOU
      19      KNOW, THAT WAS ATTEMPT TO MURDER.                         I
      20      MEAN IF I GOT KILLED.
      21             Q. DID HE TELL YOU WHY?                  WHAT THE
      22      ARGUMENT WAS ABOUT?
      23             A. HE DOESN'T KNOW.
      24             Q. DID ANYBODY EVER SAY TO YOU WHAT
      25      THE ARGUMENT WAS ABOUT?
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                                                                         Page 186
        1                                E. SHIN
        2            A. NO.
        3            Q. OKAY.        OTHER THAN JOHN KIM,
        4     CHUNG LEE, AND DANIEL PARK, ANYBODY
        5     ELSE THAT YOU'RE AWARE OF THAT
        6     WITNESSED THE INCIDENT BETWEEN -- LET
        7     ME REMOVE THAT.
        8                 ANYBODY ELSE THAT YOU'RE AWARE
        9     OF THAT CAN SPEAK TO THE EVENTS THAT
      10      HAPPENED THAT NIGHT?                WHETHER IT'S THE
      11      ACCIDENT ITSELF OR THINGS LEADING UP TO
      12      THE ACCIDENT?
      13             A. YOU MEAN, ASK ME QUESTION?
      14             Q. NO, THAT CAN SPEAK TO -- THAT
      15      CAN TESTIFY AS TO WHAT HAPPENED THAT
      16      NIGHT?
      17             A. I DO NOT KNOW.
      18                       MS. NICOLAOU:           CAN WE TAKE A
      19             10-MINUTE BREAK?             I'M JUST GOING
      20             TO LOOK OVER MY NOTES.                 YOU WANT
      21             TO DO THAT NOW?
      22     EXAMINATION
      23     BY MS. BERKOWITZ:
      24             Q. SO THROUGH YOUR EMPLOYMENT, DO
      25      YOU HAVE HEALTH INSURANCE WITH AETNA?
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                                                                         Page 187
        1                                E. SHIN
        2            A. YES.
        3            Q. DID YOU SUBMIT YOUR MEDICAL
        4     BILLS TO AETNA?
        5            A. YES.
        6            Q. DO YOU KNOW HOW MUCH MONEY AETNA
        7     PAID OUT?
        8            A. I DON'T, EXACT.               ACCORDING TO
        9     IT, IT SHOWS, I BELIEVE, ALMOST A
      10      MILLION BUT I THINK AETNA PAID
      11      $700,000.         I DON'T KNOW EXACT AMOUNT.
      12             Q. I'M NOT ASKING YOU HOW MUCH
      13      AETNA WAS BILLED, I'M ASKING YOU HOW
      14      MUCH AETNA ACTUALLY PAID.
      15             A. I DON'T KNOW EXACT BUT I BELIEVE
      16      AROUND $700,000.
      17             Q. AND DID YOU SPEND ANY MONEY OUT
      18      OF YOUR OWN POCKET?
      19             A. YES.
      20             Q. WHAT DID YOU SPEND MONEY OUT OF
      21      YOUR POCKET FOR?
      22             A. CO-PAY, PARKING, YOU NAME IT, TO
      23      VISIT DOCTORS.
      24             Q. DO YOU KNOW THE AMOUNT THAT YOU
      25      PAID OUT OF YOUR POCKET FOR WHICH YOU
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                                                                         Page 188
        1                                E. SHIN
        2     WERE NOT REIMBURSED?
        3            A. I DO NOT KNOW.
        4            Q. DO YOU HAVE AN APPROXIMATE TOTAL
        5     THAT YOU CAN QUANTIFY?
        6            A. $20,000, I'M NOT SURE.
        7            Q. THAT YOU BELIEVE THAT YOU'VE
        8     PAID OUT OF POCKET THAT YOU HAVEN'T
        9     BEEN REIMBURSED FOR?
      10             A. YES.
      11             Q. ANYTHING ELSE THAT YOU HAVEN'T
      12      BEEN REIMBURSED FOR?
      13             A. FOR MEDICATION, I THINK I HAVE
      14      TO PAY BY MY MONEY BECAUSE IT'S NOT
      15      COVERED BY INSURANCE.
      16             Q. ANYTHING ELSE?
      17             A. AND SOME PHYSICAL THERAPY.
      18             Q. SOME PHYSICAL THERAPY WASN'T
      19      COVERED?
      20             A. YES.
      21             Q. WHAT ELSE?
      22             A. CHIROPRACTOR, AND ACUPUNCTURE
      23      DOESN'T COVER BY AETNA(SIC), I BELIEVE.
      24             Q. AND DO YOU HAVE SOME TYPE OF
      25      FILE AT HOME WHERE YOU'RE KEEPING A
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                                                                         Page 189
        1                                E. SHIN
        2     RECORD OF HOW MUCH YOU'VE BEEN
        3     SPENDING?
        4            A. PROBABLY MY WIFE HAS IT.                     I'M
        5     NOT SURE ABOUT THAT.
        6                      MS. NICOLAOU:           I'M JUST
        7            GOING TO DEMAND COPIES OF ANY
        8            OUT-OF-POCKET RECEIPTS AND
        9            CANCELLED CHECKS OR ANYTHING LIKE
      10             THAT.
      11                       MS. BERKOWITZ:            JOIN.
      12                       MR. LEVINSON:           JOIN.
      13                       MS. NICOLAOU:           AND I NEED --
      14             I NEED CLARIFICATION BECAUSE I
      15             BELIEVE THE DOCUMENTS YOU GAVE ME
      16             ARE NO WHERE NEAR THE FIGURE THAT
      17             YOU REPORTED TO US IN THE PAST
      18             COMPARED TO WHAT YOUR CLIENT JUST
      19             TESTIFIED TO.
      20                       I'M NOT SURE WHERE THIS
      21             NUMBER IS COMING FROM AND NONE OF
      22             US ARE SEEING IT.              SO ARE WE
      23             MISSING SOMETHING?               BECAUSE THE
      24             DOCUMENT YOU GAVE ME DIDN'T HAVE
      25             700 OR A MILLION, IT HAD 100 AND
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                                                                         Page 190
        1                                E. SHIN
        2            CHANGE.
        3                      MR. BASIL:         THERE WAS THE
        4            EXCEL SPREADSHEET.
        5                      MS. NICOLAOU:           YEAH, IT
        6            DIDN'T HAVE 700.
        7                      MR. BASIL:         I'LL CHECK IT.
        8                      MS. BERKOWITZ:            I THINK
        9            THERE IS A DISCREPANCY OF HOW
      10             MUCH WAS BILLED AND HOW MUCH WAS
      11             PAID OUT.
      12                       MS. NICOLAOU:           WHAT WAS
      13             BILLED WASN'T ANYWHERE NEAR 700.
      14                       MS. BERKOWITZ:            RIGHT BUT
      15             THE LIEN WOULD BE THE AMOUNT
      16             INCURRED, NOT WHAT WAS BILLED.
      17                       MR. BASIL:         SURE.
      18                       MS. NICOLAOU:           THE PACKET
      19             YOU E-MAILED US, WHICH HAS THE
      20             SPREADSHEET PROVIDED BY THE
      21             INSURER, DOES NOT LIST --
      22                       MR. BASIL:         BY THE "INSURER"
      23             OR THE "INSURED"?
      24                       MS. NICOLAOU BY YOUR CLIENT?
      25                       MR. BASIL:         THERE SHOULD
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                                                                         Page 191
        1                                E. SHIN
        2            HAVE BEEN ONE BY THE "INSURED."
        3                      MS. NICOLAOU:           BY YOUR
        4            CLIENT?
        5                      MR. BASIL:         CORRECT, THAT
        6            HIS WIFE PUT TOGETHER THE LIST
        7            THAT HE'S BEEN TESTIFYING US
        8            ABOUT.       I THOUGHT I PROVIDED
        9            THAT, IF I DIDN'T, IT WAS AN
      10             ERROR.
      11                       MS. NICOLAOU:           WE HAVE AN
      12             EXCEL SPREADSHEET, THAT MIGHT BE
      13             WHAT SHE PUT TOGETHER?
      14                       MR. BASIL:         YES.
      15                       MS. NICOLAOU:           YES, WE HAVE
      16             THAT BUT YOU ALSO DISCLOSED A
      17             LIEN LETTER, FROM THE INSURER,
      18             WHICH HAD ITS OWN PRINT OUT.
      19                       MR. BASIL:         I UNDERSTAND --
      20             THIS CAN BE OFF THE RECORD.
      21                       (WHEREUPON, A DISCUSSION WAS
      22             HELD OFF THE RECORD.)
      23     EXAMINATION
      24     BY MR. LEVINSON:
      25             Q. MR. SHIN, PRIOR TO THIS
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                                                                         Page 192
        1                                E. SHIN
        2     INCIDENT, DID YOU EVER INJURE YOUR
        3     HEAD, CHEEK AREA, OR LEFT ARM BEFORE?
        4            A. NEVER.
        5            Q. SINCE THIS ACCIDENT, HAVE YOU
        6     REINJURED ANY PARTS OF YOUR HEAD,
        7     CHEEK, OR LEFT ARM?
        8            A. NO, NOT THAT I KNOW OF.                    NO.
        9            Q. WERE YOU EVER DIAGNOSED WITH ANY
      10      CONDITION THAT WOULD SUBJECT YOU TO
      11      MEMORY LOSS BEFORE THIS INCIDENT?
      12             A. NO.
      13             Q. ALL RIGHT.            NOTHING FURTHER.
      14                  (TIME NOTED:           3:34 P.M.)
      15
      16
      17
      18
      19
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      21
      22
      23
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      25
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                                                                         Page 193
        1
        2                      INSTRUCTIONS TO WITNESS

        3
        4                 PLEASE READ YOUR DEPOSITION OVER

        5   CAREFULLY AND MAKE ANY NECESSARY CORRECTIONS.

        6   YOU SHOULD STATE THE REASON IN THE APPROPRIATE

        7   SPACE ON THE ERRATA SHEET FOR ANY CORRECTIONS

        8   THAT ARE MADE.

        9                 AFTER DOING SO, PLEASE SIGN THE

      10    ERRATA SHEET AND DATE IT.

      11                  YOU ARE SIGNING SAME SUBJECT TO THE

      12    CHANGES YOU HAVE NOTED ON THE ERRATA SHEET,

      13    WHICH WILL BE ATTACHED TO YOUR DEPOSITION.

      14                  IT IS IMPERATIVE THAT YOU RETURN THE

      15    ORIGINAL ERRATA SHEET TO THE DEPOSING ATTORNEY

      16    WITHIN THIRTY (30) DAYS OF RECEIPT OF THE

      17    DEPOSITION TRANSCRIPT BY YOU.                   IF YOU FAIL TO

      18    DO SO, THE DEPOSITION TRANSCRIPT MAY BE DEEMED

      19    TO BE ACCURATE AND MAY BE USED IN COURT.

      20
      21
      22
      23
      24
      25
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                                                                         Page 196
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        3   WITNESS:    ERIC E. SHIN
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        7   MS. NICOLAOU                          153
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       8    MR. LEVINSON                          191
       9            I N D E X   O F   E X H I B I T S
      10    EXHIBIT           DESCRIPTION           PAGE
      11    A                 SECURITY FOOTAGE      43*
                              CLIP
      12    B                 RECEIPT OF CHUNG      87*
                              LEE'S ROOM
      13    C                 RECEIPT OF YOUNG      87*
                              LEE'S ROOM
      14    D-K               PHOTOGRAPHS           87*
            L                 PHOTOGRAPH            95*
      15    M                 PENNSYLVANIA          174*
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      16
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      17
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      18
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      21
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      24
      25
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                                                                         Page 197
        1
        2                        C E R T I F I C A T E

        3        I, CHRISTA M. MILOSCIA, A SHORTHAND

        4   REPORTER AND NOTARY PUBLIC WITHIN AND FOR THE

        5   STATE OF NEW YORK, DO HEREBY CERTIFY:

        6        THAT THE WITNESS(ES) WHOSE TESTIMONY IS

        7   HEREINBEFORE SET FORTH WAS DULY SWORN BY ME,

        8   AND THE FOREGOING TRANSCRIPT IS A TRUE RECORD

        9   OF THE TESTIMONY GIVEN BY SUCH WITNESS(ES).

      10         I FURTHER CERTIFY THAT I AM NOT RELATED TO

      11    ANY OF THE PARTIES TO THIS ACTION BY BLOOD OR

      12    MARRIAGE, AND THAT I AM IN NO WAY INTERESTED

      13    IN THE OUTCOME OF THIS MATTER.

      14
      15
      16
      17
      18
      19
      20
      21
      22
      23
      24                             CHRISTA M. MILOSCIA, A COURT
                                     REPORTER AND NOTARY PUBLIC

      25                             DATE: JANUARY 11, 2019
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                                                                         Page 198
        1
        2                         LAWYER'S NOTES
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        3   _________        __________________________________
            _________        __________________________________
        4   _________        __________________________________
            _________        __________________________________
        5   _________        __________________________________
            _________        __________________________________
        6   _________        __________________________________
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        8   _________        __________________________________
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            _________        __________________________________
      25
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